     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 1 of 275
                                                                            1




 1                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 2

 3     ______________________________________
 4     UNITED STATES OF AMERICA, et al.
 5               Plaintiffs,                            Civil Action No.
                                                        1:21-cv-11558-LTS
 6          v.
 7     AMERICAN AIRLINES GROUP, INC.,
       et al.,
 8
                 Defendants.
 9

10     ______________________________________
11

12           BEFORE THE HONORABLE LEO T. SOROKIN, DISTRICT JUDGE
13
                                     BENCH TRIAL
14                                      Day 1
15

16
                            Tuesday, September 27, 2022
17                                   9:00 a.m.
18

19

20
       John J. Moakley United States Courthouse
21     Courtroom 13
       One Courthouse Way
22     Boston, Massachusetts
23
       Rachel M. Lopez, CRR
24     Official Court Reporter
       raeufp@gmail.com
25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 2 of 275
                                                                        2




 1                             A P P E A R A N C E S
 2
       On behalf of the Plaintiff United States of America:
 3
            UNITED STATES DEPARTMENT OF JUSTICE
 4          BY: WILLIAM H. JONES, III; JOHN STAIGE DAVIS; KATE M.
            RIGGS, AND JUSTIN T. HEIPP
 5          450 Fifth Street, Northwest
            Suite 8000
 6          Washington, D.C. 20530
            (202) 514-0230
 7          bill.jones2@usdoj.gov
            john.davis10@usdoj.gov
 8          kate.riggs@usdoj.gov
            justin.heipp@usdoj.gov
 9

10
       On behalf of the Plaintiff Commonwealth of Massachusetts:
11
            ATTORNEY GENERAL'S OFFICE
12          BY: WILLIAM T. MATLACK
            One Ashburton Place, 18th Floor
13          Boston, Massachusetts 02108
            (617) 727-2200
14          william.matlack@mass.gov
15

16     On behalf of the Defendant American Airlines Group, Inc.:
17          LATHAM & WATKINS, LLP
            BY: DANIEL M. WALL; ALLYSON M. MALTAS; MARGUERITE M.
18          SULLIVAN; AND TARA L. TAVERNIA
            505 Montgomery Street
19          Suite 2000
            San Francisco, California 04111
20          (415) 391-0600
            dan.wall@lw.com
21          allyson.maltas@lw.com
            marguerite.sullivan@lw.com
22          tara.tavernia@lw.com
23

24

25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 3 of 275
                                                                        3




 1                      A P P E A R A N C E S, C o n t.
 2
       On behalf of the Defendant JetBlue Airways Corporation:
 3
            SHEARMAN & STERLING LLP
 4          BY: RICHARD F. SCHWED; MATTHEW L. CRANER; AND RYAN LESKE
            599 Lexington Avenue
 5          New York, New York 10022
            (212) 848-4000
 6          richard.schwed@shearman.com
            matthew.craner@shearman.com
 7          ryan.leske@shearman.com
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 4 of 275
                                                                               4




 1                                TABLE OF CONTENTS
 2                                 TRIAL WITNESSES
 3     On behalf of the Plaintiff:                                         Page
 4      ROBIN HAYES
 5               By Mr. Davis                                               107
 6

 7

 8                                     EXHIBITS
 9                                                                      Admitted
10      Unobjected to exhibits admitted                                       6
11      Number page 106, line 17 to 21                                      166
12      Number 439                                                          257
13      Number 739-A                                                        268
14      Number 807                                                          204
15

16

17                                  MISCELLANEOUS
18                                                                         Page
19      Opening Statement by Plaintiff USA                                   15
20      Opening Statement by Plaintiffs MA, PA, DC, VA,                      42
21      FL, AZ, and CA
22      Opening Statements by Defendant JetBlue                              47
23      Opening Statements by Defendant American                             70
24      Airlines
25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 5 of 275
                                                                        5




 1                             P R O C E E D I N G S
 2                 (In open court at 9:00 a.m.)
 3                 THE COURT: Please be seated. So a couple of
 4     preliminary matters. Just to make it easy for the court
 5     reporter, if we need to have, essentially, sidebars, the
 6     easiest thing I think is for everyone to stay at the tables
 7     if we need to excuse the witness. We'll sort of see how it
 8     goes, but stay at the tables, and we'll just do it from
 9     there. And we have this whisper tech technology. That's
10     what I think we'll be using, and we'll turn off the Zoom at
11     that point because it will be a sidebar.
12                 And if we need to go to sidebar, we can go to
13     sidebar. That's fine, too, but we'll do that either way.
14                 So with respect to the motion to seal the trial
15     exhibits -- so the motion is allowed. It's in supplemental
16     appendix 245-2 that you all agreed to.
17                 As to the exhibits in dispute, I think I have to
18     look at some of them. I just don't think I can resolve it
19     just on the arguments. And I think you may have submitted a
20     flash drive yesterday that might have them on there, I'm not
21     sure. But flash drives have to go through IT, and I wasn't
22     here yesterday, so the bottom line is I haven't seen them.
23                 So my thought is, to the extent that they're coming
24     up today, will any of them come up today? I'm -- do you
25     know?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 6 of 275
                                                                        6




 1                 MR. JONES: I don't believe so, Your Honor.
 2                 THE COURT: Okay. Fine. So my thought -- when you
 3     think they're coming up, let me know, and I'll look at
 4     whatever exhibits and I'll resolve those so we can keep
 5     going. And otherwise, I'll look at the ones in the exhibit
 6     and try to resolve it as soon as we can.
 7                 Is there anything else to address before we get
 8     going?
 9                 MR. JONES: One matter for the United States,
10     Your Honor. We would like to move in the unobjected-to
11     exhibits.
12                 THE COURT: Well, no objection to that, right?
13                 MR. WALL: No objection.
14                 THE COURT: All right. So the unobjected-to
15     exhibits -- do you want to just -- do you have something for
16     the --
17                 MS. RIGGS: I have copies, Your Honor.
18                 THE COURT: Yes. Either you can -- the numbers or
19     the -- are the numbers listed on that?
20                 MS. RIGGS: Yes.
21                 THE COURT: Okay.
22                 MS. RIGGS: May I approach?
23                 THE COURT: Yes. All right. So the unobjected-to
24     exhibits are admitted, and they are what you have just given
25     up to -- one set to the clerk and one set to defense counsel.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 7 of 275
                                                                        7




 1                 MS. TAVERNIA: Your Honor, defendants also have
 2     unobjected-to exhibits to move in.
 3                 THE COURT: All right. And those I think you're
 4     not objecting to.
 5                 MR. JONES: No objection.
 6                 THE COURT: All right. I will take those into
 7     evidence, as well, and defense counsel I see is giving a copy
 8     to the clerk and to plaintiffs' counsel.
 9                 If I recall you wanted to do openings and about how
10     long do you think you'll be?
11                 MR. JONES: Your Honor, for the plaintiffs both for
12     the United States and the Commonwealth of Massachusetts, we
13     think they will be an hour, a little bit more, combined
14     between the two, myself and Mr. Matlack.
15                 THE COURT: All right. Has anyone else -- no one
16     else is opening for the plaintiffs, right?
17                 MR. JONES: No, sir.
18                 THE COURT: All right. And for the defendants?
19                 MR. SCHWED: For the defendants, we expect combined
20     to be probably closer to 90 minutes, Your Honor.
21                 THE COURT: Okay. All right. And I know I told
22     you about adding a little time at the end because of breaks
23     and things like that, so we'll figure that out a little later
24     today or tomorrow or sometime this week.
25                 Okay. Then go ahead, Mr. Jones.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 8 of 275
                                                                        8




 1                 MR. JONES: Your Honor, may I proceed from the
 2     podium?
 3                 THE COURT: Sure. Of course.
 4                 MR. JONES: Good morning, again, Your Honor, and
 5     I'll say good morning again to Mr. Wall, to Mr. Schwed, and
 6     to your teams.
 7                 Your Honor, the Northeast Alliance extinguishes
 8     head-to-head competition between American and JetBlue at four
 9     airports in the northeast, at Logan, at LaGuardia, at JFK,
10     and at Newark, competition that has been ongoing for around
11     20 years. Competition that has benefitted travelers and the
12     end of which will cost travelers in this country hundreds of
13     millions of dollars.
14                 For its part JetBlue has opted from going with that
15     head-to-head competition with American to entangling itself
16     with American. Your Honor, it's abandoning its historic
17     disruptive role in the airline industry. A role that, by
18     JetBlue's own calculations, has saved travelers in this
19     country $10 million since its founding. JetBlue's
20     calculations, Your Honor, $3 billion in savings to Boston
21     area travelers alone.
22                 Now, JetBlue and American are collaborators instead
23     of competitors at those four airports in the Northeast, and
24     JetBlue won't be that disruptive competitive check that it
25     had been.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 9 of 275
                                                                        9




 1                 And it didn't have to be this way, Your Honor.
 2     They could have continued to fight, and they could have
 3     continued that head-to-head competition that had been
 4     ongoing, and their business documents will show that they
 5     were planning on continuing that competition.
 6                 For example, one of American's most senior
 7     executives told other employees at American that they should
 8     gird their loins and that they should be prepared to swing
 9     the bat in Boston, that it was time to swing the bat in
10     Boston. So they were prepared to continue fighting, but
11     instead they adopted this collaboration.
12                 The collaboration, Your Honor, the Northeast
13     Alliance, the NEA, is unprecedented between domestic airlines
14     in this country, never been done before. But, really, it
15     just disguises what is a de facto merger at those four
16     airports.
17                 Now, defendants may suggest that the NEA, because
18     it's technically not a merger, couldn't possibly eliminate
19     competition, but that's putting form over substance. And I
20     suspect the defendants will -- will get up here at some point
21     and say they figured out how to preserve competition by
22     constructing some complicated revenue-sharing formula that
23     tries to create incentives for each of them to continue
24     growing.
25                 But, you know, Your Honor, they can say that, but
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 10 of 275
                                                                         10




 1      that doesn't make it so. And it's not so because of this
 2      unremarkable observation that, if given the chance to make
 3      more money rather than less, they'll take the chance to make
 4      more money. And it's the NEA that allows them to do that, to
 5      do -- to do both.
 6                 On top of that, Your Honor, the NEA further
 7      consolidates the airline industry, an industry where already
 8      the biggest four carriers in this country carry over
 9      80 percent of the travelers in the United States.
10                 The loss of the type of competition that the NEA
11      causes, the competition that helps travelers through lower
12      prices and higher quality, the loss of that competition is
13      the type of harm that the antitrust laws seek to prevent.
14      And, Your Honor, the Sherman Act can prevent harm before it
15      happens, not just after consumers have suffered the
16      consequences of an anticompetitive traction.
17                 We'll spend part of the time in the trial talking
18      about also all of the supposed benefits that defendants claim
19      will flow from the NEA. Those benefits, Your Honor, we will
20      submit are either illusory or they could have been achieved
21      through other means without this anticompetitive packet that
22      the defendants have entered.
23                 And I say, Your Honor, this isn't conjecture or
24      theory on our part, on the part of the plaintiffs. It's the
25      very reality that the defendants' business executives have
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 11 of 275
                                                                         11




 1      already recognized.
 2                 The evidence, Your Honor, on this point will
 3      include late-night text messages between executives of
 4      American that show that these executives recognized that
 5      their purported benefits weren't real when they concluded
 6      that, if you look at the NEA across their whole networks,
 7      that the results were, quote, no bueno, end quote. Their
 8      words, Your Honor. Not mine. And that if they were the DOJ,
 9      they could, quote, "easily kill any deal."
10                 With all of that said, let me start at the heart of
11      the story here, that head-to-head competition between
12      American and JetBlue here in Boston and in New York. For
13      starters, there's no dispute that JetBlue has been a unique
14      competitive force in the airline industry. JetBlue has
15      called itself a fundamentally different kind of airline, and
16      it's distinguished itself from legacy carriers like American.
17      As you'll see during the trial, also, Your Honor, JetBlue's
18      CEO highlighted JetBlue's critical role -- critical role --
19      in keeping the immense power of the legacy airlines in
20      check -- legacies, again, like American.
21                 And this is -- this isn't just talk in regulatory
22      filings and in speeches either, Your Honor. We have the
23      receipts, or I should say JetBlue has the receipts. Taking
24      Boston Logan, for example, when JetBlue started serving
25      Cleveland from Logan, average fares dropped 53 percent in the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 12 of 275
                                                                         12




 1      first year from what they were before JetBlue started serving
 2      that market. Fares dropped by double-digits percentages in
 3      other markets JetBlue entered as well.
 4                 And after a while, you take a double-digit drop
 5      here and a double-digit drop there, and it starts to add up
 6      to some real money, some real savings -- $3 billion, again,
 7      for Boston area travelers, according to JetBlue's
 8      calculations.
 9                 It's also not just the fares dropping when JetBlue
10      enters a market. They shoot up when JetBlue exits a market
11      as well. When JetBlue exited the route from JFK to
12      Pittsburgh, fares shot up 75 percent. When JetBlue exited
13      the market JFK to Richmond, fares shot up 65 percent.
14                 The result of these efforts, Your Honor, is the
15      back bone here of the competition between American and
16      JetBlue before they formed the NEA, the competition that
17      benefited travelers. And first and foremost, Your Honor, it
18      benefited travelers to and from Boston and popular locations
19      like Los Angeles, Miami, Washington National, LaGuardia, and
20      JFK.
21                 And the eleven markets where both American and
22      JetBlue operated, competing nonstop service before they
23      entered the NEA, the combined market shares of these two
24      defendants ranged from nearly 49 percent to 96 percent --
25      meaning that in these markets, many travelers were choosing
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 13 of 275
                                                                         13




 1      between American and JetBlue to fly these routes.
 2                  And these are markets, Your Honor, from here in
 3      Boston that a lot of people traveled, across all airlines,
 4      8.9 million passengers. And across all airlines, again, in
 5      2019, they spent $1.78 billion in these markets, across all
 6      airlines.
 7                  The impact of the competition between American and
 8      JetBlue can be seen in the so-called "shuttle markets," those
 9      markets from Boston to Washington National and from Boston to
10      LaGuardia and LaGuardia to Washington National.
11                  In two of those markets, JetBlue entered and
12      offered its blend of low prices and high quality; and in the
13      other one, it didn't. And we can just look at the fares to
14      see which one is which.
15                  Before JetBlue started competing with American and
16      with Delta in the Boston to Washington National market, the
17      lowest walkup fare -- that's a fare for a ticket with zero
18      advanced purchase, so you can just walk up to the counter and
19      buy it the same day -- the lowest walkup fare was $597.
20      After JetBlue entered that market, it was $206.
21                  Same thing happened in the Boston-LaGuardia market.
22      Before JetBlue entered, the lowest walkup fare was $383.
23      After, it was $119. But it wasn't the same in the LaGuardia,
24      Washington National market where JetBlue didn't enter. The
25      lowest walkup fare there that JetBlue reported was $448 --
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 14 of 275
                                                                         14




 1      more than the twice the fare from Boston to DC, even though
 2      it's only half the distance.
 3                  Now, the impact of competition at Logan won't just
 4      be seen through the numbers, not just through those receipts
 5      I talked about. Defendants' own contemporaneous business
 6      documents and their public statements also illustrate that
 7      American and JetBlue were intense competitors. Documents,
 8      Your Honor, like an internal American e-mail identifying the
 9      fare destruction B6 have wrought -- the B6 is the airline
10      code for JetBlue just like AA is the airline code for
11      American.
12                  The fare destruction that JetBlue have wrought,
13      that's the reason that an American employee identified that
14      Boston didn't perform as well from a profitability
15      perspective for American, as other cities American served.
16                  And while American may have worried about fare
17      destruction that JetBlue have wrought, in the real world, for
18      the rest of us, for the traveling public, that fare
19      destruction actually means lower prices and savings.
20                  Before --
21                  THE COURT: Pause for a minute.
22                  Those of you at the door, just in front of the
23      door, can you -- there's plenty of room for you in the
24      courtroom. Can you just move in, people in the seats, like
25      just squish together a little bit so they can -- just so
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 15 of 275
                                                                         15




 1      there aren't people standing in front of the door.
 2                 Okay. Go ahead. Thanks.
 3                       OPENING STATEMENTS BY COUNSEL FOR
 4                    THE PLAINTIFF UNITED STATES OF AMERICA
 5                 MR. JONES: Thank you, sir.
 6                 Before they entered the NEA, American and JetBlue
 7      were about to heat up that competition here in Boston as
 8      well. American wasn't going the take the fare destruction
 9      laying down. American's chief commercial officer, Mr. Raja,
10      told other American employees that American was going to
11      fight in Boston and his -- and that they should gird their
12      loins, and that it was time to swing the bat in Boston. And
13      this wasn't just cheerleading. American was going to do
14      something about this as well.
15                 And just like in Boston, travelers in New York City
16      benefited from the competition between American and JetBlue
17      as well. Again, travelers on the nonstop routes that both
18      American and JetBlue offered to 18 markets from New York
19      City, including nonstops to and from LaGuardia or JFK to
20      Chicago or San Francisco or Orlando, those were the travelers
21      who benefited most from that head-to-head competition between
22      American and JetBlue before they formed the NEA.
23                 And, again, Your Honor, in many of those markets,
24      American and JetBlue have high -- had high market shares,
25      shares often reaching above 45 percent. And, again, these
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 16 of 275
                                                                         16




 1      are markets where a lot of people flew, just like the Boston
 2      nonstop overlap markets. Here, from JFK to LaGuardia, 2019,
 3      23.1 million passengers across all airlines. They spent
 4      5.37 billion in those markets -- again, across all airlines
 5      as well.
 6                 This, again, Your Honor, can be seen not just
 7      through the numbers. So the competition can be seen through
 8      the business documents as well and the actions that the
 9      business documents reflect. For example, when JetBlue
10      introduced new low fares for flights out of New York City,
11      American responded by matching JetBlue's prices. And that's
12      the kind of head-to-head competition that benefited travelers
13      to and from New York.
14                 That competition, that competition between
15      defendants in Boston -- back to Boston, Your Honor, shifting
16      back -- that competition in Boston, Your Honor, before they
17      entangled themselves, was set to intensify, set to heat up.
18      American, for its part, was fighting the way Mr. Raja said.
19      It was adding new destinations from Boston.
20                 And JetBlue, from its part, it was fighting as
21      well, telling corporate customers about its plan to add up
22      to -- to go up to 200 daily departures in Logan. And what
23      that means, Your Honor, with more capacity in a market,
24      meaning more flights, more available seats or both, consumers
25      reap the benefits of that added capacity simply because of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 17 of 275
                                                                         17




 1      supply and demand. As supply goes up, capacity goes up,
 2      prices go down, and it benefits travelers.
 3                 Down in New York, Your Honor, competition there was
 4      set to heat up as well. American was going to continue to
 5      aggressively pursue flying larger planes out of LaGuardia.
 6      And JetBlue had planned to increase the number of flights
 7      that it flew out of JFK from 174 in 2019 to 191 in 2022.
 8      And, again, more capacity means more options in a market; it
 9      means lower prices for travelers.
10                 That's not all, though. Not only was the
11      competition between American and JetBlue set to heat up in
12      Boston and New York, but JetBlue was also about to launch
13      another fight with American and the legacy airlines. In
14      2019, JetBlue was prepared to take on American and its
15      partners in transatlantic markets between Boston and New York
16      and Europe.
17                 And American, it took note of JetBlue's potential
18      impact in this area. It concluded that it was, quote,
19      "reasonable to assume 50 to 60 percent fare drop in the
20      Boston London markets once JetBlue started nonstop service."
21                 But despite promises and pledges of swinging bats
22      and of girding loins and fighting, we know how the story
23      ends. Rather than continuing to slug it out, American and
24      JetBlue decided to collaborate rather than to continue
25      competing.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 18 of 275
                                                                         18




 1                 And so I want to turn now, Your Honor, briefly to
 2      how the NEA works and how it enables the defendants to
 3      collaborate as if they were a single airline at those four
 4      northeast airports.
 5                 To start, defendants say that the NEA is not a
 6      merger, but, again, form over substance. The NEA allows
 7      American and JetBlue to coordinate about when they fly, where
 8      they fly, how often they fly, what planes they fly, when and
 9      where they land and park those planes, and then they split
10      the revenues that flow from those coordinated efforts.
11                 The NEA destroys incentives to compete the same way
12      that a merger would on the nonstop overlap routes in Boston
13      and New York. On those routes, where American and JetBlue
14      have competed head to head for years, they no longer have the
15      incentives to compete with each other in the same ways. In
16      this way, Your Honor, the NEA is a merger in all but name at
17      those four airports.
18                 Let me talk about two of the pieces of the NEA that
19      are at the heart here of issue. First, I want to talk about
20      capacity coordination. Now, defendants have previously
21      talked about it as being a core or a foundation of the NEA,
22      but they are a lot quieter about that aspect of the NEA these
23      days. I can say though that during the justice department's
24      investigation of the NEA, American and JetBlue told us that
25      by allowing them to coordinate their networks, their
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 19 of 275
                                                                         19




 1      schedules, and their capacity, the NEA allows them to operate
 2      like, quote, "a single airline," end quote at NEA airports.
 3                  That was true then. It's still true now. And you
 4      don't have to squint, Your Honor, to see this or turn the
 5      evidence sideways, or look at it at an angle in the light.
 6      It's pretty clear to see. Pretty easy to see. This deal,
 7      like a traditional merger, allows these parties to act like a
 8      single airline at the expense of competition and at the
 9      expense of travelers.
10                  We can see this effect particularly on the nonstop
11      routes. The ability to jointly set their capacity levels and
12      schedules creates the same incentives that a merger would
13      create. The incentive to maximize profits by reducing
14      capacity and increasing prices.
15                  Defendants' own documents acknowledge that capacity
16      coordination is about, quote, "mutual benefit," end quote --
17      mutual benefit for both airlines, Your Honor. The head of
18      the NEA for JetBlue, for example, told his team that when
19      planning schedules, they should, quote, "See what is in the
20      best overall JV solution, as that is what drives the
21      economics," end quote -- the best overall JV solution, not
22      the best solution for Jet Blue, but the best overall JV
23      solution.
24                  And as said in this e-mail, the economics of the
25      NEA are driven by American and JetBlue making decisions in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 20 of 275
                                                                         20




 1      their joint interest.
 2                 Let me give a simple illustration that will show
 3      why this is the case. So defendants are going to argue, we
 4      anticipate, that the unique features of the NEA creates
 5      incentives for each of American and JetBlue to expand
 6      capacity. But this simple graphic on the nonstop overlap
 7      routes illustrates why that doesn't really -- it doesn't
 8      really add up. It doesn't really make any sense.
 9                 If they work together, American and JetBlue will
10      set their capacity at a level that maximizes joint profit,
11      and that's the bar on the far left. If either of them seeks
12      to add additional capacity, that extra capacity will cause
13      prices to fall, which will reduce the overall revenue of the
14      partnership, and you can see that in the two middle bars.
15                 In those scenarios, the one that's expanded
16      capacity does capture more revenue for itself, but it does so
17      at the expense of its partner and at the expense of the
18      partnership overall. If both American and JetBlue add
19      capacity, prices will fall even farther, and both airlines
20      will be worse off. That's the bar on the far right.
21                 Defendants are arguing that American and JetBlue
22      will choose the option on the far right even though the NEA
23      gives them the ability to achieve the outcome on the far left
24      by coordinating their capacity decisions. That doesn't make
25      any sense, Your Honor. It just doesn't make a lick of sense.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 21 of 275
                                                                         21




 1      These are businesses operating to maximize their profit. It
 2      doesn't make any sense that they're going to choose some
 3      other course.
 4                 Their internal business documents say this, and
 5      it's consistent with the fact that American and JetBlue will
 6      make capacity decisions that make them more money, not less
 7      money. And just to be clear on this point, Your Honor, while
 8      the bar on the far right may mean lower profits for American
 9      and JetBlue, it means more savings for travelers, more
10      savings for the traveling public, and that's what happens
11      when they compete, when they go after each other to win
12      customers from each other.
13                 Now, I want to turn -- I want to turn for a moment
14      to the revenue-sharing aspect of the NEA. The NEA revenue
15      sharing is defined by an agreement the defendants call the
16      "mutual growth incentive agreement," or the MGIA. The MGIA
17      includes formulas that calculate a transfer of payment that
18      will be paid from one of the defendants to the other
19      defendant in each year.
20                 And that means, Your Honor, whenever JetBlue takes
21      a customer from American on an overlap flight, that American
22      is going to get a share of the lost revenue and vice versa.
23      Both American and JetBlue clearly acknowledge in their
24      ordinary course of business documents that revenue sharing
25      makes them, quote, "metal neutral," end quote, which means
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 22 of 275
                                                                         22




 1      they are indifferent as to which airline a new passenger
 2      carries [sic].
 3                 Any arrangement, Your Honor, where you win even
 4      when you lose is not competition. It's actually the
 5      opposite. Competitors should not be indifferent about
 6      whether they win customers against the other competitor.
 7      That's a core of competition. And I will say they were not
 8      indifferent before they formed the NEA. They actually sought
 9      to win passengers from each other and to win business from
10      each other.
11                 But the revenue-sharing component of the NEA
12      eliminates any incentive to reduce prices to attract
13      customers, even though American and JetBlue still retain the
14      nominal ability to price independently. That indifference
15      and that neutrality, though, that's the opposite of
16      competition.
17                 If one of them were to reduce fares to attract a
18      customer from the other, then their joint revenue would go
19      down, and each of them would take home less revenue than
20      there would be if there were no discount.
21                 So even though both American and JetBlue can set
22      prices independently still, the revenue sharing means that
23      there's no reason that they would actually reduce their
24      prices to win customers from the other airline because it
25      would cost them both money.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 23 of 275
                                                                         23




 1                 Now, defendants will likely argue that the MGIA
 2      creates incentives for them to grow their capacity, but we
 3      can't forget about the fact that the agreement explicitly
 4      allows them to coordinate on those capacity decisions, and
 5      that eliminates any incentive to grow in a way that would
 6      reduce their joint profit. Your Honor, they won't
 7      intentionally lose money if they have the power to avoid it,
 8      which they do, and the MGIA does not undo what capacity
 9      coordination allows.
10                 Scott Laurence, who now works for American but who
11      used to work for JetBlue, he confirmed the same point during
12      the justice department's investigation of the NEA, that the
13      revenue-sharing component of the NEA means that American and
14      JetBlue no longer compete on NEA routes. With the NEA in
15      place -- we asked Mr. Laurence, "With the NEA in place, do
16      you agree that the revenue-sharing component means that it
17      makes more sense to cooperate with American than compete for
18      NEA routes?"
19                 Mr. Laurence answered, "For NEA routes, yes. " That
20      head-to-head competition that has given so many benefits to
21      travelers, that's gone, and the loss of that competition will
22      cause prices to rise and quality to fall at those four
23      Northeast airports where the NEA applies.
24                 Your Honor, from where I sit, there are some deals
25      that are so anticompetitive that you can see that from
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 24 of 275
                                                                         24




 1      30,000 feet, and you don't need an advanced degree in
 2      economics to see it, and you don't need an advanced degree in
 3      economics to understand why they're anticompetitive, and I
 4      would submit that this is one of those deals.
 5                 Again, though, the way this all works and the way
 6      I'm describing it comes straight from the airlines
 7      themselves. Mr. Hayes explained how international airline
 8      joint ventures, which usually have a capacity-coordination
 9      component and revenue-sharing component, how those joint
10      ventures work in the real world. They wipe out a competitor.
11      And fare growth tends to outpace capacity growth in markets
12      with a joint venture. And there's no reason to believe that
13      the effects of the NEA will be any different -- just none.
14                 Now, the Court will hear a lot of evidence over the
15      course of the trial about the markets at issue in the case,
16      and just to establish some parameters, the 29 nonstop markets
17      where American and JetBlue both had offered nonstop service,
18      those markets are where over 90 percent of the harm is likely
19      to be felt, because those are the markets where the
20      competition between American and JetBlue was most intense
21      before the NEA formed.
22                 Those travelers in the eleven nonstop overlap
23      markets from Boston and the 18 markets that both American and
24      JetBlue had served nonstop from New York City, those are the
25      travelers that will suffer the brunt of the higher prices the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 25 of 275
                                                                         25




 1      NEA will cause. And, of course, it won't just be travelers
 2      in the Boston area or in the New York City area, but it will
 3      be travelers from all over the country that come here or go
 4      to New York. The map being displayed, Your Honor, shows the
 5      far-reaching impact here that the NEA will have.
 6                 We also anticipate that you're going to hear from
 7      defendants about their nonbinding carve-out agreement. I
 8      know we briefed that in a motion in limine, so I won't go
 9      into that, Your Honor, other than to say that the Court
10      shouldn't credit those carve-out arguments primarily because
11      the defendants' going to abandon them at any moment, and so
12      they shouldn't get credit for those as solving the
13      competitive problems here.
14                 I will also say, turning to the law for a moment,
15      that antitrust law, when competitors who seek to partner, who
16      seek to merge, have high combined market shares, and that
17      market is highly concentrated, such a proposed transaction --
18      such a transaction can be presumptively anticompetitive
19      because competitors with high shares are presumed to be able
20      to harm consumers by raising prices or reducing capacity or
21      all of the above.
22                 The market shares here are high enough that they
23      establish JetBlue and American at a market power in many of
24      the markets at issue. The combined fares -- the combined
25      market share figures for American and JetBlue and Boston in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 26 of 275
                                                                         26




 1      those nonstop overlap markets, they have some staggeringly
 2      high combined market share figures, Your Honor: 88 percent
 3      between Boston and Washington National, 76 percent in the
 4      Boston-Miami market, nearly 63 percent in the
 5      Boston-Los Angeles market, and it goes on and on and on.
 6                 And it shows that travelers had chosen American and
 7      JetBlue with their feet and with their dollars in those
 8      markets before the two airlines started collaborating. And
 9      even though it appears that there's still some choice between
10      these airlines, it's actually gone, and the market shares are
11      high enough that these markets are presumptively
12      anticompetitive.
13                 And the story -- the story isn't much different in
14      New York City. In the markets where American and JetBlue had
15      competed to offer nonstop flights before they entangled
16      themselves in the NEA, before that, those combined shares
17      were large enough in many markets where the transaction is
18      presumptively illegal, markets like New York
19      City-Los Angeles, where defendants controlled 57 percent of
20      the market, markets like New York City-Orlando, where they
21      controlled 55 percent of the market, markets like New York
22      City-Phoenix, where they controlled 62 percent of the market.
23                 Now, we also are going to talk a bit in the trial
24      about Newark when it comes to the New York City markets.
25      Defendants argue that Newark should be in the same geographic
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 27 of 275
                                                                         27




 1      market as LaGuardia and JFK. We submit that they're not
 2      right about that and that the economic analysis and other
 3      evidence will show that consumers view LaGuardia and JFK
 4      differently from how they view Newark.
 5                 Ultimately, though, the -- any quibbling about
 6      that, about where Newark fits in, just doesn't change much.
 7      The deal is still bad in New York City, and only two markets
 8      that are impacted by this dispute, are grayed out here on the
 9      slide, Your Honor, that move from presumptively
10      anticompetitive to outside of that category. So even if
11      Newark is included in the same geographic market as LaGuardia
12      and JFK, American still has high enough market shares.
13      American and JetBlue have high enough shares that the
14      combined market shares are anticompetitive, presumptively
15      anticompetitive.
16                 All in all here, the loss of competition between
17      American and JetBlue in those nonstop overlap markets and in
18      other markets adds up to hundreds of millions of dollars a
19      year in harm. Professor Miller of Georgetown, he estimates
20      that the annual harm to travelers the NEA will cause is
21      around $700 million a year.
22                 Defendants can and will argue and I suspect nitpick
23      about the specificity of that number, but there's no question
24      the NEA will cause hundreds of millions of dollars in
25      consumer harm annually, and that harm will hurt a lot of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 28 of 275
                                                                         28




 1      travelers and impact a lot of flights in this country.
 2                 But the NEA doesn't just end the head-to-head
 3      competition between American and JetBlue on the nonstop
 4      overlap markets in Boston and New York. It also threatens
 5      that historic disruptive role that JetBlue has played in the
 6      industry that I mentioned, Your Honor.
 7                 Before JetBlue entered the NEA, its management
 8      warned its board that JetBlue, quote, "may lose some level of
 9      independence," end quote, and quote "may be co-opted by
10      Connie manipulation," end quote. "Connie" is the code name
11      that JetBlue gave to American and the NEA during
12      negotiations, so JetBlue's management raised this risk with
13      the JetBlue board, and they were right to be concerned. This
14      map shows all of JetBlue's domestic routes in the
15      United States, and as you can see just from kind of
16      eyeballing the map here, the -- the flights are significantly
17      clustered in Boston and New York City.
18                 Now, this next map, this shows in red JetBlue's
19      routes that are part of the NEA overlying the overall
20      domestic route map for JetBlue. So the remaining blue lines
21      that you see, those are JetBlue's routes that are not
22      immersed in the NEA. And depending on how you count it, up
23      to 75 percent of JetBlue's business flies into or out of the
24      NEA airports.
25                 So just looking at the map here, there's a lot more
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 29 of 275
                                                                         29




 1      red than blue. JetBlue's management, it was right to be
 2      concerned about potentially losing some independence to
 3      American and right to be concerned about potential
 4      manipulation by American. Beyond, though, just the
 5      significant impact of the NEA on travelers on those nonstop
 6      overlap routes, and even beyond the potential for the NEA to
 7      allow American to manipulate -- JetBlue's words, not mine --
 8      to manipulate JetBlue, the NEA is likely to have broader
 9      effects as well, Your Honor.
10                  I think it would come as no surprise to anyone who
11      has flown on a commercial airline over the last several
12      decades that that airline industry, as a whole, has grown
13      more concentrated over time, particularly through a series of
14      mega mergers from 2000 to 2013. The largest airlines have
15      gotten significantly larger, such that the biggest four
16      airlines now, American, Delta, United, and Southwest, they
17      now control a much larger share of the overall capacity in
18      this country than just 20-odd years ago.
19                  Icons of commercial aviation in this country,
20      Your Honor, like TWA, like Northwest Airlines, have been
21      gobbled up by larger players. And it stands potentially to
22      get worse with JetBlue's announced acquisition of Spirit
23      Airlines.
24                  Spirit is one of those small airlines that helped
25      keep the immense power of the legacy airlines in check, as
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 30 of 275
                                                                         30




 1      Mr. Hayes mentioned. One of the airlines that defendants'
 2      experts will claim will help prevent harm from the NEA, now
 3      American potentially gets to co-opt two disruptive
 4      competitors for the price of one -- buy one get one.
 5                 Professor Robert Town of the University of Texas
 6      will explain, Your Honor, that prior consolidation led to a
 7      period of slower capacity growth between 2009 and 2017. Now,
 8      the airline industry called that slower capacity growth
 9      "capacity discipline" -- a seemingly innocuous phrase but
10      it's a phrase that refers to an effort by the large legacy
11      carries to grow more slowly than they otherwise would have,
12      as long as everyone else kept doing the same. That would
13      maximize the industry profits as they were -- as the economy
14      recovered from the Great Recession.
15                 Ordinary business documents from the airlines
16      identify the existence of capacity discipline from this
17      period, and they discuss how to keep it in place. This
18      document, from US Airways, during the capacity discipline
19      period, describes how discipline is the key to building
20      sustained profits for both US Airways and the industry. And
21      it further notes that all but JetBlue and Virgin American are
22      exercising restraint.
23                 American's own documents from this period make
24      plain its view that consolidation led to reduced capacity.
25      This document emphasized that point by predicting that
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 31 of 275
                                                                         31




 1      American's own merger with US Airways would be unlikely to
 2      lead to growth in line with the broader industry.
 3                 It also helpfully identifies who capacity
 4      reductions impact; including suppliers, customers,
 5      communities, people.
 6                 The NEA increases the risk that capacity discipline
 7      will return to the industry. Just as in 2009, the industries
 8      were recovering -- in the midst of recovering from a serious
 9      crisis. When the pandemic hit, huge amounts of airline
10      capacity was pulled from the system in response to plunging
11      demand. Now, with demand returning, the airlines have a
12      collective incentive not to add back too much capacity and to
13      keep prices high.
14                 The NEA fits the bill perfectly. American itself
15      recognized that it could build its own network and grow
16      organically, or it could take a shortcut and borrow. Borrow
17      from another airline's network through consolidation.
18      Building a network would mean real growth, more capacity,
19      more seats, and lower prices for consumers. Building a
20      network and growing in that way is what fighting in Boston
21      would look like.
22                 Borrowing means piggybacking off of what someone
23      else has done so that you don't have to make investments
24      needed to grow yourself. American chose to borrow rather
25      than to build.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 32 of 275
                                                                         32




 1                 And it chose to borrow not just from any other
 2      airline, but from JetBlue -- as I said, among the most
 3      disruptive and fastest growing airlines in the industry, what
 4      those of us in the antitrust world would call a "maverick
 5      competitor," one that doesn't follow the herd.
 6                 So the NEA allows American to kill three birds with
 7      one stone. First, American avoids the cost of growing
 8      organically. Second, it co-opts a maverick competitor whose
 9      growth has historically been higher than the industry norm.
10      Third, it does all of this at a time when the industry is
11      recovering from the pandemic.
12                 As American's then-president/now-CEO, Robert Isom,
13      said to American's chief commercial officer, Mr. Raja, "The
14      industry is going to have to shed a tremendous amount of
15      capacity. Turning the dial back five years as a guide to
16      what 2021 looks like." And then he goes on to say later,
17      "Let's not question. Let's go there, fast and hard."
18                 And your AS -- AS is the airline code for Alaska
19      Airlines, your AS and B6. B6, again, is JetBlue. "Your AS
20      and B6 ideas will help facilitate."
21                 Now, some of this may be industry speak, but it's
22      clear that shedding a tremendous amount of capacity means
23      fewer seats and fewer options for travelers. And it's
24      plainly there in black and white with American's now-CEO
25      saying that the NEA will help facilitate this shedding of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 33 of 275
                                                                         33




 1      capacity.
 2                  Now, with the lost competition that the NEA has
 3      caused and threatens to cause, defendants will try to justify
 4      the NEA. But instead of doing so, they've thrown out a bunch
 5      of claims that we submit miss the mark and simply muddy the
 6      waters here.
 7                  They claim that the NEA will unlock new growth, but
 8      American, the largest airline in the country, and JetBlue,
 9      one of the fastest growing, could have grown without the NEA.
10      They claim that they needed the NEA to compete effectively.
11      But they could have chosen to partner in ways that don't
12      restrict competition as much as the NEA does.
13                  They claim that the NEA will enhance competition
14      with Delta and United, but Delta and United themselves
15      haven't responded to the NEA. And they claim plaintiffs
16      can't meet their burden to show fare increases or reduction
17      in output, but plaintiffs will show that the NEA will likely
18      harm consumers and that there has already been some loss of
19      competition.
20                  To start, defendants are going to say that American
21      and JetBlue's networks compliment each other, that they work
22      well together, but that's -- that's not the case.
23      Defendants' own expert, Dr. Israel, testified during his
24      deposition when defendants analyzed the two networks of
25      American and JetBlue together as they were -- as they existed
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 34 of 275
                                                                         34




 1      in September of 2019, there weren't any real consumer
 2      benefits.
 3                  That's in part because there was almost nowhere
 4      that JetBlue flew that American didn't already fly. So if
 5      there aren't many consumer benefits, if you just put together
 6      American and JetBlue's then-existing networks, how do you
 7      make it seem like there are benefits?
 8                  Well, you have to assume that the networks are
 9      going to change. You have to assume that there's going to be
10      growth and that's what defendants have done here. They've
11      assumed that there will be growth and that every -- and that
12      everything flows from that assumption. But there's no good
13      reason here to think that the NEA was necessary for any of
14      that assumed growth.
15                  And it wasn't necessary for that growth in large
16      part because American and JetBlue already planned to grow
17      without the NEA. This e-mail, Your Honor, from Eric
18      Friedman, a network planner at JetBlue, in this e-mail he
19      expressed concern that, quote, "We are including value here
20      that would have been generated anyway," and said, "If we are
21      looking at this from a 'what does JetBlue look like with
22      Connie versus without,' we are currently attributing a lot of
23      revenue to Connie that would have already existed."
24                  In New York City, the defendants were discussing
25      transferring slots, slots -- those authorizations to take off
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 35 of 275
                                                                         35




 1      and land. They were discussing transferring slots before
 2      they finalized the NEA. They were discussing this well
 3      before they entered the NEA, apart from the NEA.
 4                  But the defendants and their experts are giving the
 5      NEA credit for facilitating the transfer of these slots.
 6      They shouldn't get credit for doing something that was in the
 7      process of happening anyway, that would have happened anyway.
 8                  To their -- to the extent there is any growth at
 9      those four NEA airports, it would -- it's likely to come at
10      the expense, Your Honor, of some other parts of the country.
11      It's not new growth, it's moving -- it is just moving assets
12      from one place to the other. And defendants don't get to
13      ignore the effects of their deal on some travelers because it
14      enables some supposed benefit to other travelers.
15                  For -- in fact, Your Honor, the way I would put it
16      is for JetBlue to grow at the NEA airports, it has to rob
17      Peter to pay Paul. It has to rob service and aircrafts from
18      other parts of the country to fund their growth in the NEA
19      airports.
20                  A JetBlue presentation recognized this, noting that
21      meeting JetBlue's growth commitments would mean
22      deprioritizing other areas, like Fort Lauderdale, like
23      Orlando.
24                  Now, when American and JetBlue were thinking about
25      what their joint schedule would look like, they acknowledged
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 36 of 275
                                                                         36




 1      that there would be little overall growth if you looked
 2      across their whole networks. Late on a Friday in May of
 3      2020, JetBlue employees sent their counterparts at American a
 4      proposed joint schedule that envisioned JetBlue having to
 5      pull planes from elsewhere in country to fund flying at NEA
 6      reports.
 7                 When that group of American employees saw the
 8      schedule, they sent each other a series of frenzied, worried
 9      late night text messages on a Friday in May. American's Chad
10      Schweinzger, who is on the witness list, he texted several of
11      his colleagues at 10:02 p.m. on a Friday night to tell them
12      that, quote, "If we show full network results" that means if
13      one was to look at JetBlue's whole network, including the
14      shuffling of airplanes that would be necessary to increase
15      the flying at NEA reports -- "If we show full network
16      results -- no bueno. Based on what I'm hearing here, if I
17      was DOJ, I could easily kill any deal," end quote.
18                 Mr. Pack, who you'll hear from in a few days,
19      Your Honor, he wrote later in the text chain, "I think the
20      regulatory case for this domestic JV" -- this domestic joint
21      venture -- "I think the regulatory case for this domestic
22      joint venture with ATI" -- or antitrust immunity -- "doesn't
23      exist. It's going to be a constant uphill battle and we are
24      not going to convince DOJ."
25                 Well, Your Honor, we're here today because Mr. Pack
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 37 of 275
                                                                         37




 1      was right about that. And Mr. Schweinzger and Mr. Pack, they
 2      knew that the NEA didn't actually generate any real growth
 3      when you look at the two networks together.
 4                 Here, again, though, this isn't a criticism that we
 5      came up with on plaintiffs' side of the -- on plaintiffs'
 6      tables here, Your Honor. It's not something we came up with.
 7      It's American executives, the people charged with working
 8      with JetBlue on a combined network, on a combined schedule,
 9      their concerns, Your Honor, expressed to each other late on a
10      Friday night in May when discussing the combined network of
11      the NEA.
12                 Another significant problem with defendants'
13      benefits claims is that, even if you accept their claims
14      about growth, they could have done this through less
15      restrictive means. That is, defendants could have enabled
16      that growth without coordinating capacity and without sharing
17      revenues on the nonstop overlap routes. Without eliminating
18      that competition that's benefited travelers.
19                 They could have done a few things, Your Honor.
20      Most importantly, American could have simply leased its slots
21      at JFK and LaGuardia to JetBlue. The growth by JetBlue that
22      the defendants anticipate at New York City airports under the
23      NEA is almost entirely the result of the slots it acquired
24      from American. If JetBlue had been able to acquire those
25      slots, it could have grown in New York City while still
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 38 of 275
                                                                         38




 1      continuing to compete with American.
 2                 And to the extent there are additional benefits of
 3      the NEA beyond those that could have been achieved through
 4      American leasing New York City slots to JetBlue, those
 5      benefits could have been achieved through a code-sharing
 6      arrangement.
 7                 Finally, Your Honor, American and JetBlue could
 8      have pursued a deal that did not include Boston or London.
 9      JetBlue itself recognized the weakness of any benefits claims
10      in Boston in particular given that JetBlue's -- JetBlue had
11      grown to be the number one carrier in Boston, the number one
12      airline in Boston, and the fact that JetBlue's path to growth
13      here in Boston wasn't limited by the lack of slots in the way
14      it was in New York City.
15                 Now, none of this is to say that any of those
16      alternatives are legal in and of themselves. That would have
17      been a question to examine, but it is to say that none of
18      them would have been as bad as the anticompetitive deal the
19      defendants ended up striking. It's almost as if they chose
20      the most restrictive alternative here, instead of looking at
21      the less restrictive ones.
22                 Also, Your Honor, defendants will talk a lot about
23      Delta and United in this trial. We anticipate that. You'll
24      likely hear that Delta and United are so formidable that
25      American and JetBlue just had no choice but to get together
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 39 of 275
                                                                         39




 1      to take them on. And likely, there will be documents in the
 2      case that show shortly after the NEA was announced Delta and
 3      American sought to determine what the NEA was and what it
 4      meant for them.
 5                 But at the end of the day, we anticipate that Delta
 6      and American -- Delta and United executives will say when
 7      they're asked about the NEA that it hasn't really impacted
 8      them. As illustrated by a deposition designation that we
 9      will submit to Your Honor today from Mr. Nocella of United.
10      He said that United hasn't focused on the NEA, hasn't
11      factored into its plans, and doesn't pay much attention to
12      it.
13                 So contrary to defendants' claims that they've made
14      improvements or are making improvements that will
15      meaningfully take the fight to Delta and United, well, one
16      would think if they had that Mr. Nocella that United would
17      take note of that.
18                 But more fundamentally here, the problem with
19      defendants' claim on Delta and United and with their benefits
20      claims more generally is that they would have the Court
21      believe that American Airlines, the largest airline in the
22      United States, one of the largest airlines in the world -- if
23      not the largest -- needs to partner with JetBlue in order to
24      compete and to serve passengers effectively at those four
25      airports. One of the largest airlines in the world needs a
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 40 of 275
                                                                         40




 1      partner. That's the fundamental question that defendants
 2      want the Court to buy into.
 3                 Finally, Your Honor, that defendants argue that
 4      plaintiffs don't show actual fare increases or reductions in
 5      output. Well, first of all, that claim doesn't much take
 6      into account how COVID and its effects really wrecks the
 7      ability to learn much about the state of competition in the
 8      airline industry now to show my post-NEA fare increases or
 9      much of anything else.
10                 But beyond that, the antitrust laws enable the
11      United States and the plaintiff states to prevent harms to
12      consumers before they happen. The language of the Sherman
13      Act as well as case law both say as much.
14                 Another reason that defendants' claims about the
15      lack of actual effects ring hollow is because they've been
16      under scrutiny by some combination of the Department of
17      Justice and the plaintiff states since they announced the
18      NEA. That they would avoid taking any actions that would
19      undermine their litigation positions is common sense, almost.
20      But beyond that, it's also a concept that the case law
21      captures as well.
22                 And defendants also ignore what this deal has
23      already done. It's eliminated an independent competitor at
24      four major airports in the United States. Just here at
25      Logan, travelers went from having the option of the three
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 41 of 275
                                                                         41




 1      biggest airlines at Logan to two of those biggest three
 2      combining for practical purposes here at Logan. To borrow
 3      Mr. Hayes's phrase, again, Your Honor, it wiped out a
 4      competitor.
 5                 Also, the NEA has turned two airlines that had been
 6      fierce competitors trying to win travelers to their own
 7      airlines, often at the expense of their now partner, it
 8      turned those two airlines into ones that are now metal
 9      neutral and indifferent as to whether a passenger flies with
10      them or the other airline.
11                 Plus, Your Honor, the NEA has redirected defendants
12      once independent plans for growing and competing in Boston
13      and New York. JetBlue, for example, had its plans to enter
14      the Boston-London Heathrow market upended by the NEA.
15                 Finally on this point, now that JetBlue has
16      entangled itself with American, it lacks the incentive that
17      it had before to be that disruptive and a competitor. Now,
18      when JetBlue makes competitive decisions, it has to take into
19      account the impact of its decisions not just on itself, but
20      also on its partner.
21                 So where will this leave us at the close of the
22      evidence? Well, Mr. Hayes, he had it right stating that the
23      airline industry has never been more concentrated than it is
24      today and that the concentration of market power in the hands
25      of a very few deep-pocketed airlines has implications for
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 42 of 275
                                                                         42




 1      consumers in the form of reduced options, high fares, and
 2      often poor service.
 3                 Mr. Hayes is also right -- was also right that
 4      JetBlue serves as an important counterbalance. The documents
 5      and the testimony in the trial will show that the NEA, no
 6      matter how it's dressed up, is bad for travelers in this
 7      country. The Sherman Act prohibits it.
 8                 And as a result, at the close of evidence,
 9      Your Honor, we'll ask the Court to preserve JetBlue as that
10      important counterbalance in a concentrated industry and
11      protect the competition that has lead to benefits for
12      consumers and join the NEA.
13                 Your Honor, my colleague, Mr. Matlack, with the
14      Commonwealth of Massachusetts, would also like to address the
15      Court as well.
16                 THE COURT: All right. Thank you, Mr. Jones.
17                 Before you begin, Mr. Matlack, again, just the
18      people -- just in front of the door, the couple of you, you
19      can move in. There are a couple of seats here and there. If
20      you can just squeeze in. That would be helpful. There's a
21      seat in the back row over there on the right.
22                 Okay, go ahead, Mr. Matlack.
23              OPENING STATEMENTS BY COUNSEL FOR THE PLAINTIFFS
24             MASSACHUSETTS, PENNSYLVANIA, DISTRICT OF COLUMBIA,
25                 VIRGINIA, FLORIDA, ARIZONA, AND CALIFORNIA
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 43 of 275
                                                                         43




 1                 MR. MATLACK: Good morning, Your Honor. I'm
 2      William Matlack for the Commonwealth of Massachusetts. I'm
 3      chief of the Antitrust Division at the Massachusetts Attorney
 4      General's Office. I'm also speaking today on behalf of the
 5      reps of the nonfederal plaintiffs, the Commonwealth of
 6      Pennsylvania, the District of Columbia, the Commonwealth of
 7      Virginia, and the State's of Florida, Arizona, and
 8      California.
 9                 I'd like to tell you why we're here today, together
10      with Department of Justice colleagues. We're here and the
11      attorney generals of our respective states filed this case
12      with the United States because the evidence you will hear
13      includes harm that directly impacts the people, the
14      businesses, and the economies of our respective states and
15      districts.
16                 I will highlight some of that evidence most
17      relevant to the seven states and district plaintiffs, which
18      together make up more than 97 million people.
19                 Speaking for Massachusetts, the evidence will show
20      that the Northeast Alliance eliminates head-to-head
21      competition between JetBlue and American on 11 nonstop routes
22      and many other indirect routes that fly in and out of Boston
23      Logan airport. As Mr. Jones told you, the evidence will show
24      that this is presumptively anticompetitive because it is like
25      a merger in all but name and, in any event, creates market
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 44 of 275
                                                                         44




 1      power on these routes, and that it will increase prices to
 2      the flying public totalling hundreds of millions of dollars a
 3      year.
 4                 We who live here know how critical affordable
 5      airline travel out of Logan airport is for our jobs, for our
 6      families, and for our leisure travel. It's also critical for
 7      the Massachusetts economy. You will hear evidence about the
 8      loss of head-to-head competition for corporate travel
 9      business. Under the NEA, JetBlue and American no longer
10      compete and try to undercut each other on price or other
11      metrics for business accounts with our local companies and
12      institutions.
13                 These harms, obviously, don't just impact
14      Massachusetts. My co-plaintiffs from the other six states or
15      districts are here because the NEA harms their people, their
16      businesses, and their economies, too. For example, the loss
17      of competition on the route between Boston and Reagan
18      National Airport in northern Virginia harms the District of
19      Columbia and Virginia as well as Massachusetts. This is a
20      route where the combined JetBlue-American market share is
21      88 percent.
22                 But as you will hear, while they dominate this
23      route, the defendants are not going to compete and undercut
24      each other on price anymore. The Boston to Philadelphia
25      route is similar. JetBlue and American together hold
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 45 of 275
                                                                         45




 1      86 percent of that market. And as in other areas of the
 2      country, the evidence will show that the harm to Pennsylvania
 3      is also broader than just this route. You will hear that,
 4      prior to the NEA, Philadelphia was a connecting hub for
 5      American; but because of the NEA, American will deprioritize
 6      and likely reduce its capacity in Philadelphia, further
 7      degrading competition there. This harms both Pennsylvania
 8      consumers and its local economy.
 9                 The same is true in Florida. For example, you will
10      hear that because of the NEA, JetBlue has pulled back or is
11      planning to pull back its growth plans in South Florida and
12      Orlando. This is in addition to the loss of competition on
13      the Boston-to-Miami/Fort Lauderdale route where the
14      defendants' combined market share is 76 percent.
15                 You'll hear the same types of harm impact
16      California. For example, the loss of competition on the
17      Boston to Los Angeles route where the defendants hold
18      62 percent of the market, and that JetBlue is planning to or
19      has canceled or reduced its growth plans in Los Angeles
20      because of the NEA.
21                 And for California, you will also hear that the NEA
22      increases concentration to presumptively anticompetitive
23      levels for routes into a number of other California cities,
24      as well. For example, San Diego, San Francisco, and
25      Sacramento.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 46 of 275
                                                                         46




 1                 Finally, Arizona is impacted by the loss of
 2      competition between the defendants -- for example, on the
 3      Boston to Phoenix route where the defendants hold 85 percent
 4      of the market -- and under the NEA, the defendants will no
 5      longer compete for business on that route.
 6                 Your Honor, the evidence will show that the NEA
 7      will increase prices and cost the people of our states and
 8      districts hundreds of millions of dollars a year and that it
 9      will dramatically reduce competition by taking JetBlue out of
10      the picture as an aggressive competitor that holds American
11      and other airlines' feet to the fire to provide lower prices
12      and good quality service.
13                 This harm impacts much of the country, but it
14      particularly impacts the people, the businesses, and the
15      economies of each of our respective states and districts.
16      And that's why we're here, to work with our Department of
17      Justice colleagues to present this evidence to you. And
18      that's why we will also ask the Court to injoin this unlawful
19      alliance and redress the harm that's already happened and to
20      prevent the further harm that it will cause.
21                 Thank you.
22                 THE COURT: Thank you.
23                 How are you splitting -- are you doing one of you?
24      I'm just thinking of the court reporter and taking a break
25      around 11:00 or so.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 47 of 275
                                                                         47




 1                 MR. SCHWED: Yes, Your Honor. We will be splitting
 2      the opening. I'll will going maybe about 35 or 40 minutes,
 3      and then Mr. Wall will do the second half of the opening, so
 4      we are happy to --
 5                 THE COURT: Why don't you go and then when you're
 6      done, we'll take a brief break for the court reporters, and
 7      then you'll go, Mr. Wall.
 8                 MR. SCHWED: I just need one second here to --
 9                 THE COURT: Sure, take your time.
10                 MR. SCHWED: I'm happy to address the Court from
11      counsel table.
12                 THE COURT: Whatever is more comfortable for you.
13      I'm fine with you there. I'm fine with you at the podium.
14      There's no jury, so whatever is easier for you.
15                 MR. SCHWED: I'll just stand here.
16                 THE COURT: That's fine.
17                 MR. WALL: Your Honor, we have copies of our
18      presentation that we prefer to hand up to the court staff, if
19      that's okay.
20                 THE COURT: Sure. Yes.
21             OPENING STATEMENTS BY COUNSEL FOR DEFENDANT JETBLUE
22                 MR. SCHWED: Thank you, Your Honor.
23                 The evidence in this case is going to show that the
24      Northeast Alliance is a highly procompetitive partnership
25      that already has delivered substantial benefits to consumers.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 48 of 275
                                                                         48




 1                 Now, these are examples of the immediate, tangible
 2      benefits to consumers that have already taken place in the
 3      first 18 months. And if you were to listen to the opening
 4      you just heard, you probably wouldn't even know that the NEA
 5      has been in effect and has been helping consumers for
 6      18 months. It's all talking about the future. There's
 7      actually the present and that present is very important.
 8                 And these numbers are compared to pre-COVID,
 9      pre-Northeast Alliance from 2019. And it's saying, what
10      is -- what do these markets look like today compared to what
11      they looked like in 2019? And these are just examples.
12                 There are 50 new nonstop routes, 90 nonstop routes
13      that have more capacity. There are 17 new Northeast
14      Alliance -- these are all within the Northeast Alliance --
15      international routes, including to places like Athens, Delhi,
16      Doha, and Tel-Aviv. There's a 17½ percent increase in NEA
17      and ASMs. And you'll -- the Court will hear about the ASMs,
18      it's a very standard -- it's available seat miles, it's a
19      very standard measure of airline capacity. And 27 percent in
20      New York City alone.
21                 There are 45 daily departures that have been
22      upgauged -- and, again, that's another term that will appear
23      a lot. That's when you move from a smaller plane to a bigger
24      plane. 45 departures have been upgauged from 50-seat, very
25      small regional jets in New York City.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 49 of 275
                                                                         49




 1                 And talking about just about JetBlue and increasing
 2      the presence of JetBlue, not decreasing the presence of
 3      JetBlue, there are 189 percent more low-fare JetBlue seats in
 4      LaGuardia.
 5                 Now, it's important to note that these are not
 6      hypothetical predicted benefits based on a merger simulation.
 7      These are actual benefits based on actual flights and actual
 8      schedules. And it is a fundamental tenant of both the
 9      antitrust law and basic economics that more output, like we
10      are seeing here, is highly procompetitive and leads to lower
11      fares. Even plaintiffs' experts do not dispute that and they
12      have no answer for these real-world results.
13                 Now, what -- it's not just what we are saying.
14      It's important to see what our competitors are saying. And
15      to hear their opening, you would think that our competitors
16      don't care about the Northeast Alliance. But they see it the
17      same way that we do as creating a better competitor from --
18      by JetBlue and American, that we are more competitive with
19      them.
20                 And how did Delta refer to this? They referred to
21      the Northeast Alliance as a seismic change. They recognized
22      that American and JetBlue are an enhanced competitive threat
23      to them. And this is probably the -- sums it up very well,
24      that the Northeast Alliance created one relevant competitor
25      out of two weak ones.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 50 of 275
                                                                         50




 1                 United -- did United think that this was going to
 2      cause an output reduction by JetBlue, is going to make
 3      JetBlue go away? No, they say it has accelerated network
 4      growth plans for JetBlue.
 5                 Southwest recognized that together American and
 6      JetBlue are more attractive to customers because of improved
 7      schedules. And you will hear about the improved schedules
 8      under the Northeast Alliance.
 9                 And Alaska says, "The NEA creates a stronger
10      competitive proposition in the northeast that will likely
11      necessitate a competitive response from Delta and United."
12                 Now, what's interesting is one of the plaintiffs in
13      this case, the plaintiff you just heard from about three
14      minutes ago, now has publicly recognized the benefits of the
15      Northeast Alliance. Just last week in a trial that happened
16      in this very courthouse, the Massachusetts attorney general
17      solicited this testimony from its own expert witness on
18      direct examination. And this is very different from what you
19      just heard in the opening.
20                 And it's so important I'm just going to read it,
21      but now we have what I think from an economist's perspective
22      is an incredibly healthy mix of competition at Boston, which
23      has Delta competing -- Delta competing -- against what's
24      called the Northeast Alliance, which is American and
25      JetBlue's alliance to codeshare flights in the northeast.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 51 of 275
                                                                         51




 1      And if you look at a lot of the routes Delta is adding,
 2      increasing capacity, good for competition, they're right on
 3      top of JetBlue or American. So that level of competition is
 4      sort of a planner's dream to drive fares down and to offer
 5      more frequency and a wider array of services, which is
 6      exactly what's happening at Boston currently.
 7                 How can the plaintiffs now say that Delta doesn't
 8      care and is not going to respond to the Northeast Alliance?
 9                 As I said before I started talking, Mr. Wall and I
10      will share the opening. I will briefly outline how the day
11      is -- the morning is going to go. I will talk about the
12      topics on the left. I will start by talking about the
13      competitive environment in the Northeast before the Northeast
14      Alliances, the specific challenges that JetBlue and American
15      faced that led them to the Northeast Alliance, and then I
16      will get into what the Northeast Alliance is and is not.
17                 Mr. Wall will then cover the expert proofs. He
18      will also discuss the rule of reason and how the parties plan
19      to meet their burden under the legal standard.
20                 Fundamentally, the Northeast Alliance addresses
21      competitive challenges that JetBlue and American faced in the
22      northeast region. In Boston, JetBlue faced a strong
23      challenge from Delta, which had been pouring resources into
24      Boston and leveraging its global network, something that
25      JetBlue did not have.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 52 of 275
                                                                         52




 1                 And in New York City, American and JetBlue badly
 2      trailed United and Delta in the largest business market in
 3      the world. And I'm going to start, Your Honor, by talking
 4      about New York City, and then I'll go to Boston.
 5                 In New York, United and Delta led by every measure
 6      of network relevance. And, again, that's a term that you
 7      will hear about, so I'll just pause for a moment to talk
 8      about what relevance is. It's one element of competitiveness
 9      but an important element, and it's the extent to which local
10      originating passengers view an airline as best positioned to
11      meet their overall needs and allow them to maximize frequent
12      flyer benefits.
13                 So what does that mean in a practical sense? Take,
14      for example, a corporate customer, a potential corporate
15      customer in New York City or Boston. That corporate customer
16      wants to pick an airline that satisfies all of its needs.
17      And what does that mean? It means they want an airline that
18      gets it to the -- all the different places its employees need
19      to go, whether they're in the United States or outside of the
20      United States.
21                 It wants an airline that provides high frequency
22      service to the places its employees need to go, so that way,
23      when its employees finish a business meeting or maybe a court
24      appearance, they can go to the airport, get on a plane, and
25      come home and not wait for hours at the airport or maybe even
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 53 of 275
                                                                         53




 1      cost them money by having to stay another night, and they
 2      want to provide their employees with frequent flyer benefits
 3      that are useful to their employees.
 4                  In every metric of relevance, JetBlue and American
 5      trailed United and Delta. And I'm going to go through these
 6      relatively briefly.
 7                  This shows one measure, daily seats, just how many
 8      seats there are on planes in New York City. And this is all
 9      from 2019, pre-COVID, pre-NEA. This shows that American and
10      JetBlue are roughly half the size of Delta and United.
11                  Another common metric is the number of nonstop
12      destinations that are served -- again, very important. How
13      many different places can my preferred airline get me to?
14      Again, American and JetBlue were roughly half the size of
15      Delta and United. And we heard almost nothing about the size
16      of Delta and United and their dominant market position in
17      New York.
18                  Number of top 50 destinations. So not just how
19      many places you go, but how many of the most important
20      places. And this is one, American and JetBlue were slightly
21      better, roughly 60 percent of Delta and United.
22                  Another question is -- another metric is
23      international long-haul markets. "Long-haul" means roughly
24      South America, most of Europe, Middle East, Asia, the places
25      you need bigger planes to fly longer distances to. And the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 54 of 275
                                                                         54




 1      situation looked a lot worse for American and JetBlue in this
 2      metric, where they were greatly dwarfed.
 3                 And what was the trend in this important New York
 4      City market? Since 2014, American and JetBlue were losing
 5      market share. And who was gaining it? United and Delta.
 6                 Now, what were the impediments to growth in
 7      New York City that these airlines faced? In LaGuardia and
 8      JFK, slot constraints -- and, again, you'll hear a lot about
 9      slots. They're -- the simplest way to think of them --
10      sometimes they referred to as slots or slot pairs, their
11      legal permission slips to take off and land, and you can't --
12      and they effectively cap the number of takeoff -- takeoffs
13      and landings, the number of flights that any airline can have
14      in the few slot constrained airports in the United States,
15      and two of them are LaGuardia and JFK.
16                 Newark is not a slot-constrained airport, but it is
17      what it is referred to as a schedule facilitated airport with
18      limited runway space. And so what that means is that
19      carriers generally retain scheduling priority based off
20      actual operations conducted in the previous season. And
21      those constraints plus also some operational constraints,
22      primarily terminal access and where the gates are and access
23      to gates, also restrain growth and limit growth in Newark
24      airport.
25                 And these are not just things that -- these are not
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 55 of 275
                                                                         55




 1      just things that we are saying today. These restrictions,
 2      these restraints, these challenges were recognized by both
 3      airlines well before the Northeast Alliance. This is an
 4      ordinary course, quarterly document, a planning document that
 5      JetBlue has always produced and it's from early 2019. And
 6      what are they saying? Slot constraints limit our ability to
 7      grow JFK -- a constant refrain at JetBlue. And, in fact, the
 8      situation at LaGuardia was even worse for JetBlue.
 9                 What was American saying? And this document is
10      from 2018. That in New York City, they had no organic path
11      to secure a leadership position in New York City. They
12      recognized their constraint and that they had no ability to
13      grow.
14                 And on the bottom, that bottom table, it's not
15      remarkable, it's just -- in some sense, it's just an ordinary
16      course business document that outlined the lack of relevance
17      that I showed on the prior slides. And you can see roughly
18      how much United and Delta were a dominant one and two and
19      American and JetBlue were a distant three and four.
20                 Now, what's the story in Boston? It's actually a
21      slightly different story in Boston, but an equally compelling
22      one. In Boston, JetBlue, in 2019, before COVID, was the
23      largest carrier by most metrics. It had about 30 percent or
24      so, depending on the metrics. And -- but the problem that
25      JetBlue faced is that Delta was coming after them. And Delta
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 56 of 275
                                                                         56




 1      wasn't shy about it. These are from Delta ordinary course
 2      documents, and what was Delta saying? Delta's long-term
 3      vision looks to secure its position as Boston's number one
 4      global airline. Delta was not going to sit tight at number
 5      two.
 6                 And we -- we didn't even hear about Delta when we
 7      heard about the competitive environment in New York City. It
 8      wasn't even mentioned. You wouldn't know -- although I'm
 9      sure anyone in Boston knows -- you wouldn't know Delta even
10      flew in Boston if you listened to the opening presentation.
11                 And this wasn't just talk by Delta. This graph
12      shows what they had done in just the four years from 2015 to
13      2019, how much they had grown from roughly 130 flights to
14      roughly 190. And it's a classic hockey stick growth chart
15      and it was going to continue.
16                 Now, what is the significance of that from a
17      JetBlue perspective again? This is an ordinary course
18      document where they are -- it's called something you'll hear
19      about called "Project Revere," and that's a project designed
20      to address Delta -- Delta's challenge in Boston. And what --
21      and what they recognized is Delta growing larger than JetBlue
22      would eliminate many of our advantages and public claims.
23                 The reason that is, is JetBlue does not have a
24      global or a national network like a large carrier like Delta
25      has. So what it needs to do to compete in Boston, where it's
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 57 of 275
                                                                         57




 1      a more business-oriented market specifically, what Delta --
 2      what JetBlue needs to do, what its competitive advantage was,
 3      was being the biggest. And JetBlue saw that that competitive
 4      advantage was being taken on by Delta, which was insistent on
 5      not letting that happen.
 6                 And Delta -- what JetBlue also recognized in the
 7      second bullet that's highlighted, is Delta is just a lot --
 8      three to four times bigger than JetBlue and has the resources
 9      to pour into Boston in a way that JetBlue never could.
10                 How did the NEA address these challenges? The way
11      a good joint venture, any good joint venture or partnership
12      or alliance addresses challenges: by bringing together the
13      advantages of one airline with the advantages or
14      disadvantages of the other. Each airline provided what it
15      was good at and what it -- assets it had that addresses the
16      other airline's deficits.
17                 American, they provided slots and gates, and we've
18      heard about how slots and gates were such a challenge in the
19      New York City marketplace. The other thing American provided
20      is national and international relevance, something that
21      JetBlue just did not have.
22                 JetBlue, on the other hand, had a very strong
23      New York City and Boston customer base. They also had feeder
24      traffic. Feeder traffic generally refers to traffic from
25      outside a region into the region, where feeder traffic fits
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 58 of 275
                                                                         58




 1      in this puzzle is feeder traffic that comes into the region,
 2      and as well as the strong New York City customer base, can
 3      then connect on, for example, to American flights because
 4      American has that national and international relevance.
 5                 That, in turn, allows American to schedule and
 6      create more international routes because it has more
 7      passengers to feed those routes, and it also makes the
 8      combined effort more attractive to JetBlue customers who know
 9      they can come to New York and then connect on to some of
10      those new places, like Tel-Aviv or Athens.
11                 I'm going to pause -- I'm going to switch now to a
12      question of what the Northeast Alliance is, and maybe equally
13      importantly, what it is not.
14                 Geographically, it covers four airports: Boston,
15      LaGuardia, John F. Kennedy, and Newark. It also excludes all
16      JetBlue transatlantic flying.
17                 The basic elements of the Northeast Alliance are
18      best understood by thinking about what the goal of the
19      Northeast Alliance -- the goal of it creating an expanded
20      virtue network.
21                 What that means is -- we've heard about relevance,
22      a more relevant airline or a more relevant combination and
23      virtually, not actually; and that gives more options and more
24      frequent flyer benefits to consumers.
25                 The way this is done is through a number of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 59 of 275
                                                                         59




 1      different agreements and different elements, the NEA itself
 2      has multiple agreements under it. The first thing is
 3      codesharing. Codesharing is the ability of one airline to
 4      market and sell another airline's flights. So an American
 5      customer can go on the American website or app and buy a seat
 6      on a plane operated and flown by JetBlue and vice versa.
 7                 Slot and gate pooling -- we've heard about the slot
 8      and gate limitations within New York City in particular.
 9      What the Northeast Alliance does is takes those valuable
10      assets, combines them and looks at them together and says,
11      "Which airline can make the best use of which asset? We have
12      a slot that arrives at a particular time. Which airline
13      can -- based on the planes and its customer base -- can make
14      the best use of that asset?"
15                 Joint scheduling -- the parties can work together
16      to create a better schedule to better serve -- again, it's
17      all about serving customers, so there are more frequent
18      flights along the course of the day and there are better
19      connections to different flights. And Mr. Wall will talk a
20      little bit about this and give some examples in his
21      presentation.
22                 Finally there's reciprocal frequent flyer benefits,
23      what this means is that a loyal American customer advantage
24      member can earn points on JetBlue flights and can redeem them
25      on JetBlue flights and vice versa, a loyal JetBlue true blue
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 60 of 275
                                                                         60




 1      member can earn and redeem on American flights -- giving
 2      customers more options, a more valuable product.
 3                 The last element of this is seamlessness. All of
 4      these things have to work together, so that from the customer
 5      perspective -- because it's all about the customer -- it has
 6      to appear like one network that they can take advantage of
 7      and get more benefit from. And Mr. Wall will explain why
 8      these elements are nothing at all like a merger. They are a
 9      far cry from a merger.
10                 So what's not in the Northeast Alliance? There is
11      no coordination on pricing. And you will hear from multiple
12      witnesses that JetBlue is maintaining its pricing
13      independence and prices independently and has the same
14      pricing philosophy it has ever had and will always have.
15      That's part of what makes JetBlue JetBlue, and it will not
16      and could not even change that.
17                 Each carrier retains its distinct business model.
18      There's not a single shred of evidence JetBlue -- to the
19      contrary -- JetBlue will remain -- you heard the word
20      "maverick." JetBlue will remain a maverick.
21                 There is no coordination whatsoever on fleet plans
22      or overall capacity. The coordination is limited to very
23      specific -- to the specific routes within the Northeast
24      Alliance on a route-by-route basis, and there is no profit
25      sharing. There is only revenue sharing.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 61 of 275
                                                                         61




 1                 And the way the revenue-sharing agreement works,
 2      it's called a "mutual growth incentive agreement," that --
 3      you'll hear more about that during the trial -- that
 4      incentivizes growth.
 5                 American and JetBlue both recognize that the
 6      express goal of the Northeast Alliance in their business
 7      documents is to unlock customer value. This is from an
 8      American presentation about what they refer to as Project
 9      Garland, which is their code term for -- North American's
10      code for a project name for this -- for this Northeast
11      Alliance. What does it do? It addresses American's and
12      JetBlue's incomplete customer proposition relative to Delta
13      and United in New York City.
14                 It maximizes customer value and connectivity in
15      JFK, LaGuardia, and Boston. And it improves overall customer
16      relevance and competitiveness in the northeast region.
17                 And I'm going to pause for a second at this slide.
18      This is the slide that American's CEO presented to the board
19      of directors of American when he was explaining this
20      alliance. And if you look at it, some of the numbers here
21      will look familiar, because the two left columns are showing
22      American and JetBlue from before the Northeast Alliance,
23      before COVID. The two right columns are showing Delta and
24      United. And like some of the earlier bar charts we showed,
25      they show that American and JetBlue on metrics are roughly,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 62 of 275
                                                                         62




 1      in New York City, half the size of Delta and United.
 2                 And the green column combines the two. And what's
 3      important here is not just that the green column makes
 4      American and JetBlue a competitor, a viable competitor with
 5      Delta and United, the green column shows that the whole is
 6      greater than the sum of the parts.
 7                 If you look at the middle line there, because
 8      that's the easiest one to understand, I think, on this, the
 9      one that says daily seats, that's just the number of seats --
10      we saw that bar chart before -- American before had 62,000.
11      JetBlue, 61,000. And when you add them together, you would
12      think you would get around 123,000. This is an ordinary
13      course document. There's a little bit of rounding going on
14      here.
15                 But what you see is that the total in the green
16      column is 142,000 seats under the NEA. That's because the
17      Northeast Alliance unlocks growth and will result in more
18      than the each one added -- than each one had before the
19      Northeast Alliance.
20                 How did JetBlue propose this to its board? The
21      strategic rationale of project Connie, the Northeast
22      Alliance, right there, it's to leverage the partnership to
23      accelerate the organic plan. And you will see that the
24      organic plan means growth and bring low fares and
25      award-winning service to more New York City and Boston
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 63 of 275
                                                                         63




 1      customers.
 2                 That is accomplished through two of the things we
 3      talked about: network relevance and also what it results in
 4      is increased customer utility. It benefits customers.
 5                 This is also the same way that JetBlue and
 6      American -- they're not hiding what they're doing. They're
 7      not behind some closed door trying to say we're going to
 8      coordinate capacity and do something secretive. This is
 9      exactly how jet -- American and JetBlue are touting the
10      Northeast Alliance to corporate customers. This is an actual
11      sales or it's a town hall meeting deck where American and
12      JetBlue are saying, hey, look how much benefit we are
13      bringing to you, the corporate customer.
14                 And it's all the same things that we've seen
15      before: expanded service, domestic growth, international
16      growth, and a seamless experience.
17                 This is an executive update within JetBlue, and
18      this document, it included -- so the executives would know,
19      this was the employees -- some of the employees telling the
20      executives, this is how we are advertising the Northeast
21      Alliance. It's all the same things: increased JetBlue
22      flights, more perks for customers, expanded access to
23      American's global network via JetBlue, and the ability to
24      earn TrueBlue points -- those are JetBlue's frequent flyer
25      points -- on American flights. And there's also -- it's not
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 64 of 275
                                                                         64




 1      mentioned here, the ability to redeem them on American
 2      flights.
 3                 The competition understood exactly what the
 4      Northeast Alliance was about. I showed in the second or
 5      third slide some of the competitor responses. I am not going
 6      to repeat that, but I do think it's worth dwelling on one
 7      right here.
 8                 This is a Delta document from three weeks after the
 9      announcement of the Northeast Alliance. It took them three
10      weeks to put together a detailed competitive assessment.
11      That's how concerned they were.
12                 What was their assessment? It says that
13      American -- that it creates a more relevant competitor. And
14      it focused -- it recognized that it helped both American and
15      JetBlue grow and compete against Delta.
16                 American -- it improves its relevance in many
17      competitive cities by leveraging B6's existing network --
18      that's American -- and that codeshare improves B6 -- that's
19      JetBlue's -- prospect of winning corporate share. American
20      and JetBlue, by working together, are a much more competitive
21      force against the dominant airline in New York City and
22      the -- and the growing airline in Boston, Delta.
23                 And we've already seen some quotes from United, but
24      also, they didn't just stop there and sort of include sort of
25      high level analysis. They went city by city. And there's
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 65 of 275
                                                                         65




 1      actually -- this deck has a page on each of these cities, and
 2      it's in that -- analyzing the competitive threat by both
 3      American and JetBlue at each of these cities.
 4                 This was not, as you might have believed from the
 5      opening, taken lightly by Delta. They knew exactly what they
 6      were facing, which is a competitive force.
 7                 Southwest had a similar reaction. The NEA will
 8      benefit JetBlue the most with access to American's extensive
 9      hub network, lounges, and coordinated schedules in some of
10      the most competitive routes. And those are things that
11      JetBlue did not have, a hub network or lounges.
12                 Network enhancement will be greatest for JetBlue
13      based on American's existing extensive network and hubs along
14      the East Coast.
15                 What's missing from the record is any evidence, any
16      real business record evidence, that supports plaintiffs'
17      claims. There's not a single piece of evidence that suggests
18      that the Northeast Alliance will in any way diminish the
19      JetBlue effect that you have heard so much about. And that's
20      one point that we all agree, there's a JetBlue effect and
21      it's great. But the difference is, the actual evidence will
22      show, and Mr. Hayes will testify, that this is going to
23      expand the JetBlue effect, not decrease it in any way.
24                 There's no evidence whatsoever that the Northeast
25      Alliance allows American to control JetBlue -- none. There
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 66 of 275
                                                                         66




 1      is no evidence whatsoever -- you heard a lot of history about
 2      capacity discipline that supposedly started in -- we don't
 3      agree with it -- but supposedly started a decade ago and
 4      ended half a decade ago.
 5                 There's no -- that ancient history is irrelevant,
 6      and there's not a single shred of evidence that the Northeast
 7      Alliance somehow will promote capacity discipline. There is
 8      not a shred of evidence that has led to nor will lead to
 9      higher fares, less output, or less competition.
10                 I want to turn to the agreement with the Department
11      of Transportation. And why that's relevant is, first of all,
12      because the Department of Transportation, this agreement that
13      they say is so obviously anticompetitive you can smell it
14      from 30,000 feet, well, the Department of Transportation, who
15      knows something about airlines, had a very different view.
16      The Department of Transportation reached a very different
17      judgment after a very thorough process than the Department of
18      Justice did.
19                 They recognized the potential that this brought,
20      the benefits that it could bring. And they were willing to
21      let it go forward, and it has gone forward, with certain
22      commitments and ongoing monitoring by the Department of
23      Transportation.
24                 Now, the agreement -- I guess now is -- into
25      evidence after this morning and it has a lot of different
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 67 of 275
                                                                         67




 1      provisions. I'm not going to try to, in this opening, cover
 2      all of the different provisions and the commitments that are
 3      contained in the Department of Transportation agreement. I
 4      want to just talk about a few. At the very top, there are
 5      slot pairs, seven slot pairs at JFK and six at DCA that are
 6      going to be divested or leased.
 7                 The next few bullets talk about very specific
 8      commitments that were made by the airlines. And then at the
 9      bottom is, also, a very important commitment, which is -- or
10      aspect of this -- which is the ongoing monitoring by the
11      Department of Transportation. And the suggestion somehow
12      that the minute this litigation ends, JetBlue and American
13      are just going to be changing their tune, first of all, makes
14      no sense from a business perspective for either airline, but
15      also ignores this important oversight and the fact that the
16      Department of Justice can sue at any time.
17                 Then the -- another big component of the north --
18      of the agreement with the Department of Transportation are
19      growth commitments. So when JetBlue and American were
20      presenting the Northeast Alliance to the regulators, they had
21      growth targets and the growth target here is shown as
22      16 percent. That's after some DOT adjustments based on
23      expiration of slot waivers, upgauging in slot divestitures.
24      But you can think of it as a 16 percent -- that's how they
25      viewed it, you might think of it, as a 16 percent target that
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 68 of 275
                                                                         68




 1      the airlines set.
 2                 And what happened is the DOT said put your money
 3      where your mouth is. Can you guarantee you're actually going
 4      to grow? And the airlines put ten additional slot pairs, in
 5      addition to the divestitures that we saw and the leases we
 6      saw on the prior page, ten additional slot pairs on the line
 7      committing to growth.
 8                 And if the two airlines do not meet 10 percent
 9      growth above this baseline and the baseline, again, is 2019,
10      pre-NEA, pre-COVID, with some adjustments that the DOT
11      wanted, if they don't meet a 10 percent growth, they forfeit
12      all ten slot pairs. And if they're between 10 percent and
13      15 percent, there's a proportionate forfeiture.
14                 And what's important to this is not just that the
15      parties are committing to growth, but what these numbers
16      mean. 10 percent, a transaction that results in 10 percent
17      growth, which we're losing ten slots in that case, that
18      transaction, by -- already is highly competitive. You
19      don't -- any growth is highly competitive. 10 percent is a
20      huge boom to competition.
21                 There's also one other feature. This has been
22      covered a lot in the briefing, so I'm not going to get into
23      too much detail, but there is no revenue sharing and no
24      coordination on what's been referred to as the carve-out
25      routes that are all listed here. I'm not going to read them
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 69 of 275
                                                                         69




 1      all, but they're in the DOT -- they're in the papers. This
 2      is D -- as you saw in the papers, this is a direct result of
 3      discussions with the regulators, and it's part of a binding
 4      contract between the parties.
 5                 I want to just -- before I hand over or maybe we'll
 6      take a break and then I'll hand it over to Mr. Wall, talk
 7      about one red herring, the Spirit acquisition. The Spirit
 8      acquisition has absolutely nothing to do with this case.
 9      Why? First, if it has any relevance whatsoever, it is
10      further independence of -- further evidence of JetBlue's
11      independence. JetBlue didn't ask American for permission to
12      engage in the -- to bid for Spirit. American had no
13      involvement, didn't know a thing about it until they read
14      about it when it was made public, like everyone else.
15                 The Spirit transaction, as JetBlue has made clear
16      from the day it made its bid, has one goal: to enable
17      JetBlue growth outside the NEA, just like the Northeast
18      Alliance helps JetBlue grow and bring more of the JetBlue the
19      effect inside the Northeast Alliance airports, the Spirit
20      transaction allows that to happen outside and makes JetBlue
21      more of a nationwide competitor, more of a force on low
22      fares, more of a force that will bring low fares and better
23      competition to consumers.
24                 And finally, and maybe it's the most importantly,
25      of course, that's subject to a separate Department of Justice
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 70 of 275
                                                                         70




 1      investigation. And the Department of Justice will have its
 2      chance to assess whether that is or is not procompetitive
 3      based on the evidence.
 4                  Thank you and I will hand it to Mr. Wall or take a
 5      break as the Court sees fit.
 6                  THE COURT: How long do you think you'll be,
 7      Mr. Wall?
 8                  MR. WALL: I think we should probably take a break,
 9      because it will be 35 minutes or so, something like that.
10                  THE COURT: All right. We'll take a brief break.
11      Thank you very much.
12                  THE DEPUTY CLERK: Court's in recess.
13                  (Court in recess at 10:50 a.m.
14                  and reconvened at 11:02 a.m.)
15                  THE COURT: Please be seated. Just a reminder,
16      that if you don't want, at counsel table, your side-to-side
17      discussions among yourselves to be broadcasted, to be picked
18      up on the Zoom, you need to mute the microphones. There's no
19      other way for us to do this.
20                  MR. WALL: Thank you, Your Honor.
21                  Shall I proceed?
22                  THE COURT: Go right ahead.
23       OPENING STATEMENTS BY COUNSEL FOR DEFENDANT AMERICAN AIRLINES
24                  MR. WALL: Thank you.
25                  Your Honor, once again, I'm Dan Wall. Along with
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 71 of 275
                                                                         71




 1      Sullivan, Ms. Maltas, and a small cast of thousands behind
 2      us, I have the honor of representing American Airlines in
 3      this case, and I'll be giving the remainder of the opening
 4      statement.
 5                 I actually want to say good morning to Mr. Jones
 6      and his team and thank you all for your service. I
 7      appreciate it.
 8                 My job this morning is actually to talk a lot about
 9      how the expert proofs are going to come in, but I've also
10      found it useful in these kinds of cases to try to map the
11      proofs that are going to come in to the legal standards and
12      how the parties are intending to meet their respective
13      burdens. And there's a difference in this case, a fairly
14      significant difference, and that needs to be highlighted at
15      the beginning to understand why we're doing the things that
16      we're doing the way that we're doing them.
17                 We're putting up here on a slide the articulation
18      of the three-step rule of reason that comes from last year's
19      Supreme Court decision in the NCCA v. Alston case. The
20      standard in recent years, the plaintiff has the initial
21      burden to prove that the challenge restraint as a substantial
22      anticompetitive effect. Should the plaintiff carry that
23      burden, the burden then shifts to the defendant to show a
24      competitive rational, and then if the defendant can make that
25      showing, the burden shifts back to the plaintiff to
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 72 of 275
                                                                         72




 1      demonstrate that the procompetitive efficiencies can be
 2      reasonably achieved through less anti-competitive means,
 3      that's the so-called less restrictive alternatives.
 4                 We will be putting our proofs in against that
 5      standard but the government will be putting its proofs in
 6      against a markedly different standard, which we note here in
 7      the -- first of all, on the first step, the government has
 8      put in its brief that the test is whether the challenged
 9      restraint is likely to harm competition.
10                 There was a reference to that in the opening
11      statement citing a case from 1945. That is not the test.
12      I'll explain some of the distinctions in a moment, but that's
13      what the plaintiff is going to be putting on proofs about.
14                 Step 2 is supposed to be just a fairly modest
15      burden to show a procompetitive rationale. What we saw in
16      the plaintiffs' trial brief is that they want the burden to
17      be on the defendants to actually show the lawfulness of the
18      restraint at the second step by what they call sufficient
19      procompetitive effects.
20                 And this, again, was very evident in Mr. Jones'
21      opening where one of the major themes was that we were
22      supposed to justify the NEA as if it is our burden to
23      convince the Court that it is justified in some overall
24      sense. That's actually not the second burden. The second
25      step burden is a much, much more modest one than that.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 73 of 275
                                                                         73




 1                 And then with respect to the third step, less
 2      restrictive alternatives, a rather radical departure that is
 3      argued for in the plaintiffs' trial brief, instead of having
 4      to prove a less restrictive alternative, they argue that
 5      there should be -- they should have two options, to either
 6      show that there's a less restrictive alternative or that a
 7      weighing of the injury and the benefits to competition favors
 8      condemning the NEA.
 9                 Now, you may ask why one would want to change the
10      legal standard that dramatically? I think we can save that
11      for another day. But one point I do want to make, though,
12      the last point as a foundational point, is an observation
13      that the Supreme Court made in the Alston case about the rule
14      of reason and what it's about, and it was made in the context
15      of the third step, the balancing of alternatives.
16                 And it was the admonition that courts should not
17      second guess degrees of reasonable necessity, and this is the
18      quote: "Antitrust law does not require businesses to use
19      anything like the least restrictive alternative. To the
20      contrary, courts should not second-guess degrees of
21      reasonable necessity so that the lawfulness of conduct turns
22      on judgments of degrees of efficiency."
23                 Now, I think it was pretty clear from Mr. Jones'
24      opening that the plaintiffs case, rather from beginning to
25      end, is about second-guessing the need for the NEA. In fact,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 74 of 275
                                                                         74




 1      it was very stark in one of his final slides in which he is
 2      actually framing the issue as if it is a question of whether
 3      the defendants needed to go this far. That's not how the law
 4      works. The law allows businesses to achieve procompetitive
 5      efficiencies and it sets up a less restrictive alternative
 6      test to judge whether they have done so properly or
 7      improperly. And that's how we will proceed in this case and
 8      that's how we will put on our proofs.
 9                 Now, I'm going to go into the main issue now and
10      this, as in most cases, is adverse effects. You know, this
11      is the observation from the Alston case about virtually all
12      cases in the last 45 years have failed because the plaintiff
13      could not show the substantial antitrust effect.
14                 The standard is has a substantial anticompetitive
15      effect and I don't know why we're debating this. This is the
16      Supreme Court in the last two decisions, the Alston decision
17      and the AmEx decision, which was a case in which the -- that
18      the Department of Justice brought, was actually appealed by
19      the State of Ohio, which is why it's called Ohio v.
20      American Express, but it was a DOJ prosecution, and the
21      standard is phrased as has a substantial anticompetitive
22      effect.
23                 I think where the confusion comes in is that we do
24      have these two ways of proving the substantial
25      anticompetitive effect that are called the direct and
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 75 of 275
                                                                         75




 1      indirect way. In a direct proof case, there is -- it's no
 2      inference. It is -- the actual adverse effect is proven by
 3      evidence that prices have gone up, output has gone down, or
 4      quality has decreased, something like that.
 5                 There is an indirect path, as the government has
 6      pointed out in the past, which is inferential. We seek an
 7      inference of the effect, the present adverse effect, but the
 8      inference of that effect based upon a combination of the
 9      market power and the nature of restraint.
10                 That is the point in this analysis at which
11      likelihoods are properly part of the assessment. And I want
12      to make it clear we are not saying that Your Honor shouldn't
13      consider what are the likely effects of the things that we
14      are doing as part of the NEA, because you most certainly
15      should.
16                 But you -- but that is -- we can't confuse
17      relevance with the governing legal principle, with the
18      ultimate legal conclusion. The ultimate legal conclusion is
19      has a substantial effect -- but like in most walks of life
20      and most kinds of cases in the law, we very often make
21      inferences about what is happening based upon circumstantial
22      evidence and inferences, and so that's how it fits in.
23                 And to drill one step further on that, the logic of
24      indirect proof begins with market power, because it is --
25      it's just one of our holy of holy tenants in the antitrust
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 76 of 275
                                                                         76




 1      rule that affirms that under a strong competitive constraint
 2      and therefore cannot exercise market power, cannot harm
 3      consumers in the competitive process in the way that the rule
 4      of reason requires, so that is a necessary but not sufficient
 5      condition.
 6                 And then we look at the nature of the restraint.
 7      And so we will have proofs in this case that go to that as
 8      well. Does the conduct that is at issue have a tendency to
 9      restrict the competitive process and to harm competition?
10      And that's the path that the government goes down, for the
11      most part.
12                 In fact, what we do on this slide is more of an
13      organizing device this morning. There's a number of issues
14      around market power, the merger simulation that Dr. Miller
15      offers. There are theories of anticompetitive tendencies
16      about revenue sharing and about capacity coordination and
17      what I, frankly, call "atmospheric arguments" about the
18      elimination of the JetBlue effect and the promotion of
19      capacity discipline -- atmospheric because there's no proof
20      that any of these things are happening. They're just
21      thematic arguments that are made. These are the major points
22      that I'm going to be covering because that's their case.
23                 Now, I'm not going to do that, though, without
24      pausing to make the big point, which is that this case has
25      come to trial with no direct evidence of actual adverse
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 77 of 275
                                                                         77




 1      effects. And I don't want to just slough that off and run by
 2      it, because it's a big deal. It's exceedingly unusual.
 3                 When the government brings rule of reason cases, it
 4      almost always comes to court with some amount of direct
 5      evidence of anticompetitive effects. In the AmEx case, which
 6      was about these anti-steering rules, it came in with direct
 7      evidence that it had the effect of raising merchant fees.
 8                 You know, this is the ordinary way to go because
 9      most cases don't get brought until there is -- there is some
10      tangible evidence that the practices are doing harm. But in
11      this case, even though the NEA has been in effect for
12      18 months, and even though the DOT had taken this wait and
13      see approach as Mr. Schwed had indicated, the Department of
14      Justice insists on ignoring the record of those 18 months.
15                 And, actually, their experts will go so far as to
16      argue that you can't tell anything about the NEA, about those
17      18 months, or maybe even in the future as a kind of setup to
18      saying that instead you should do all of this speculation
19      based upon merger simulations and other predictive proofs.
20                 But the fact is is that the plaintiff, in a rule of
21      reason case, showed up for trial without any direct evidence
22      of actual adverse effects, and they did so when the -- excuse
23      me -- when the defendants showed up with what is now
24      unrefuted evidence of procompetitive effects -- and taking on
25      the burden to prove the negative, the absence of any adverse
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 78 of 275
                                                                         78




 1      fare effects, which we'll get to the expert testimony that
 2      we're putting in.
 3                 So we have not just a one-sided record on actual
 4      effects, it's actually a default on the plaintiffs' side and
 5      substantial evidence of more flights, more output, more seat
 6      capacity, more of all of these things from the defense side.
 7                 So this is -- the heart of that will be the
 8      testimony of two of our experts, Mark Israel and Dennis
 9      Carlton. Doctors Israel and Carlton have divided up the
10      work, and they have respectively looked at the benefits and
11      the output effects of the NEA and then looking for any
12      evidence of adverse effects during the 18 months.
13                 Dr. Israel will testify -- and it's really not even
14      contested -- that in the 18 months since the NEA went into
15      effect, there has been an increase in all measures of
16      capacity and output and product quality and all of these --
17      all of these things.
18                 When I say it's uncontested is because what
19      Mr. Jones was not telling you, is not that it's happening,
20      but rather that they have some theory that it might have
21      been -- that that growth might have occurred through some
22      other way. That's a consideration that goes into the final
23      parts of the rule of reason analysis. But with respect to
24      the question of adverse effects, the evidence will show
25      enhanced output, which is the opposite of an anticompetitive
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 79 of 275
                                                                         79




 1      effect.
 2                 And then Dr. Dennis Carlton, who is one of the
 3      giants of the antitrust world -- used to be the chief
 4      economist and deputy assistant attorney general in the
 5      antitrust division -- has actually conducted a very careful
 6      study of these nonstop overlap routes on Boston and New York
 7      NEA routes that they focus on.
 8                 He's compared what's going on with fares on those
 9      routes to a set of control routes, which are also NEA routes
10      that their experts said there shouldn't be any adverse
11      effects on, and it shows that the -- the pricing is
12      essentially the same. There's no statistical --
13      statistically significant difference in the control and the
14      treatment groups.
15                 Okay. I want you to turn to market power -- a
16      fundamental concept in the antitrust. It exists. The idea
17      is that firms can raise market prices by restricting their
18      own output because there's not enough restraint on them.
19      Rivals will not keep them from doing it. Rivals can't expand
20      their output. Rivals can't enter and so forth.
21                 So we usually look at two things. What is the
22      market position? You have to have a sufficiently large
23      market share, a certain freedom from competition, if you
24      will. And then you have to look at the supply side of the
25      market, at the questions of entry and expansion to ask the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 80 of 275
                                                                         80




 1      important question of whether there is anything stopping
 2      other firms from increasing their capacity if you try to
 3      restrict yours.
 4                 This is a very plain antitrust orthodox way of
 5      addressing market power. And in this case, the plaintiffs
 6      make no effort to meet their burden of proof that way. And
 7      that's a just strong statement, I understand, but it is -- it
 8      calls for a strong statement because it's literally true.
 9                 Here's the situation in these markets and why the
10      parties understood that they could do the NEA. Boston and
11      New York are both, as Mr. Schwed indicated, extremely
12      competitive regions. They're big cities with a lot of air
13      travel, very attractive to airlines. And as you would
14      expect, lots of airlines target them and target them with a
15      lot of capacity.
16                 Now, what the plaintiffs did in their opening, and
17      what they did in their trial brief and their expert reports
18      and so forth, is to try to draw the Court's attention to a
19      particular number of Boston routes and a particular number of
20      New York routes that they say are problematic because of the
21      parties' combined market shares.
22                 But let's look at the big picture, because the
23      legality of the NEA turns on holistic analysis of the
24      alliance and the benefits and the harms to all of the
25      consumers in the Boston and New York region. And this is
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 81 of 275
                                                                         81




 1      what you see.
 2                 First of all, the parties, prior to the NEAs, one
 3      or the other or both served 64 destinations with nonstop
 4      service from Boston. Only 12 actually overlapped. What I'm
 5      saying is that on 52 of the routes that are affected by the
 6      NEA, the parties weren't even competitors. Forget all of
 7      this stuff about such big competitors that they couldn't
 8      merge -- which is a diversion -- they wouldn't even
 9      competitors at all. So with respect to those 52 routes,
10      Bostonians get the benefits of the NEA with no possible
11      downside. That's the starting point for all this.
12                 Of the 12 remaining routes, six of those are in the
13      carve-outs. And you can see now why it's so important for
14      them to convince you to ignore the carve-outs. Because half
15      their case goes away by number of routes, and well more than
16      half of their case for Boston goes away by the volume of
17      traffic on those routes, because, no surprise, a lot of the
18      carve-out routes happen to be these hub-to-hub routes that
19      carry lots and lots of passengers from one American Airlines
20      hub to another, and that's why they were carved out.
21                 Most -- so now we're six routes, six out of 64.
22      And as to the -- three of those six are to Miami,
23      Los Angeles, and Chicago, which are huge routes with lots of
24      competition, and which it is speculative, to say the least,
25      that these parties could ever, by any means, exercise market
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 82 of 275
                                                                         82




 1      power. So at the end of the day, then, you're down to a very
 2      small number of routes that are Boston. And guess what,
 3      you're going to hear a lot about those routes, because that's
 4      where they want to draw your attention. But that's the story
 5      in Boston.
 6                 Now, in New York, it's even more extreme. There's
 7      about just shy of 100, 99 routes in New York that, again,
 8      either American, JetBlue, or both serve nonstop prior to the
 9      NEA. The DOJ is complaining about 18 of them. Those are the
10      ones that counsel mentioned on one of -- on one of his chart.
11                 And you'll remember he had the chart that said that
12      on their -- on those routes, their market shares -- their
13      combined market shares would be as high as 96.8 percent.
14      Well, that's because the highest one that they could identify
15      had a market share of 96.8 percent.
16                 But look at the chart that we put up here, which is
17      actually showing the bigger picture in New York. The reality
18      is that United and Delta dominate the New York routes.
19      That's why there is an NEA. You saw that from Mr. Schwed.
20      The reason there is an NEA is to do something about the
21      dominant position of United and Delta, which was growing
22      while we were shrinking.
23                 And on these -- on this graph, what we've done is
24      we've displayed the market shares of the airlines other than
25      American and JetBlue. So American and JetBlue would be in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 83 of 275
                                                                         83




 1      the white space. And on so many of these routes, what you
 2      see is blue or red signifying United or Delta that occupy
 3      most of the space. They have most of the capacity. Because
 4      most of these routes are large routes in which United and
 5      Delta have a commanding position, making it frivolous to
 6      think that, through the NEA or not, American and JetBlue
 7      could exercise market power.
 8                 Because, remember, exercising market power has to
 9      mean that the competitive constraint from United and Delta is
10      insufficient. And it's not going to be insufficient when the
11      markets look like that.
12                 So what do plaintiffs do to prove market power?
13      First point I want to make is that they quite literally do a
14      merger analysis. Now, we've heard since the motion to
15      dismiss in this case that the plaintiffs' position is that
16      they are entitled to, as they put it, use tools of merger
17      analysis to attack the NEA. And fine. So be it.
18                 But they don't just use tools of merger analysis.
19      With respect to market power, they do nothing more than a
20      standard merger analysis, which is -- which -- in our tribe
21      of antitrust, what we do is, for historic reasons, we sum
22      market shares and then square them into this thing that's
23      call the Herfindahl–Hirschman Index.
24                 And Dr. Miller, in the key exhibits in his report,
25      what we are displaying here are the Boston ones, is what he
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 84 of 275
                                                                         84




 1      does, is he does that. He pretends that we merged, and he
 2      sums the market shares and then squares them into HHIs, just
 3      like you do in a merger case.
 4                 Well, at the appropriate time, we will argue that
 5      that is legally impermissible, and the main reason is because
 6      the collaboration doesn't take a player off the field. The
 7      shares aren't combined. They're still in American. They're
 8      still at JetBlue. Yes, they're collaborating and Your Honor
 9      needs to make certain judgments about that, but you can't
10      approach making that judgment by assuming they're separate
11      existence away.
12                 They had a separate existence. They're still
13      competing with different business models, with different
14      pricing, and so forth, and none of that gets reflected in
15      what Dr. Miller is doing.
16                 Dr. Miller also ignores entry and expansion. It
17      became very clear through his expert report in his deposition
18      that he approached the issue of entering and expansion as if
19      this was a merger, subject to the DOJ's merger guidelines, in
20      which they had placed the burden of proof with respect to
21      entry and expansion on the merging parties, which is -- which
22      is consistent with Section 7 law under the Clayton Act.
23                 But that's not the way it works in a Section 1
24      case. The burden of proof to prove market power encompasses
25      a burden to prove that the market position is protected by
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 85 of 275
                                                                         85




 1      barriers to entry or expansion. And they don't even try to
 2      meet that burden.
 3                 Now, it's even worse when we get to New York
 4      because, as counsel alluded, yes, we're going to talk about
 5      Newark and it starts now. Because what's going on in -- with
 6      respect to these New York markets is they can't even justify
 7      a merger analysis based in New York, based upon a full
 8      accounting of the competitive dynamics in that market and
 9      especially the position that United Airlines holds as the
10      number two airline serving New York.
11                 So in a classic antitrust maneuver, they have used
12      market definition to try to create a false appearance of more
13      concentrated markets. And in particular, they are -- they're
14      arguing that Newark is a separate market. United Airlines,
15      therefore, gets written out of the script.
16                 They ask Your Honor to decide the lawfulness of the
17      NEA by pretending that United Airlines service at Newark
18      Airport doesn't exist. That's what it comes to. That's how
19      far they need to go to justify the New York case.
20                 And since -- I wasn't going to make this point, but
21      since the point was made by Mr. Matlack about why the states
22      are here, let's point out that the New York attorney general
23      is not here and because the New York attorney general did not
24      join this case. And it's because New York is an unqualified
25      winner from the Northeast Alliance with little or no
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 86 of 275
                                                                         86




 1      possibility of any meaningful downside.
 2                 But we have principles, economic and legal, for how
 3      we do geographic markets. And the foundation is that the
 4      geographic markets have got to encompass all of the sellers
 5      to which consumers presently turn or could turn if prices
 6      were to go up. And upon that standard, there is just no
 7      doubt whatsoever that United and its service from Newark
 8      belongs in this market.
 9                 In fact, I'm not going to belabor this, but you
10      will hear the testimony in this case. United says these
11      three airports are one market. Delta says so. Other
12      airlines say so. We'll put on an expert study, which is an
13      updating of an actual published study in the economic
14      literature that says that these three airports are one
15      market.
16                 The DOT says these are one market as recently as a
17      few months ago. And frankly, the Department of Justice said
18      that these were one market when it filed suit to try to block
19      the American US Airways merger. So this is not a close call.
20      If it is, we could resolve it the way that we resolve
21      everything we do in the world these -- these days. We could
22      google it. We could actually just go on Google Flights and
23      you could just type in a destination from New York to
24      somewhere else.
25                 On this one, we used New York to San Diego. You
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 87 of 275
                                                                         87




 1      hit search, and you will get flights from Newark, and you
 2      will get flights from JFK, because that is the world that we
 3      live in.
 4                 Now, I want to turn to Dr. Miller's merger
 5      simulation. I am going to do so mindful of the fact that you
 6      are already acquainted with it as a result of the Daubert
 7      motion. To begin with, the easy part in what I would think
 8      would be the dispositive part, but it isn't, and that's that
 9      the NEA is not a merger. And it isn't in so many ways.
10                 In a merger -- you know, one of the -- one of the
11      most definitional things about a merger is combination and
12      control. You get the entire -- the two enterprises become
13      under one person's single control. And this is recognized in
14      the economic literature. Well, there's none of that here.
15                 The companies maintain separate management. When
16      Robin Hayes gets up here today and you hear what he has said
17      and what he still says about legacy airlines, ask yourself
18      whether you think he's under American Airlines 'control,
19      because he is not in any way, shape, or form.
20                 There's no permanent transfer of assets. There's
21      no combination of the fleets. One of the things that
22      characterizes airlines mergers is this extraordinarily
23      complicated process of actually combining the fleets and
24      getting a common certificate.
25                 The NEA is two distinct fleets, two distinct fleet
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 88 of 275
                                                                         88




 1      plans. Normally, you reconcile the brands. Well, not here.
 2      JetBlue is still JetBlue. We're still American. We actually
 3      use the NEA to sell differentiated offerings to our combined
 4      customers.
 5                 If you want -- I flew out here on JetBlue using my
 6      American app and the American codesharing. It's -- it's what
 7      this is all about is creating an option for people of both
 8      JetBlue options and American options.
 9                 And critically, I really don't understand why this
10      is not dispositive. There's no pricing coordination.
11      Everything you will hear about the merger simulation is
12      grounded in the idea that a merged firm prices its products
13      differently than firms that are independent and unilaterally
14      profit maximizing.
15                 And if there were pricing coordination here, I
16      could see them making this argument, but there isn't pricing
17      coordination here, there is independent pricing, and that is
18      undisputed.
19                 And that can't be ignored because the DOJ actually
20      has this right in its collaboration guidelines. It's
21      collaboration guidelines talk about when it is appropriate
22      and when it is not appropriate to treat collaborations like
23      mergers.
24                 And it's very clear -- we have some of the quotes
25      here, others are in our pretrial brief, that the key thing is
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 89 of 275
                                                                         89




 1      whether the collaboration has eliminated all competition.
 2      The DOJ makes it very clear that it is only in the case when
 3      the collaboration has eliminated all competition between the
 4      parties that the merger analysis is appropriate.
 5                 Otherwise, you have to consider how competition has
 6      preserved, or otherwise you undoubtedly overstate the effects
 7      of the collaboration. I mean, this seems so obvious, and yet
 8      it is disputed in this case.
 9                 And the way it's disputed is with Dr. Miller's
10      theory about revenue sharing. Now, the other day in the
11      Daubert motion, counsel for the government made an argument
12      that we were very surprised to hear. They tried to suggest
13      that the reason that you can treat the NEA like a merger is
14      because the parties are coordinating capacity. And the fact
15      that they're revenue sharing is of secondary importance.
16                 And we heard the same thing earlier in Mr. Jones'
17      argument when he said that revenue sharing won't counter what
18      capacity coordination allows, again trying to set this up as
19      if the capacity coordination is the foundation of the
20      plaintiffs' argument justifying a merger simulation but that,
21      Your Honor, is just flat not true.
22                 The primary basis that Dr. Miller argues for
23      treating the NEA like a merger in applying a merger
24      simulation is revenue sharing.
25                 The quotation on your screen right now is actually
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 90 of 275
                                                                         90




 1      a section heading from Section 4.1 of Dr. Miller's report, in
 2      which he states, "An agreement to share revenue or profit
 3      creates similar incentives to exercise market power as a full
 4      horizontal merger." That was the foundation of it.
 5                 There was a secondary consideration in his report,
 6      a supporting argument, with a very distinct role about
 7      capacity coordination and what he calls "side payments." And
 8      what he was -- and he had a predicament, and the predicament
 9      was that the revenue-sharing formula in the MGIA is nothing
10      like what the parties would do in a merger. It creates
11      unilateral incentives for growth.
12                 And so he came up with a second-level are argument
13      that the parties would use capacity coordination and side
14      payments to negate the features of their own revenue sharing.
15      It's a pretty convoluted argument, but that's how it was.
16                 And, again, all this is happening is because
17      Dr. Miller can't deal with the MGIA revenue sharing on its
18      own terms; and therefore, in his report, he literally changes
19      them in this footnote we mentioned in the Daubert motion,
20      where he says, "I'm going to assume that as a mechanical
21      matter," that means outwardly, "the parties are going to
22      behave" -- are going to act -- they're going to jointly set
23      capacity and then share revenues the way the contract says;
24      but I'm going to assume that they behave as though they had a
25      different arrangement, an arrangement based upon sharing
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 91 of 275
                                                                         91




 1      profits according to a static formula, which means fixed
 2      proportion, profit sharing." That, he argues, is close
 3      enough to a merger to do a merger simulation. It's this Rube
 4      Goldberg kind of logic train, but it is based on first saying
 5      that revenue sharing is the foundation and then ignoring what
 6      we're actually doing about revenue sharing.
 7                 Well, we will argue that the actual NEA terms are
 8      the best evidence of how the parties will behave. Economists
 9      should be the first to agree with that. Economists believe
10      in what are called "revealed preferences," that your actions
11      actually speak to which your incentives are; and if you
12      choose these contract terms, that must mean you think that
13      they're the best way to run your collaboration. And I think
14      it's very clear that what's really going on here is that they
15      just don't have any way of dealing with the NEA terms.
16                 The other point I want to make about this, which
17      was also previewed in the Daubert motion, is how wildly
18      unrealistic the results of this so-called merger simulation
19      are. Your Honor will learn that there's a lot of literature.
20      Economists have spent a lot of time assessing through what
21      are called retrospective studies, the effects of prior
22      airline mergers. And, in fact, you're going to hear from
23      four economists in this case who made significant
24      contributions to that literature.
25                 And the interesting thing is there's a fair degree
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 92 of 275
                                                                         92




 1      of consensus about the actual effects of prior airline
 2      mergers. And none other than Dr. Town, their expert,
 3      summarized that in his reply report with this quote here in
 4      which he is saying that the -- that, "The literature
 5      generally finds low single-digit impact of the mergers on
 6      price one way or the other." And then he goes on to say,
 7      "For example, Le finds a combined overall average increase of
 8      price of about 3 percent."
 9                 Now, there's a bit of spin going on there. What
10      the literature actually shows is that there's a bigger
11      problem on connect routes than they are on nonstop overlap
12      routes, and that's where you could get like this 3 percent
13      effect. Generally, the literature shows that on the heavily
14      trafficked, nonstop overlap routes, the kind the government
15      is using to say that consumers are going to be harmed, prior
16      airline mergers have reduced fairs modestly. They've
17      actually reduced fares modestly.
18                 So a merger simulation, if it's really simulating a
19      merger, should get similar results to that. But what does
20      Dr. Miller get? These are his overall price changes that he
21      predicts on the Boston endpoint routes: 54 percent,
22      90 percent, 44 percent, and so forth, 30 times the high end
23      of the average of the literature in one case. But,
24      typically, ten or 15, or 20 times what the literature shows.
25      And then, of course, infinitely higher than what the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 93 of 275
                                                                         93




 1      literature shows about the effects on heavily trafficked
 2      nonstop routes.
 3                 So the merger simulation, we shouldn't be doing it
 4      in the first place because there's no merger. But those
 5      results do not make plaintiffs' case. They impeach
 6      plaintiffs' case.
 7                 Now, Dr. Carlton will come along, and he will -- he
 8      will address this. He'll make a number of points about how
 9      Dr. Miller has ignored benefits and some of these -- the
10      literature. But the key thing about -- in Dr. Carlton's
11      analysis is he's actually analyzed the post-implementation
12      data. And using the same techniques that he has used in
13      published studies, he will show that there is no evidence of
14      any adverse fare effects from the NEA.
15                 So I'm going to move on now to the case that
16      plaintiffs have to say that revenue sharing and capacity
17      coordination meet that required characteristic of being
18      inherently anticompetitive, which is necessary to the
19      inference of adverse effects through an indirect method.
20                 And I want to begin by just kind of stepping back
21      for a moment and say the parties did not just invent the NEA
22      out of whole cloth. There is a history of airline alliances
23      in the industry. You're going to hear the plaintiffs try to
24      make use of that history in a moment when Mr. Hayes
25      testified, because he's been a critic of these alliances.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 94 of 275
                                                                         94




 1                  But regardless of that, there -- the DOT, under its
 2      powers to grant antitrust immunity, regularly looks at
 3      structures that airlines have adopted in international
 4      alliances as part of its public benefit calculation.
 5                  And the typical immunized alliance is a combination
 6      of codesharing, joint scheduling, revenue sharing, and
 7      coordinated pricing. In those immunized alliances, they
 8      actually do get to set prices, which is why Mr. Hayes thinks
 9      that it's legalized price fixing.
10                  Okay. The idea for the NEA came about because one
11      of the witnesses you'll hear from, Mr. Vasu Raja, thought one
12      day, couldn't we address some of our network weaknesses with
13      the same mechanisms that we use in the international
14      alliances in which that has been so successful? And so the
15      answer -- what the answer turns out to be, what we think the
16      answer turns out to be, is you can, but you can't go as far
17      because you wouldn't be able to coordinate pricing, and you
18      have to realize that you'll be operating without antitrust
19      immunity.
20                  And so that's what the NEA is. It is the
21      codesharing, the joint scheduling, and it's the revenue
22      sharing, but it's independent pricing, and we fully assume
23      the ongoing risk -- which does not end with Your Honor's
24      decision -- that if the NEA turns out to be anticompetitive,
25      we could pay treble damages or the government could sue us.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 95 of 275
                                                                         95




 1                 And that is no minor risk. If you look at the
 2      history of virtually every other rule of reason type of case
 3      that the government has brought in history, it's been
 4      accompanied by huge, private litigation, you know, class
 5      actions that were filed for damages. So we have to be
 6      extremely sensitive to that.
 7                 But we decided that we would do codesharing, joint
 8      scheduling, and revenue sharing. And the reason that we did
 9      revenue sharing is because of this concept of metal
10      neutrality that the DOJ and the plaintiffs belittle. And
11      it's interesting, because we didn't invent this term. This
12      is a term that the Department of Transportation has used in
13      its antitrust immunity cases to describe the incentive system
14      that needs to be in place to have a successful alliance that
15      focuses on creating the consumer benefits as opposed to
16      having internecine warfare between the collaborators of who
17      is going to get most of the benefits and bear the least of
18      the costs.
19                 And in this quote here, which is representative of
20      any number we could have pulled from DOT decisions, it's
21      talking about metal neutrality. It's called metal neutral,
22      because the idea is that you want the passenger to fly your
23      alliance, but you -- there is a degree of indifference or
24      neutrality as to whose air crafts, whose metal, they fly on.
25                 And the DOT has said over and over again that the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 96 of 275
                                                                         96




 1      revenue sharing promotes enough of this metal neutrality to
 2      make for a stable partnership.
 3                 Now, I heard Mr. Jones say that they're going to
 4      put on some deposition testimony from Andrew Nocella of
 5      United and I look forward to that. Because an interesting
 6      thing happened at Mr. Nocella's deposition. He was very
 7      dismissive of the NEA. He said I don't think I have to worry
 8      about the NEA.
 9                 And then when we probed further, it turns out that
10      Mr. Nocella did not understand that there was revenue sharing
11      in the NEA. And what he testified, at some length, was that
12      he doesn't think that a domestic alliance can succeed unless
13      there's revenue sharing because the partners will splinter it
14      and it will fall apart. That was his point and he's
15      operating under the mistaken belief that the NEA didn't have
16      revenue sharing and was dismissive of it on that the ground.
17                 So it is a standard mechanism and we are using it
18      and it's a modified version of something that American
19      Airlines has used in the past. And it has three features
20      that you'll hear a lot about that I'm just going to highlight
21      very quickly. One, the parties are sharing just the upside,
22      the incremental growth, not -- there was a statement made
23      that sounds like we share everything. We don't. We share
24      the upside.
25                 That your share -- your share of that is based upon
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 97 of 275
                                                                         97




 1      your contribution to capacity growth. And there's a built-in
 2      capacity expansion incentive. So it's a very unique and
 3      procompetitive thing. It's not just normal -- it's not the
 4      profit sharing with fixed proportions that Dr. Miller is
 5      trying to pretend it is.
 6                 Now, with capacity coordination, the plaintiffs are
 7      just not owning up to what it is and what it's not. Okay?
 8      It's a product of a feature of the agreement. Section 3.1 of
 9      the agreement says that in order to minimize connecting
10      passenger waiting time and to maximize passenger convenience
11      and service, the parties are going to engage in joint
12      scheduling. It also says that they're otherwise going to
13      make their own capacity decisions. It's all in the
14      agreement, what it is and what it isn't.
15                 And there can't be any doubt that the joint
16      scheduling part of this is manifestly procompetitive. Let me
17      give you a couple of examples. This is an American Airlines
18      document that was based upon the study of Project Garland,
19      what became the NEA. And what you see on your screen here,
20      on the left is a set of rows with different cities by their
21      airport code, Orlando, San Francisco, Las Vegas, and so
22      forth.
23                 And what it was observing here was that if you just
24      combined the American and JetBlue networks through
25      codesharing without doing joint scheduling work, there would
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 98 of 275
                                                                         98




 1      be some winners, but some losers, in the sense that in some
 2      cities, like Orlando, you would, by happenstance, have decent
 3      connections to America's transatlantic flights.
 4                  But in other cities like Las Vegas, they would be
 5      out of luck, because the JetBlue flights don't arrive at the
 6      right times to connect, at least reasonably, to American
 7      airlines flights. But if you actually plan a joint schedule,
 8      you can fix that.
 9                  And I'm going to show you a demonstrative that we
10      will use with Vasu Raja. This is based upon one of the
11      brand-new NEA flights which is from New York to Tel-Aviv. So
12      this is an American Airlines service, so if you don't have
13      anything, any relationship, no codesharing or anything, then
14      you don't get any connectivity other than on American
15      Airlines.
16                  Now, in the next step here, we'll assume that we're
17      just going to have a codesharing relationship with JetBlue.
18      The good news for some, it works for you if you're in
19      Seattle, San Francisco, Los Angeles, a few of these cities,
20      but it doesn't work for you if you are in a lot of other
21      places. By retiming the flights the way that network
22      planners do, this is the first thing that happens. You get
23      twice as many JetBlue connections. Now, the connectivity is
24      much richer than it was before because you've moved the
25      flights into the right windows in order to have reasonable
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 99 of 275
                                                                         99




 1      connections.
 2                 And then when you overlay the American service on
 3      that, you get the NEA in full bloom, where somebody flying
 4      from Tel-Aviv to New York can make all of those different
 5      connections on American and JetBlue airplanes, enormous
 6      consumer value to that.
 7                 And by the way, as you will hear Mr. Raja -- that's
 8      what makes that flight from JFK to Tel-Aviv possible in the
 9      first place, because it is the aggregate connectivity that
10      makes that flight something that is profitable to fly.
11                 Another quick example -- this is schedules. This
12      is New York City to Raleigh-Durham, pre-NEA schedules,
13      American and JetBlue each have two flights a day. You can
14      see the Delta and United schedules they're competing
15      against -- much richer, much deeper, a lot more relevance to
16      the consumer.
17                 After the NEA, there is a -- there is a better
18      schedule on American and JetBlue, and there's are more
19      flights on JetBlue. Because through this optimization
20      process, they were able to create a richer product, which is
21      now the most competitive offering in the market.
22                 Okay. So finally, I just want to -- again,
23      Mr. Schwed covered this, and we'll cover it with Dr. Town.
24      This capacity discipline argument, I call it the road to
25      nowhere. Because as interesting as it is, they -- they never
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 100 of 275
                                                                          100




 1      connected to the NEA.
 2                  What they did in their opening statement -- I don't
 3      know how bad it's got to be before you go here -- they showed
 4      you a slide that was an e-mail exchange between Robert Isom
 5      and Vasu Raja that talked about making it a much smaller
 6      airline and moving fast to turn to reduce capacity, if you
 7      remember that. If you don't know anything more than that,
 8      that probably sounds pretty bad.
 9                  The date of that slide is March 28, 2020. Do you
10      remember what we were all doing on March 28, 2020? This is
11      when COVID slammed us. This is when everything changed in
12      the world. And airlines, whether they're in the NEA or not,
13      all drew down their capacity massively because they lost
14      90 percent of their demand. That's the kind of evidence
15      they're going to give you to say that the NEA is problematic.
16                  And then again, this JetBlue effect, a reasonable
17      person would think this is the most important issue in this
18      case. Honestly, if the JetBlue effect were to be lost or
19      compromised, that would be serious. Nobody is going to tell
20      you otherwise. But we come here with zero evidence of any
21      change or effect on the JetBlue effect. Nothing. And this
22      is their day to do it, because Robin Hayes is here. If they
23      don't do it by the end of court today, they never will.
24                  The JetBlue effect is not a subtle thing. The
25      studies of this talk about it as a 15 to 20 percent effect on
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 101 of 275
                                                                          101




 1      fares based upon entry and exit; not mergers or
 2      collaborations, but entry or exit. It would be impossible to
 3      miss this if it happened. It would leap off the data. And
 4      yet they come here with absolutely nothing in the box of
 5      evidence that relates to any loss of the NEA effect.
 6                  So we will come back to you at the end of their
 7      case and ask you to enter judgment as a matter of law on the
 8      absence of effects, because none of these theories are
 9      supported by evidence.
10                  Now, quickly, I want to talk about -- we will
11      establish the consumer benefits. I don't think this is going
12      to be hard. There's so many -- qualitatively, we have the
13      more flights, the better experiences, and the stimulation of
14      competition that you have seen in the documents from the
15      other airlines.
16                  But a couple of data points -- Mr. Schwed mentioned
17      that in antitrust, output is king. If the collaboration
18      expands -- this is practically the holding of the
19      American Express case in the Supreme Court. If a
20      collaboration expands output, it's procompetitive. It can't
21      be anticompetitive.
22                  And yet we see here in this chart that, as we climb
23      out of the hole that we're all in because of COVID, American
24      and JetBlue that were losing, a long-term circular trend of
25      losing market share in the Northeast has been reversed, and
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 102 of 275
                                                                          102




 1      they are now putting back capacity and faster than a cohort
 2      of all of their other Northeast competitors combined.
 3                  This is another representation of it. For years,
 4      American and JetBlue, if you added them up, would have had
 5      around 18 to 19 percent of Northeast capacity. Now, they
 6      have 26.7 percent in 2021. It's probably higher now, or at
 7      least it's close to that I'm sure.
 8                  Dr. Israel will quantify this. Many years ago in
 9      the context of mergers, the DOJ invented a way of quantifying
10      the consumer benefit from an enhanced network offering, and
11      it basically says how much more growth are you getting
12      because of that enhanced network offering. And if you can
13      identify that growth, you can then -- there's a mental
14      exercise of what kind of price decrease would it have taken
15      to stimulate that much new demand. If you think about, it
16      sort of makes sense.
17                  When Dr. Israel does it, he gets -- over three
18      different methods -- over half a billion in annual consumer
19      benefits. So it's not minor. It is enormous.
20                  My last section is definitely my briefest. On less
21      restrictive alternatives, the burden is clear it's on them.
22      They have to show that there's something that's substantially
23      less restrictive, feasible, and would achieve the same
24      procompetitive benefits. They can't argue that we should
25      only get 50 percent of the competitive benefits and take
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 103 of 275
                                                                          103




 1      less. That is an illegitimate argument under the Alston
 2      decision.
 3                  Well, they don't try to do this, not in any way
 4      that we can recognize as being responsive to the legal
 5      standard. Their expert on this is Dr. Town. He hasn't
 6      identified any particular set of alternatives and calculated
 7      the likely benefits from them. He hasn't identified how the
 8      qualitative benefits from the schedule coordination that I
 9      showed you could be replicated without that schedule
10      coordination. He hasn't done anything with respect to how we
11      can have a stable partnership without revenue sharing. They
12      just didn't even address the fundamental parts of their
13      burden of proof.
14                  The reality is that the main thing they want to
15      talk about is codesharing, but the evidence will show that
16      the parties looked at codesharing. They thought about
17      codesharing. And the reason they didn't adopt codesharing is
18      because it doesn't improve the network. It's -- you have to
19      optimize the network. You have to create that seamless
20      experience that Mr. Schwed talked about to get the consumer
21      benefits, and codesharing doesn't do it. Codesharing --
22      domestic codesharing relationships have all fallen apart in
23      this country. That's why we took the antitrust risk of
24      adopting these structures of revenue sharing and joint
25      scheduling from the international world to bring these
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 104 of 275
                                                                          104




 1      benefits to the United States.
 2                  Lastly, the suggestion that balancing can somehow
 3      save plaintiffs' case, they don't balance either. None of
 4      their experts present a balancing exercise or net
 5      calculations of harm versus benefits. So that's just
 6      rhetoric.
 7                  So we're confident, Your Honor. We're happy to be
 8      here. We're confident that the evidence is going to show
 9      that the NEA is hardly anticompetitive, is one of the most
10      procompetitive alliances that has ever come along, making
11      stronger competitors as the expert for the state of
12      Massachusetts recognized two doors down last week, unlocking
13      growth, media tangible benefit to consumers, full absence of
14      evidence of adverse effects.
15                  Thank you, Your Honor.
16                  THE COURT: Thank you, Mr. Wall.
17                  Ready for your first witness, Mr. Jones?
18                  MR. DAVIS: The defendant calls Robin Hayes,
19      Your Honor.
20                  THE COURT: You are?
21                  MR. DAVIS: I'm John Davis, Your Honor, for the
22      antitrust division. I'll be examining Mr. Hayes.
23                  MS. RIGGS: Your Honor, if I may briefly, before
24      Mr. Davis begins, we also have deposition designations
25      prepared, excerpts from witnesses that will not be appearing
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 105 of 275
                                                                          105




 1      live; and we would like, under the pretrial order,
 2      paragraph 35, to move those into evidence. There are some
 3      pending objections to specific designations. We've flagged
 4      those in the binders we've prepared.
 5                  THE COURT: All right. I'll take those subject to
 6      my resolution of the pending objections.
 7                  Are you -- do you want to identify them or -- some
 8      way or hand them up?
 9                  MS. RIGGS: They are in boxes. If we may bring
10      them up during the break, I think that would be easier.
11                  MR. WALL: Just a point of clarification, are they
12      going to be used during the witness or later on?
13                  MS. RIGGS: No.
14                  MR. WALL: Okay. That's fine. Thank you.
15                  THE COURT: Why don't we bring them up, then, when
16      we break at 1:00.
17                  MS. MALTAS: And, Your Honor, defendants will be
18      filing a motion to temporarily impound the highly
19      confidential portions of the depositions to be followed by a
20      motion to seal.
21                  THE COURT: All right. Just so you're all clear if
22      there's a request to impound something I'm going to treat it
23      as impounded until I resolve whether it will be impounded or
24      not. So if one party moves to impound something, rather than
25      filing multiple like impoundment motions, if you -- just
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 106 of 275
                                                                          106




 1      those things that you just described that you just referred
 2      to, you haven't identified, those will be impounded and then
 3      I'll resolve whether they should be sealed or not, and you
 4      can file the motion to seal and explain why they should be if
 5      there's a disagreement or what have you.
 6                  MS. MALTAS: Thank you, Your Honor.
 7                  THE COURT: We'll automatically treat them that way
 8      until we resolve it.
 9                  MS. MALTAS: Wonderful. And I believe we've marked
10      them highly confidential, as well.
11                  THE COURT: Mr. Hayes?
12                  THE WITNESS: Thank you.
13                  THE COURT: If you come forward and remain standing
14      for Ms. Belmont to administer the oath.
15                  (Witness duly sworn.)
16                  THE DEPUTY CLERK: Thank you.
17                  THE COURT: Please have a seat.
18                  THE WITNESS: Thank you.
19                  THE COURT: State your name for the record and you
20      can go ahead, Mr. Davis.
21                  THE WITNESS: Robin Hayes.
22                  MR. DAVIS: Your Honor, I would ask Mr. Hayes, who
23      is the CEO of JetBlue, to be treated as an adverse witness
24      for purposes of Rule 611 in this examination.
25                  THE COURT: Yes. That request is allowed.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 107 of 275
                                                                          107




 1                  MR. DAVIS: Thank you.
 2                                    ROBIN HAYES
 3                 having been duly sworn, testified as follows:
 4                  DIRECT EXAMINATION BY COUNSEL FOR PLAINTIFFS
 5      BY MR. DAVIS:
 6      Q.    Mr. Hayes, how are you employed?
 7      A.    I'm employed as the chief executive of JetBlue.
 8      Q.    And how long have you worked for JetBlue?
 9      A.    I've worked for JetBlue since August of 2018.
10      Q.    What positions have you held and over what periods,
11      please?
12      A.    From August 2008 through to December 2013, I was the
13      executive vice president and chief commercial officer; from
14      January 2014 to February 2015, I was the president of
15      JetBlue; and I've been the CEO of JetBlue since
16      February 2015.
17      Q.    And did you work previously in the airline industry?
18      A.    I did. I worked for another airline called British
19      Airways.
20      Q.    And how long in total have you worked in the airline
21      industry?
22      A.    I celebrated my 33 anniversary on Sunday.
23      Q.    When was JetBlue founded, Mr. Hayes?
24      A.    JetBlue was founded back in 1998, by David Newman.
25      Q.    And is JetBlue headquartered in New York?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 108 of 275
                                                                          108




 1      A.    Yes, we are.
 2      Q.    The airline industry today has a big four; is that right?
 3      A.    In the US, yes.
 4      Q.    And that's three legacy airlines: American, Delta, and
 5      United, correct?
 6      A.    The three legacy airlines and then Southwest.
 7      Q.    And Southwest is the fourth, right?
 8      A.    Yes.
 9      Q.    And would you agree that the approximate domestic market
10      share of those big four airlines is 80 percent?
11      A.    Yes.
12      Q.    And is today JetBlue our sixth largest domestic airline?
13      A.    We are.
14      Q.    And you have an outsized presence in the Northeast; is
15      that fair?
16      A.    The Northeast is our largest base of operations.
17      Q.    For instance, JetBlue is either number one or number two
18      at JFK in New York City, right?
19      A.    In JFK, yes.
20      Q.    And JetBlue is also number one or number two at Boston,
21      correct?
22      A.    Yes.
23      Q.    So JetBlue, in just two decades, grew to become the sixth
24      largest airline in the United States, right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 109 of 275
                                                                          109




 1      Q.    And JetBlue is called an LCC in the jargon, right?
 2      A.    Yes. LCC stands for low cost carrier.
 3      Q.    All right. And is an LCC different from a ULCC?
 4      A.    A ULCC is used to describe the term "ultra low cost
 5      carrier." How I view the difference between the two, both
 6      are committed to offering lower fares, but the LCCs like
 7      JetBlue, also invest in more service attributes, as well.
 8      Q.    And the ULCCs are more no frills?
 9      A.    Yes.
10      Q.    All right. And what are examples of ULCCs today in the
11      United States?
12      A.    Spirit, Frontier, Allegiant, Avelo, Breeze, Sun Country.
13      Q.    All right. Does JetBlue have a unique place in the US
14      airline industry, in your view?
15      A.    Yes.
16      Q.    What makes it unique?
17      A.    Multiple of, really, offering customers, not just lower
18      fares, but also great service as well. We fundamentally
19      believe that someone shouldn't have to choose between a low
20      fare a great service.
21      Q.    Do you also have a distinctive front of the cabin premium
22      product?
23      A.    We do on about 30 -- about 38, 40 of our airplanes of the
24      total fleet, about 284. So, yes, in about 15 percent of our
25      aircraft, we do have that.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 110 of 275
                                                                          110




 1      Q.    And that's called Mint?
 2      A.    It's called Mint, yes.
 3      Q.    And what is Mint?
 4      A.    Mint is our premium cabin, so it offers customers a more
 5      traditional what you describe as a first class experience.
 6      Q.    All right. And has Mint been quite popular?
 7      A.    Yes, Mint has been very popular.
 8      Q.    And has gathered quite a following?
 9      A.    I believe it has, yes.
10      Q.    All right. And so is Mint part of what makes JetBlue
11      distinctive?
12      A.    It's one of many things that I believe make JetBlue
13      distinctive.
14      Q.    All right. Your familiar with the term "JetBlue effect,"
15      correct?
16      A.    I am.
17      Q.    What is the JetBlue effect?
18      A.    Well, the JetBlue effect was coined by the MIT, actually,
19      right here in Boston back in the -- I think it was the 2012
20      or 2013 timeline. And it really described the effect of when
21      JetBlue started flying on a specific market, the impact we
22      have in lowering fares, not just on JetBlue, but also because
23      all of our competitors would match those fares, as well.
24                    And so whilst JetBlue may only represent about
25      5 percent of the market, the customer benefit of the JetBlue
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 111 of 275
                                                                          111




 1      effect was, in fact, much broader than that.
 2      Q.    So JetBlue, the JetBlue effect is JetBlue enters a market
 3      at a lower fare and other airlines have to match it; is that
 4      fair?
 5      A.    That's -- yes. The JetBlue effect was a study where MIT
 6      looked at the impact on the whole of the airline industry.
 7      Q.    And the JetBlue effect is also that when JetBlue exits a
 8      market, fares invariably go back up; is that right?
 9      A.    Yes, we've seen that, too.
10      Q.    All right. Now, JetBlue announced the Northeast Alliance
11      in July of 2020, right?
12      A.    Yes.
13      Q.    And before that NEA, as we'll call it, JetBlue had never
14      merged with another airline, right?
15      A.    Well, we still haven't merged with another airline.
16      Q.    All right. And it had not entered into a joint venture
17      with another domestic airline, correct?
18      A.    Yes, that is correct.
19      Q.    And the NEA, as agreed upon with American Airlines,
20      covers four airports, right?
21      A.    Yes.
22      Q.    And that's Boston Logan, right here, and LaGuardia, JFK,
23      and Newark, correct?
24      A.    Yes.
25      Q.    And JetBlue has been operating at those airports for most
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 112 of 275
                                                                          112




 1      of its history, right?
 2      A.    Yes.
 3      Q.    You started at JFK in 2000, right, at the beginning,
 4      right?
 5      A.    February 2000, yes.
 6      Q.    And Boston in approximately '04?
 7      A.    Yes.
 8      Q.    LaGuardia in 2004?
 9      A.    I don't specifically recall the year of service we
10      started in LaGuardia.
11      Q.    Okay.
12      A.    That was before I joined JetBlue, but I have no reason to
13      dispute what you're saying.
14      Q.    And Newark in 2005? Is that about right?
15      A.    It sounds about right.
16      Q.    All right. And, again, before the NEA, some 60 percent
17      of JetBlue's flights originated from those four airports,
18      correct?
19      A.    We -- that was before the NEA. That's -- 153 -- 100 --
20      yeah, that's about right.
21      Q.    All right. So let's talk about Boston Logan Airport.
22      Boston Logan Airport is a JetBlue success story. Would you
23      agree?
24      A.    It's something that we've invested in heavily over the
25      years and are very proud of the success that we've made here.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 113 of 275
                                                                          113




 1      Q.    Meaning Boston Logan is a place where JetBlue grew from
 2      nothing to a leading position among all the other airlines,
 3      right?
 4      A.    Yes, certainly true up to 2019.
 5      Q.    And you've talked about the JetBlue effect, that happened
 6      right here in Boston?
 7      A.    Yes.
 8      Q.    And JetBlue managed to bring lower fares to all kinds of
 9      air passengers in Boston, correct?
10      A.    Yes.
11      Q.    All right. Let's look at the first exhibit for today,
12      which is Plaintiffs' Exhibit 536 in evidence, Your Honor? If
13      I can --
14                   MR. SCHWED: We had agreed that there would be hard
15      copies provided to all the witnesses in a binder and, of
16      course, to counsel.
17                   MR. JONES: May we approach, Your Honor?
18                   THE COURT: You may. Go ahead.
19                   Do you have it?
20                   THE WITNESS: I do.
21                   THE COURT: And you have it, too, right?
22                   MR. SCHWED: Yes, Your Honor. We've got two
23      binders. One looks like it's deposition transcripts and the
24      other is exhibits.
25                   Is that what was --
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 114 of 275
                                                                          114




 1                  THE COURT: All right.
 2                  MR. WALL: If maybe there's another set I could
 3      have? Thank you.
 4                  THE COURT: Just -- I have one binder, but it seems
 5      like it has two parts. Is that right?
 6                  MR. JONES: Apologies, Your Honor.
 7                  THE COURT: I have two binders. But if you have
 8      another set, that would be great. Sorry. If you don't --
 9                  MR. JONES: We do, Your Honor.
10                  THE COURT: Okay.
11                  MR. DAVIS: So may I proceed, Your Honor?
12                  THE COURT: Yes.
13      BY MR. DAVIS:
14      Q.    And Mr. Hayes, you have your binder, if you need it?
15      A.    I have two binders, yes.
16      Q.    Very good. So first exhibit is Plaintiffs'
17      Exhibit 536 --
18                  MR. DAVIS: Which is in evidence, Your Honor.
19                  THE COURT: All right.
20                  MR. DAVIS: May we publish it, Your Honor, so
21      Mr. Hayes can see --
22                  THE COURT: Yes. You can go ahead and publish all
23      the exhibits in evidence unless there's an issue about
24      confidentiality that hasn't been addressed.
25                  MR. DAVIS: And I'll raise that if there is.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 115 of 275
                                                                          115




 1      BY MR. DAVIS:
 2      Q.    All right. So 536 is now in front of you. Do you see
 3      that, Mr. Hayes?
 4      A.    I do, yes.
 5      Q.    And that's an e-mail dated May 1, 2019, about a
 6      presentation for new employees at an orientation; is that
 7      right?
 8      A.    Yes.
 9      Q.    And that -- the e-mail relates to an orientation deck for
10      the new JetBlue employees, that year in 2019?
11      A.    Yes.
12      Q.    And this is now the year before the NEA is announced,
13      2019, correct?
14      A.    Yes.
15      Q.    And as CEO, do you regularly present at JetBlue's new
16      employee orientation on JetBlue history and culture?
17      A.    Not as much as I'd like to, but yes.
18      Q.    All right. So let's turn to the page ending in 353,
19      along with the attachment and the speaker notes. Do you see
20      both of those in front of you on the screen, Mr. Hayes?
21      A.    I do.
22      Q.    And, Mr. Hayes, feel free to use your binder, but I'll
23      only ask you about a document if you have it in front of you
24      on the screen. Okay?
25      A.    Okay.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 116 of 275
                                                                          116




 1      Q.    All right. Now, JetBlue focuses new employees on how
 2      it's brought lower fares to Boston, right?
 3      A.    We -- we focus our -- if I use the word "crew members,"
 4      like I -- it does mean employees. It's something we're all
 5      trained to do, but, yes, we actually teach JetBlue crew
 6      members about how we lower fares really across the board,
 7      including Boston.
 8      Q.    All right. And on this particular slide, you focus on
 9      the JetBlue effect and LaGuardia and Boston is the first
10      example, right?
11      A.    Yes.
12      Q.    And then you have got your speaker notes accompanying the
13      slide on the right side, right?
14      A.    Yes.
15      Q.    And you see that you write about Boston to LaGuardia
16      there in the middle of the slide, Boston to LaGuardia? Do
17      you see that?
18      A.    Yes.
19      Q.    And you -- and your notes say, "Boston to LaGuardia has
20      long been one of the most lucrative airline routes. It's a
21      short flight filled with business travelers whose companies
22      are willing to pay the high prices legacy airlines charge.
23      After many years of wanting to fly this route, we launched it
24      in October 2016. The day before our first flight, the legacy
25      airlines were charging $434 each way for a walkup ticket.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 117 of 275
                                                                          117




 1      The next day, with JetBlue in the market, we had dropped
 2      fares to just $129."
 3                   Did I read that correctly, Mr. Hayes?
 4      A.    Yes.
 5      Q.    So JetBlue entered Boston in October 2016 and had an
 6      immediate impact, right?
 7      A.    Yes.
 8      Q.    Literally an overnight impact, right?
 9      A.    Overnight.
10      Q.    And walkup tickets dropped about 70 percent roughly on
11      day one that you offered service, right?
12      A.    Yes.
13      Q.    And the slide over there on the left, it shows that, over
14      the three-year period -- well, one-year period here -- it led
15      to a 51 percent fare reduction for consumers flying from
16      Boston to LaGuardia, right?
17      A.    Yes. We used October '15 as the reference month from the
18      year before.
19      Q.    All right.
20      A.    And then October '16 was the month that we launched.
21      Q.    So fares reduced 51 percent in that one-year period?
22      A.    50 -- yes. Once we launched, fares came down 51 percent
23      compared to the year before.
24      Q.    All right. And one of the airlines you competed with on
25      that route then was American Airlines, correct?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 118 of 275
                                                                          118




 1      A.    Yes.
 2      Q.    And American Airlines was one of the competitors that
 3      dropped its rates on the Boston to LaGuardia route in
 4      response to JetBlue's lower fares, right?
 5      A.    Yes. Something -- we used average fare data, so I don't
 6      specifically know what any of the competitors on that market
 7      did, but, yes, they were a significant player in that market.
 8                   I do want to add, though, one of the challenges
 9      that we had at the time was that, because of our lack of
10      slots in LaGuardia, we were only able to launch -- I think it
11      was six flights a day. So whilst fares came down and we had
12      a broad stimulation effect on the market, it wasn't a very
13      competitive offering for our Boston or New York corporate
14      customers.
15      Q.    We'll talk about slots in a bit. Let me ask you, though,
16      on this slide, you also highlighted other examples of the
17      JetBlue effect, correct?
18      A.    Yes.
19      Q.    When JetBlue started flying from Boston to Buffalo, that
20      lowered fares by 50 percent, correct?
21      A.    Yes.
22      Q.    And traffic, as you say, soared nearly 200 percent,
23      meaning three times as many people flying, right?
24      A.    Yes.
25      Q.    And when JetBlue entered, that Boston to Buffalo route
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 119 of 275
                                                                          119




 1      was served by US Airways, correct?
 2      A.    I don't specifically recall who served it at that time,
 3      but it could well have been.
 4      Q.    Okay. And when you entered Boston to Washington Reagan
 5      National, that lowered fares by 30 percent, right?
 6      A.    Yes.
 7      Q.    And traffic shot up nearly 100 percent, right?
 8      A.    Yes.
 9      Q.    And before your entry, Delta and US Airways were already
10      serving Boston to DC, correct?
11      A.    Yes.
12      Q.    So lower prices that you implemented on flights out of
13      Boston Logan have saved customers flying from this city, by
14      your calculation, over $3 billion, correct?
15      A.    I -- I would say that JetBlue has saved customers
16      billions of dollars across the country, including in Boston
17      since we were created.
18      Q.    And now more than 3 billion in Boston alone, right?
19      A.    Where are you getting that number from?
20      Q.    Are you not sure? That's all right. I'll move on if
21      you're not familiar.
22      A.    Yes.
23      Q.    The lower prices resulted in many more people flying on
24      those routes, right?
25      A.    Yes. The JetBlue stimulation effect is about lowering
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 120 of 275
                                                                          120




 1      fares and increasing the size of the market.
 2      Q.    And, in fact, competition that JetBlue provided in Boston
 3      was so successful that, by 2011, JetBlue was flying more
 4      departures out of Boston than any other airline, right?
 5      A.    I can't remember specifically the year that we operated
 6      the most direct flights, but you know, it was some point
 7      around that period.
 8      Q.    All right. So just -- it took just a few years for
 9      JetBlue to become the largest airline out of Boston Logan,
10      right?
11      A.    Well, and I think the important context is that after the
12      financial crisis of 2008/2009, you know, a lot of airlines
13      reduced capacity, and that created an opportunity for JetBlue
14      to grow Boston.
15      Q.    All right. And you seized that opportunity, and as of
16      2019, you were still number one in Boston, right?
17      A.    Yes, in 2019, for the most direct markets.
18      Q.    So the competition that you brought to this place led you
19      from a zero percent frequency share in 2003 to a 29 percent
20      frequency share approximately in 2019, that year before the
21      NEA was signed, right?
22      A.    Yes. Although, again, I think it's important for
23      context, in terms of that 29 percent, that is still a lot
24      lower than many large airlines have in some of the largest
25      hubs, so once we were the largest airline, it was nowhere
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 121 of 275
                                                                          121




 1      near as large as you would get in really many -- dozens and
 2      dozens of other markets in the US.
 3      Q.    And Boston continues to be important to JetBlue. In this
 4      month alone, JetBlue is still flying more airplanes out at
 5      Boston Logan than any other airline; is that right?
 6      A.    I'm not -- I'm not quite sure. There's been -- Delta had
 7      been growing Boston very significantly. We reduced capacity
 8      here earlier in the year. I would say that it's fairly close
 9      at the moment.
10      Q.    You reduced capacity in Boston, right?
11      A.    We've reduced capacity across a number of JetBlue
12      markets --
13      Q.    All right.
14      A.    -- earlier this year.
15      Q.    So let's go to a different exhibit, also in evidence,
16      showing you now on your screen PX-574, which is dated
17      September of 2019, that same year.
18                   And do you see this e-mail chain where the top
19      e-mail from Alan Proud to you, again, dated September 18,
20      2019?
21      A.    Yes.
22      Q.    And Mr. Proud is forwarding a briefing document for you
23      to speak at The Beat Live, right?
24      A.    Yes.
25      Q.    And The Beat is a business travel newsletter?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 122 of 275
                                                                          122




 1      A.    Yes. It was a conference.
 2      Q.    And this has talking points for your interview, correct?
 3      A.    Yes.
 4      Q.    All right. So let's turn to page 9, ending in 349. The
 5      first bullet there under Boston, do you see that, Mr. Hayes?
 6      A.    Yes.
 7      Q.    The talking point says, "We've built a network in Boston
 8      based on carrying the customers where they want to go. We
 9      are focused on local customers in Boston where we see a very
10      clear first choice preference for JetBlue."
11                   Correct?
12      A.    Yes.
13      Q.    The second bullet say, "We continue to invest in
14      meaningful ways to strengthen our Boston franchise."
15                   Correct?
16      A.    Yes.
17      Q.    And what follows below that on the page are examples of
18      investments JetBlue has made at Boston, right?
19      A.    Are you referring to that list of --
20      Q.    Yes. You see it -- we continue to invest in meaningful
21      ways and then you list a number of attributes?
22      A.    Okay. Attributes. Yes. Yes.
23      Q.    Very good. And on the -- let's go to the page ending in
24      358 on the same document. Are they examples, more examples
25      of the JetBlue effect?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 123 of 275
                                                                          123




 1      A.    Yes.
 2      Q.    All right. And those are all Boston routes, correct?
 3      A.    Yes, Boston-Atlanta, Boston-Newark, and Boston-LaGuardia.
 4      Q.    All right. And the Boston to Newark entry shows after
 5      JetBlue entered the Boston to Newark market, which was
 6      previously a monopoly market, JetBlue increased traffic
 7      158 percent while fares dropped 54 percent. Do you see that?
 8      A.    Yes.
 9      Q.    So a monopoly market there refers to a market with only
10      one competitor, in that case, United; is that right?
11      A.    Yes.
12      Q.    Mr. Hayes, are you also familiar with the term "Boston
13      200"?
14      A.    I am.
15      Q.    And what is that?
16      A.    So Boston 200 was an aspirational goal that we set
17      internally, pre-COVID, to build Boston up to 200 flights a
18      day. I think it's also important to note that one of the
19      unique aspects of our network in Boston is it is more
20      dependent on business travel than elsewhere in our network.
21      And so we had a plan to continue to grow that out and give
22      both our leisure and our corporate customers more choice.
23      Q.    All right. So that Boston 200 initiative was announced
24      before 2019, correct?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 124 of 275
                                                                          124




 1      Q.    But it was very much a live project as of the end of
 2      2019, correct?
 3      A.    Yes, until, you know, as I said earlier, because Boston
 4      was so dependent on business travel. As we went into COVID
 5      and we saw the devastating impact COVID had on our industry,
 6      but still on the corporate travel side, it's something that
 7      was very, very present back in 2019. But I -- as I think
 8      everyone is aware, corporate business travel has still far
 9      from recovered.
10      Q.    In December 2019, did JetBlue's board of directors
11      approve additional investors in Boston Logan?
12      A.    The investments would normally be a matter for the
13      leadership team.
14      Q.    All right. So you're not sure? Is that what you're
15      saying?
16      A.    I'm not sure what investments you're referring to.
17      Q.    Okay. And all of JetBlue's success at Boston Logan that
18      we've been talking about here happened without the NEA,
19      correct?
20      A.    Yes.
21      Q.    All right. So let's talk about the airline industry more
22      generally. The three legacy airlines and Southwest, you've
23      already said, collectively control 80 percent of the domestic
24      market today, right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 125 of 275
                                                                          125




 1      Q.    And with those four airlines controlling 80 percent,
 2      would you agree this is a consolidated industry?
 3      A.    Yes. I've been making public comments on this for
 4      several years.
 5      Q.    And would you characterize JetBlue as a disrupter in this
 6      consolidated industry?
 7      A.    I have done that, yes.
 8      Q.    All right. So let's go back to Plaintiffs' Exhibit 536,
 9      and page 359, the page ending in page 359.
10                   And do you see the top line? I'm sorry, Mr. Hayes.
11      It should be on your screen.
12      A.    It is. I'm just -- call me old school, but I always
13      prefer a copy paper, as well.
14      Q.    Very good.
15      A.    Okay. Thank you for your patience.
16      Q.    The top line says, "Our industry has never been more
17      concentrated than it is today." That was your note on that
18      point, right?
19      A.    Yes.
20      Q.    And you agree with that as of 2019, that's true?
21      A.    Yes.
22      Q.    And in the middle of the paragraph, starting at "all that
23      power," it says, "All that power in the hands of a very
24      few" -- or sorry -- "of a few very deep-pocketed airlines has
25      implications for consumers in the form of reduced options,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 126 of 275
                                                                          126




 1      high fares, and often poor service. JetBlue serves as an
 2      important counterbalance."
 3                   Correct?
 4      A.    Yes.
 5      Q.    You're commenting on the market share there of Delta,
 6      United, American, and Southwest, right?
 7      A.    Yes.
 8      Q.    And you're saying that all that power refers to the high
 9      market share of those legacy airlines and Southwest, right?
10      A.    Yes.
11      Q.    And that all that power leads to what you say here,
12      reduced options, high fares, poor service, right?
13      A.    Yes.
14      Q.    And reduced options, that means fewer airlines competing,
15      right?
16      A.    Yes. I mean, it was my view at the time that when legacy
17      airlines compete with each other, they don't really compete.
18      It needs the JetBlue -- a more disruptive airline to bring
19      real competition.
20      Q.    Legacy airlines don't really compete with each other?
21      A.    Yes. That model is really to focus more on the corporate
22      customer, focus on more higher fares and maintaining capacity
23      levels. Our business model is very different.
24      Q.    And the distressing situation you're talking about here,
25      this is because there's been so much consolidation in the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 127 of 275
                                                                          127




 1      industry, right?
 2      A.    Yes.
 3      Q.    And JetBlue is a counterbalance to all that power, right?
 4      A.    Yes.
 5      Q.    So part of the power that consolidated deep-pocketed
 6      legacies have now is the power to target smaller airlines
 7      using predatory pricing. Would you agree with that?
 8      A.    Well, they have a number of ways to target the smaller
 9      airlines.
10      Q.    Well, I just want to ask you now about that one,
11      predatory pricing. Is that one you've written about?
12      A.    Yes.
13      Q.    All right. So I will show you Plaintiffs' Exhibit 496.
14      This is an e-mail from you to Joanna Geraghty, dated
15      January 29, 2020. And I'll wait for you to get there,
16      Mr. Hayes.
17      A.    496?
18      Q.    It is 496, correct, in evidence.
19      A.    Exhibit 496?
20      Q.    Yes. I'm sorry Plaintiffs' Exhibit -- when I say PX,
21      it's Exhibit 496.
22      A.    Okay. I have it.
23      Q.    And this is about a revenue goal write-up? Is that
24      right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 128 of 275
                                                                          128




 1      Q.    And Mr. Hayes, this is something you're writing kind of
 2      in January about the prior year, kind of as an analysis? Is
 3      that fair?
 4      A.    Yes. That's part of our annual end-of-year process.
 5      Q.    And this is, again, before the NEA and shortly before
 6      COVID, of course, right?
 7      A.    Yes.
 8      Q.    And so you write -- do you see the line on the left side
 9      lower down, it -- in the bottom part of the first paragraph,
10      we also saw, do you see that, significant competitive growth?
11      Do you see that sentence that you wrote?
12      A.    Oh, yes. "We also saw" -- yes.
13      Q.    So what you wrote then is, "We also saw significant
14      competitive growth from Spirit in the region challenging some
15      of our traditional strength in the visiting friends and
16      relatives market," right?
17      A.    Yes.
18      Q.    And the region you're writing about here is Latin America
19      international flights for JetBlue, correct?
20      A.    Yes.
21      Q.    And then you write in the next sentence, "The real issue
22      is that the legacy airlines react to this by lowering the
23      fares to well below cost and spreading it to other markets to
24      drive the ultra low cost carriers out."
25                   Is that right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 129 of 275
                                                                          129




 1      A.    Yes.
 2      Q.    So the legacies react to Spirit's growth here with below
 3      cost fares?
 4      A.    That's what I write.
 5      Q.    And all in an effort to drive out ULCCs like Spirit,
 6      right?
 7      A.    Well, JetBlue has also seen a number of attempts over the
 8      years, as well.
 9      Q.    As a low cost carrier, right?
10      A.    Yes.
11      Q.    And a little below that, you wrote you see some investors
12      are questioning -- you wrote, "Some investors are questioning
13      whether we can compete in some of these markets if they
14      continue to attract this sort of predatory pricing by legacy
15      airlines," right?
16      A.    Yes.
17      Q.    And on the next page, the last paragraph of this
18      discussion, you write to Joanna Geraghty, we need to rethink
19      a few things in light of the ever increasing tendency of the
20      legacy airlines to invest considerable margin to suppress the
21      success of the smaller airlines," correct?
22      A.    Yes.
23      Q.    And you add, "If American rediscovers its mojo, then this
24      will be become even more problematic," right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 130 of 275
                                                                          130




 1      Q.    And the consolidated legacies we're talking about can
 2      afford to fly well below cost for a time because they have so
 3      much scale, right?
 4      A.    Yes. The benefits of scale are vast.
 5      Q.    And such deep pockets, right?
 6      A.    Yes.
 7      Q.    Now, a lot of this industry consolidation we talked about
 8      has happened during JetBlue's existence, right?
 9      A.    Yes.
10      Q.    JetBlue has been able to succeed in the face of and
11      despite that consolidation. You agree?
12      A.    Yes, although I think we have to reflect that for a
13      significant part of our history, the legacy airlines were
14      going through a lot of bankruptcy, reorganizations. Their
15      fleets were old. They were sort of having -- they were
16      restructuring.
17                   I think what's been harder for JetBlue,
18      significantly harder over the last few years, even before
19      COVID, was as these legacy airlines consolidated and became
20      more profitable, it got a lot more challenging.
21                   And that was really what was behind my concern here
22      in Boston. Delta had clearly turned its attention to Boston,
23      to JetBlue. There was also a line in that document as well.
24      And that was making it extremely hard for us to continue to
25      prosper.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 131 of 275
                                                                          131




 1      Q.     The legacy airlines were restructuring, as you say, but
 2      they're also merging, right?
 3      A.     Yes.
 4      Q.     And one thing you did during that period was to grow
 5      capacity faster than the legacy airlines did, right?
 6      A.     Yes.
 7      Q.     What does capacity refer to in airline language?
 8      A.     So the measure that we normally use is what's called an
 9      ASM and what an ASM is is available seat miles. So think of
10      one seat flying one mile. That's an available seat mile. So
11      that is the capacity measure that we tend to use.
12      Q.     So we'll talk in this trial about ASMs, correct?
13      A.     Yes.
14      Q.     All right. And so I'm showing you next PX-841, also in
15      evidence, which is 2014 Investor Day slides. And these go
16      back a ways there from November of 2014. Do you see that,
17      Mr. Hayes?
18      A.     Yes.
19      Q.     I'm going to let you get there and then -- you have it
20      now?
21      A.     Yes.
22      Q.     Very good. And slides and talking points for JetBlue's
23      Investor Day were for you as you were preparing to step up
24      into the role of CEO at JetBlue, right?
25      A.     That's right. It was a few months before.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 132 of 275
                                                                          132




 1      Q.    Okay. Please turn to page 12 ending in 183 at the
 2      bottom. This slide is titled "Delivering Improved Revenue
 3      Results." Do you see that?
 4      A.    Yes.
 5      Q.    And there's a chart titled "A4A PRASM and Capacity, 2008
 6      to 2013," right?
 7      A.    Yes.
 8      Q.    And A4A is an industry trade group in the airline
 9      industry?
10      A.    Yes. It stands for Airlines for America.
11      Q.    And do you serve on the board?
12      A.    I do.
13      Q.    And this chart shows capacity CAGR and PRASM CAGR, right?
14      A.    Yes.
15      Q.    And CAGR is compound annual growth rate, so that's a rate
16      of growth, correct?
17      A.    Yes.
18      Q.    And PRASM is passenger revenue per available seat mile;
19      is that right?
20      A.    Yes.
21      Q.    And you could also call that unit revenues, right?
22      A.    Yes.
23      Q.    All right. So if you look at the left side of the chart
24      which is about the rest of the airline industry, not JetBlue,
25      the darker bar graph is showing that the industry had
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 133 of 275
                                                                          133




 1      negative capacity growth from '08 to '13, right?
 2      A.    Yes.
 3      Q.    Negative 0.8 percent, right?
 4      A.    Yes.
 5      Q.    So that means the industry was flying fewer planes with
 6      fewer passengers over that five-year period, right?
 7      A.    Yes.
 8      Q.    And during this same time period, on the right side of
 9      the chart, there in dark blue, JetBlue grew capacity at 5. --
10      5.7 percent per year, right?
11      A.    Yes.
12      Q.    So, basically, the chart shows JetBlue increasing
13      domestic and Latin capacity while the legacies are decreasing
14      capacity at the same time, right?
15      A.    Yes. Again, I think the context of the time is very
16      important. The first 2, 2½ years of that was the financial
17      crisis which clearly had a profound effect on more the
18      business travel side. And so that was very material to these
19      growth rates as well.
20      Q.    All right. You were adding flights and passengers,
21      though, while your industry competitors were shedding them,
22      right?
23      A.    Yes, because we focused on the leisure customer, and so
24      we're a lot less dependent on the corporate travel, which was
25      most impacted at that time.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 134 of 275
                                                                          134




 1      Q.    Okay. So if you go back to the left side of the chart,
 2      the lighter blue bar shows that, during that period where the
 3      rest of the industry had negative capacity growth, their unit
 4      revenues increased by 3 percent for the rest of the industry,
 5      right?
 6      A.    Yes.
 7      Q.    So the industry earned higher unit revenues at the same
 8      time they were reducing capacity, right?
 9      A.    Yes.
10      Q.    And in this industry, is there any surprise about that
11      relationship?
12      A.    No. I would say that's normally true.
13      Q.    All right. And so explain that. What do you mean?
14      A.    Well, if you are -- if you have less seats in the market,
15      there's less supply, then the supply may not be enough to
16      carry all of the demand, which will mean higher load factors
17      on airplanes, in other words -- so a load factor is a
18      percentage of seats on an aircraft that have been sold.
19                   And so that is going to help your unit revenue
20      performance. And we have seen that this summer with all the
21      pull-downs in the industry. Low factors have really been at
22      record levels.
23      Q.    When capacity is kept under control, fares go up, right?
24      A.    Well, fares -- fares can go up. Also load factors can go
25      up. PRASM is a measure not just of the fare, PRASM is a
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 135 of 275
                                                                          135




 1      measure of the fare and also the total number of people
 2      flying.
 3                   So it can be the fares go up. It could also be
 4      that the load factors have gone from 70 percent to
 5      90 percent, and so you have 20 percent more people on the
 6      airplane, and that's what driving your higher PRASM.
 7      Q.    Fair enough. Now, on the right side of this chart,
 8      JetBlue had unit revenue growth of 4.3 percent, right?
 9      A.    Yes.
10      Q.    And that outperformed the industry, right?
11      A.    Yes.
12      Q.    All right. So, in other words, controlling supply tends
13      to lead to higher revenues, right?
14      A.    It can do.
15      Q.    And conversely, as the airlines industry adds marginal
16      capacity, it drives down fares; is that right?
17      A.    It can do.
18      Q.    All right. And in the face of capacity control by legacy
19      airlines, JetBlue has vowed to add capacity to keep fares
20      competitive. Is that fair?
21      A.    Yes. That's been our business model over the years,
22      growing, you know, stimulating new demand by lowering fares,
23      increasing the size of the market, and then growing to carry
24      that traffic.
25      Q.    And that model for capacity growth is very different than
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 136 of 275
                                                                          136




 1      a legacy airline's, right?
 2      A.    Historically, that's been the case, yes.
 3      Q.    And JetBlue has a history of attempting to grow capacity
 4      faster than GDP, right?
 5      A.    Yes, we do.
 6      Q.    And is that growing capacity faster than a legacy part of
 7      what makes JetBlue a distinctive disrupter airline?
 8      A.    Yes.
 9      Q.    All right. Let's go back to PX 574 to page 16 ending in
10      356. Do you see it?
11      A.    Yes, I have it. Thank you.
12      Q.    And this still notes for The Beat Live interview that you
13      did in September 2019, right?
14      A.    Yes.
15      Q.    And that first bullet at the top says, "Smaller carriers
16      like JetBlue play a critical role in keeping the commercial
17      aviation industry competitive and keeping the immense power
18      of the legacy airlines in check," right?
19      A.    Yes.
20      Q.    So the smaller carriers are JetBlue and some other
21      low-cost airlines, and they play a critical role in checking
22      the immense power of the legacies, right?
23      A.    Yes.
24      Q.    And further on, 356, that same page, you see where your
25      writing -- or the notes say, "Take Kennedy airport as an
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 137 of 275
                                                                          137




 1      example."
 2                   "Take Kennedy Airport as an example. Since JetBlue
 3      entered the market, overall JFK passenger traffic has nearly
 4      doubled from 31.7 million annual travelers in '99 to
 5      62 million in 2018. That happened because of us," correct?
 6      A.    Yes.
 7      Q.    So prior to the NEA, JetBlue's entry at JFK had doubled
 8      passenger traffic at that airport, right?
 9      A.    Yes.
10      Q.    And then you write in the next bullet, "Back then, JFK
11      had fewer departures than Reagan National in Washington, and
12      it was a ghost town for much of the day. Today JFK is slot
13      controlled and rather full. JetBlue was the impetus for that
14      growth," correct?
15      A.    Yes.
16      Q.    And what do you mean that JFK was slot controlled?
17      A.    A slot is really a permission slip to arrive and take
18      off. Some people count an arrival and a departure slot as
19      two. When I use the word "slot," I really mean one, a slot
20      pair, arrival and takeoff. And when JetBlue was created, it
21      was awarded some slots by the DOT and FAA so it could
22      establish a base of operations at JFK.
23      Q.    And they were at JFK, correct?
24      A.    Yes.
25      Q.    And today, which airports in the United States are slot
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 138 of 275
                                                                          138




 1      controlled?
 2      A.    Well, the large ones that are slot controlled are JFK,
 3      LaGuardia, and DCA.
 4      Q.    And JFK was not slot controlled way back in 2000, right?
 5      A.    That's right. It was slot controlled some years later.
 6      Q.    So JFK grew so much that it became one of the very few
 7      slot controlled airports in the country, right?
 8      A.    Well, yes, the history of JFK was as largely an
 9      international airport. And what JetBlue created at JFK was a
10      new domestic-based, low-cost carrier.
11      Q.    And that growth at JFK is the result of competition that
12      JetBlue brought, right?
13      A.    Yes. As JetBlue grew, JFK grew.
14      Q.    All right. And looking further down under the subheading
15      "industry consolidation," do you see that?
16      A.    Yes.
17      Q.    And you write, "However, the industry consolidation that
18      followed has placed incredible market power and slots and
19      gates and infrastructure at key airports in the hands of
20      three deep-pocketed legacy airlines," right?
21      A.    Yes.
22      Q.    And, again, those airlines are American, Delta, United,
23      right?
24      A.    Yes.
25      Q.    And this is saying consolidation by those legacies has
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 139 of 275
                                                                          139




 1      given them incredible market power, right?
 2      A.    Yes.
 3      Q.    You talked about slots again. A slot has considerable
 4      value at a crowded airport. Do you agree?
 5      A.    Yes.
 6      Q.    And a single slot pair at a slot-controlled airport can
 7      be worth millions of dollars, right?
 8      A.    Yes. I mean, in the US, they're not traded like that, in
 9      other international markets, where they can be, yes.
10      Q.    All right. And --
11                   THE COURT: You can't trade slots here?
12                   THE WITNESS: You can trade them, but you don't
13      sell.
14                   THE COURT: You can't sell. So you can't auction
15      them off to whomever --
16                   THE WITNESS: There have been auction procedures
17      that have been run by the DOT FAA as part of a regulatory
18      process.
19                   THE COURT: But not you?
20                   THE WITNESS: But yes because it's only for a
21      couple of seasons, and so it's not necessarily an indefinite
22      right.
23                   THE COURT: Can you sell it for the period that you
24      have it?
25                   THE WITNESS: You can lease them.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 140 of 275
                                                                          140




 1                   THE COURT: At the market rate?
 2                   THE WITNESS: Yeah.
 3                   THE COURT: Okay. Go ahead.
 4      BY MR. DAVIS:
 5      Q.    You can lease slots, correct?
 6      A.    Yes.
 7      Q.    All right. And one of the things that the legacies do is
 8      sit on slots, correct?
 9      A.    Yes.
10      Q.    Meaning the legacies hang onto their slots even when
11      they're not fully using them, right?
12      A.    Yes.
13      Q.    And they sit on slots because they don't want other
14      airlines to be able to come in and use them; is that fair?
15      A.    Yes.
16      Q.    And as of the beginning of 2020, JetBlue knew that
17      American was sitting on slots in the Northeast, right?
18      A.    Yes. There was a unique circumstance in 2019 as well
19      where, because of the max grounding, American had been
20      granted a slot waiver by the FAA, meaning they did not have
21      to use all of their slots at JFK.
22      Q.    All right. At the bottom of that same page, 356, you see
23      highlighted "Particularly in markets where LCCs do not
24      compete, consumers generally pay higher fares per mile and
25      have fewer choices. The presence of smaller competitive
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 141 of 275
                                                                          141




 1      carriers like JetBlue helps push fares down across the
 2      board," right?
 3      A.    Yes.
 4      Q.    And so you're saying that in markets without LCC
 5      competition, consumers pay higher fares, right?
 6      A.    Yes. That's my --
 7      Q.    And that's also true of markets without ULCC competition,
 8      right? When you say "LCC," you're referring to both in that
 9      line?
10      A.    Well, something I believe that's different between
11      JetBlue and ULCCs is that when JetBlue flies a market,
12      competitors react more broadly than when a ULCC flies the
13      market, because JetBlue is flying a broader set of customers
14      than ULCCs.
15      Q.    More business class than say --
16      A.    Not just business class, more -- you know, more of
17      different types of leisure customers and smaller, medium size
18      customers, corporate customers. And we see a broad-based
19      fare matching, whereas with ultra low cost carriers, I don't
20      always see that.
21      Q.    But certainly the presence of an ultra low cost carrier
22      in a market also helps push fares down, you agree with that,
23      don't you?
24      A.    It can do, because that ULCC is present with low fares.
25      Q.    Okay. And looking at the second bullet on the next page,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 142 of 275
                                                                          142




 1      which is 357, you see that "We believe the mega carriers are
 2      large enough, we don't think it's in the interest of
 3      consumers or airline workers to allow the giants to get even
 4      bigger and more powerful," right?
 5      A.    Yes. I suspect airline workers is a typo, but you have a
 6      point.
 7      Q.    So in September of 2019, you're saying that allowing the
 8      mega carriers to get even bigger is not in the interest of
 9      consumers, right?
10      A.    Yes.
11      Q.    And the growth of smaller airlines is in the interest of
12      consumers, correct?
13      A.    Absolutely.
14      Q.    All right. Let's go to page 358, the next page at the
15      top. The presence of JetBlue or LCCs in the market -- sorry?
16                   THE COURT: Go ahead. I think that was someone
17      who --
18      BY MR. DAVIS:
19      Q.    You see the top bullet, Mr. Hayes?
20      A.    Yes.
21      Q.    "The presence of JetBlue or LCCs in a market helps
22      discipline fares in an airport while growing traffic," right?
23      A.    Yes.
24      Q.    And the next bullet on 358 reads, "Absent the entry of a
25      low fare competitor like JetBlue in a market, our legacy
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 143 of 275
                                                                          143




 1      competitors have routinely provided subpar product/services
 2      at extremely high fares," correct?
 3      A.    Yes.
 4      Q.    Can you give an example of a subpar product or service in
 5      that context?
 6      A.    Well, I think Mint is a very good example. You referred
 7      to it earlier, but when we started flying between JFK and LAX
 8      with our new Mint first-class product, I believe it elevated
 9      the customer experience by offering them a full flat-fare
10      experience at a much lower fare than they were paying before.
11      Q.    And before that, the legacies were offering an inferior
12      product, right?
13      A.    In my view, yes.
14      Q.    All right. So let's look at Plaintiffs' Exhibit 459,
15      which is a transcript again from fall of 2019, Taking Flight
16      with the Washington Post," I believe.
17                   MR. DAVIS: This is in evidence, Your Honor.
18                   THE WITNESS: 459?
19                   MR. DAVIS: Yes. Plaintiffs' 459.
20                   THE WITNESS: I have it.
21      BY MR. DAVIS:
22      Q.    And this is a transcript from an interview you gave to
23      the Washington Post, correct?
24      A.    Yes.
25      Q.    All right. And going to the second page, ending in 208,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 144 of 275
                                                                          144




 1      a third of the way down, you see, "But look, there's been a
 2      lot of consolidation in the US, and we really don't have a
 3      competitive industry," right?
 4      A.    Yes.
 5      Q.    And the same page, further down, you write -- it starts
 6      with, "So there are many." Let me just find that.
 7                   Do you see that, Mr. Hayes?
 8      A.    Yes.
 9      Q.    So there are -- you wrote or said, "So, there are many,
10      many, many examples were legacy airlines don't really compete
11      with each other. When they fly on the same route, they love
12      the high fares and it requires airlines like JetBlue to come
13      in and keep fares low and keep aviation more accessible,"
14      right?
15      A.    Yes.
16      Q.    That's what you told the Washington Post that day,
17      correct?
18      A.    Yes.
19      Q.    Why are there so many examples of where legacy airlines
20      don't really compete with each other? What does that mean?
21      A.    Well, I mean, it's simply -- you have four large airlines
22      with 80 percent. On most markets, they will be competing
23      with each other. They may or may not even be one of the
24      smaller airlines flying it. And then it all tends to be
25      different in terms of they will focus on making money by
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 145 of 275
                                                                          145




 1      limiting capacity growth and also in higher fares.
 2      Q.    And their model is different, as you say, because --
 3      because neither one lowers fares significantly to compete
 4      with the other? Is that what you're saying?
 5      A.    That is my belief.
 6      Q.    That -- actually, legacy airlines, you could have two or
 7      three of them flying a route, and they're not competing on
 8      fares, right?
 9      A.    Yes. My view is it's not how many airlines are flying a
10      route, it's who is flying that route that determines if it's
11      competitive.
12      Q.    You need smaller airlines that are actually flying at low
13      fares, right?
14      A.    You need a bigger JetBlue.
15      Q.    And you need -- you need airlines with low cost, right,
16      to do that?
17      A.    You need lower costs.
18      Q.    Because you can't do that without low costs. Do you
19      agree?
20      A.    It's a combination of low cost and a stimulative business
21      model of trying to grow markets.
22      Q.    All right. And a little further down on the same page,
23      you see, "Look, if it happened in any other industry"? You
24      said, "Look, if it happened in any other industry, they'd
25      march you off to the penitentiary," right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 146 of 275
                                                                          146




 1      A.    Yes.
 2      Q.    And what you're talking about there is the international
 3      joint ventures that the legacies are part of; is that right?
 4      A.    That is correct.
 5      Q.    All right. So let's go to that -- let's go now to
 6      international joint ventures. You're familiar with the
 7      so-called international JVs; is that right?
 8      A.    Yes.
 9      Q.    And each of the three legacies, American, Delta, United,
10      has its own international JV with other foreign carriers,
11      right?
12      A.    Yes, multiple.
13      Q.    And in particular, American has an international JV with
14      British Airways, right, and other carriers?
15      A.    Yes.
16      Q.    And JetBlue and you have historically been vocal and
17      complaining about the international JVs as being
18      anticompetitive, right?
19      A.    Yes. My concern about the international JVs is that they
20      were given approval to enter into them without any safeguards
21      or any ability for other airlines like JetBlue to come in and
22      compete with them.
23      Q.    All right. And, for example, you've more than once used
24      the word "obscene" to characterize fares charged by legacy
25      JVs, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 147 of 275
                                                                          147




 1      A.     I have used that word, yes.
 2      Q.     And in respect to the US government, international JVs
 3      must apply for and be granted antitrust immunity, or ATI,
 4      right?
 5      A.     Yes.
 6      Q.     And that ATI protects them from antitrust lawsuits,
 7      right?
 8      A.     Yes.
 9      Q.     So they can't be marched off to the penitentiary, right?
10      A.     Not for that.
11      Q.     All right. Fair enough.
12                    And as you said, DOT is charged with awarding that
13      ATI?
14      A.     I'm sorry. Can you repeat that?
15      Q.     The Department of Transportation is the agency in charge
16      of that?
17      A.     Yes.
18      Q.     And all three of the legacy international JVs have
19      received ATI from DOT, right?
20      A.     Yes.
21      Q.     All right. So another exhibit is PX 569, which is a big
22      exhibit. I'll be asking you about the attachment that ends
23      in 552, Mr. Hayes?
24                    MR. DAVIS: This is in evidence, Your Honor.
25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 148 of 275
                                                                          148




 1      BY MR. DAVIS:
 2      Q.    Do you see that, Mr. Hayes?
 3      A.    552. I've got 50 --
 4      Q.    On the screen is the cover e-mail, as we say, right?
 5      A.    Yeah.
 6      Q.    And that's an e-mail from Jeffrey Goodell to you in July
 7      of 2019?
 8      A.    Yes.
 9      Q.    And he's sending you background material including
10      several speeches that you had delivered in connection with a
11      White House meeting, right?
12                    THE COURT: Take your time to --
13                    THE WITNESS: Yeah, it went blank, but I've got it
14      back now.
15                    Yes, that's right.
16      BY MR. DAVIS:
17      Q.    All right. And this -- the one that ends in 552, I'm
18      going to go to -- that's the fourth page. This is your
19      address to the Aviation Club of the UK in April of '19; is
20      that right?
21      A.    552 is, yes.
22      Q.    And that event is just after JetBlue announced it would
23      in the future enter service from the US to London, right?
24      You announced in 2019 --
25      A.    Yes. I was just trying to get the date straight in my
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 149 of 275
                                                                          149




 1      mind, yes.
 2      Q.    And at that point, JetBlue had not begun transatlantic
 3      service, right?
 4      A.    That's correct.
 5      Q.    And you had been aspiring to do that for some time, yes?
 6      A.    Yes.
 7      Q.    So turning to the page ending 555, in the first few
 8      paragraphs, here you're talking about how US flights to
 9      London have extremely high fares, correct?
10      A.    Yes.
11      Q.    And at the line that begins "70 percent," you say in this
12      address, "70 percent of the traffic between US and Europe is
13      flown today by airlines in joint ventures who have secured
14      immunity from antitrust laws," right?
15      A.    Yes.
16      Q.    And that those joint ventures are, again, the three
17      international JVs, right?
18      A.    Yes.
19      Q.    And then -- and then you say, "And as we know, what that
20      means is these airlines team up in partnerships to coordinate
21      schedules, coordinate prices, share revenue -- it's legalized
22      collusion, it's perfectly legal, they got permission to do
23      it -- what they really do is wipe out a competitor. They
24      gain strength and market share that often prevents new
25      competitors from even considering or stepping into market,"
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 150 of 275
                                                                          150




 1      right?
 2      A.    Yes.
 3      Q.    So you're referring to coordinating schedules,
 4      coordinating prices, and sharing revenue as legalized
 5      collusion in this context, right?
 6      A.    Yes.
 7      Q.    And what you say what they really do is wipe out a
 8      competitor, what you're saying is when they bring in an
 9      airline into their international JV, the effect of that is to
10      wipe a competitor right out of that market, right?
11      A.    Yes. So it's exactly as you say. If you have two
12      airlines that start working together, they become one. And
13      what my public comments on this have been on this over the
14      years, and they've been very consistent, is that I don't
15      oppose these joint ventures per se, but they have lacked
16      adequate safeguards that would allow competitors like JetBlue
17      to come in and provide that competing airline.
18      Q.    And these joint ventures can then work together to reduce
19      capacity, right?
20      A.    They -- they can reduce -- they can, if that's what they
21      choose to do.
22      Q.    And when they do, that tends to drive up fares, right?
23      A.    Yes, which is why these ventures should have
24      capacity-increase commitments in them, which --
25      Q.    All right. And so looking down to the next to last
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 151 of 275
                                                                          151




 1      paragraph, you say, "In the past, United and Lufthansa used
 2      to compete, but not anymore. Air France and KLM used to
 3      compete, but not anymore," correct?
 4      A.    Yes.
 5      Q.    And United and Lufthansa's JV, joint venture, involved
 6      revenue sharing, capacity coordination, and price
 7      coordination, right?
 8      A.    I'm not sure what the specific elements of each of these
 9      joint ventures are. They all look a little differently, but
10      they usually involve some form of pricing and scheduling
11      coordination and --
12      Q.    And Air France and KLM, the same, right?
13      A.    Yes, and then throw Delta into that.
14      Q.    And you said pricing and scheduling and also revenue
15      sharing, right?
16      A.    Can be a profit share, can be some form of revenue share.
17      I believe a lot of these have evolved to profit-sharing
18      models; but, again, I'm not familiar with the details.
19      Q.    And American Airlines and your former airline, British
20      Airways, is another example of one of those JVs, right?
21      A.    Yes.
22      Q.    And you continue on -- that's page 555 -- "And these
23      joint ventures." Do you see that?
24                   "And these joint ventures, I think, are becoming a
25      bigger and bigger issue around the world. They were formed
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 152 of 275
                                                                          152




 1      out of, some would argue, necessity at the time. The
 2      industry was in a lot less healthy shape, but a lot of that
 3      has changed. A lot of airlines are very profitable. They're
 4      making a lot of money. And these joint ventures have now
 5      become a way to just fuel those profits further," right?
 6      A.    I'm sorry; would you mind bringing that one up on the
 7      screen so I can read along?
 8      Q.    So it should be in front of you.
 9                   THE COURT: I have it in front of me. It should be
10      blown up in front of you or no? What he just read is blown
11      up.
12                   THE WITNESS: Okay. Yeah. Okay.
13                   Yes.
14      BY MR. DAVIS:
15      Q.    You agree with that?
16      A.    Yes.
17      Q.    All right. You're saying that joint ventures are a way
18      to fuel profits, right?
19      A.    If not done in the right way and without the adequate
20      competitive safeguards in place.
21      Q.    And if we keep reading, you continue that "When airlines
22      seek to form joint ventures, they make promises of the
23      benefits that are going to flow down to consumers," right?
24      A.    Which? I'm sorry. I lost it.
25      Q.    Sorry. The second full paragraph at the top of page 556.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 153 of 275
                                                                          153




 1      A.    Yes. So what I was getting at here and I think it's an
 2      important that when these joint ventures are presented, they
 3      make commitments of consumer benefits. And there are many
 4      consumer benefits to many of these joint ventures, but
 5      there's no review process by regulators to make sure these
 6      airlines are delivering these benefits. And so that
 7      regulatory supervision is extremely important, in my opinion.
 8      Q.    All right. And the next paragraph below that says,
 9      "Unfortunately, as you know, there's little to no public
10      reporting or public information on whether these promises
11      become reality. We've done a lot of work on this, and we see
12      that fare growth tends to outpace capacity growth in markets
13      where you have joint venture, compared to those where you
14      have nonjoint venture airlines flying where there is more
15      genuine competition."
16                   Did I read that correctly?
17      A.    Yes.
18      Q.    So you're saying that JetBlue has studied joint ventures,
19      right?
20      A.    Yes. What we did was -- the joint ventures that we
21      studied that were behind this comment were some of the
22      European joint ventures that you referred to earlier. And I
23      think, again, the context of this speech, obviously, was we
24      were trying to get a pathway into flying into Heathrow and,
25      you know, arguing there should have been more regulatory help
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 154 of 275
                                                                          154




 1      over the years to get new entrance into airports like
 2      Heathrow.
 3      Q.    So you're trying to get entry, but there's no question
 4      about these facts being true, correct?
 5      A.    The public -- well, so on the public -- on the reporting,
 6      DOT did argue back to us when we pressed them on this over
 7      the years that they, in fact, did review these joint
 8      ventures. But we never saw any public comment in response to
 9      that. We never saw any public records updated or public
10      feedback on their review.
11      Q.    But you had studied -- you, at JetBlue -- you had studied
12      joint ventures and found that fare growth outpaced capacity
13      growth, correct?
14      A.    In the European joint ventures that we studied, yes.
15      Q.    All right. And joint ventures, in your study, you're
16      saying, have led to higher fares compared to where there's
17      more genuine competition, right?
18      A.    Yes.
19      Q.    So genuine competition means something different than
20      competition between the legacies legally colluding, as you
21      say, with their partners; is that right?
22      A.    Yes, create an environment where other airlines can come
23      in and compete with these joint ventures.
24      Q.    All right. Let's look at a different speech in
25      Plaintiffs' Exhibit 569, which is your International Aviation
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 155 of 275
                                                                          155




 1      Club address in October of 2015. The Bates number there ends
 2      in 569.
 3                   So this speech goes back a little bit to October of
 4      2015. Do you see that, Mr. Hayes?
 5      A.    Yes.
 6      Q.    And please go to the joint ventures section, which is the
 7      page ending in 571, about halfway down the page. Underneath
 8      the bullets, there's a longer paragraph, beginning "What's
 9      clear."
10      A.    Yes.
11      Q.    Are you with me?
12      A.    I have it.
13      Q.    "So what's clear is that grants of antitrust immunity,
14      coupled with metal neutrality have created a perverse
15      incentive for the carriers to prop up flying by their
16      European partners." You said that, correct?
17      A.    Yes.
18      Q.    And what does "metal neutrality" mean?
19      A.    Metal neutrality is where the airlines who have created
20      this joint venture don't really have -- you know, it doesn't
21      really matter to them if you're flying on airline one or
22      airline two if they're both in the joint venture.
23      Q.    All right. They're indifferent as to which airline the
24      passenger chooses in that relationship, right?
25      A.    Yes. And there were some unique factors around some of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 156 of 275
                                                                          156




 1      the European joint ventures that make that more relevant.
 2      Q.    And you go on in that same paragraph, "If, for example,
 3      Lufthansa and Air France lose revenue on their flights due to
 4      competition from the Gulf carriers, their US legacy partners
 5      will suffer financial consequences under their metal-neutral
 6      JVs," right?
 7      A.    Yes.
 8      Q.    So in this example, the metal-neutral joint venture is
 9      incentivizing the legacy airline to try to stifle other
10      airlines from competing against its partners, right?
11      A.    I think the point -- I mean, it was a long time ago. I
12      believe the point I have trying to make there was that you
13      were starting to see in Europe some concerns about the Gulf
14      carriers, which you later saw here in the US as well. And
15      because a lot of these metal-neutral JVs are profit sharers,
16      if one carrier starts to lose money because of the impact
17      from the Gulf carriers, it will impact the other one.
18      Q.    All right. So it shows how, if a joint venture partner
19      losing revenue, it hurts the other partner financially as
20      well, right?
21      A.    Yes.
22                   MR. DAVIS: And, Your Honor --
23                   THE COURT: Unless -- did you have -- what did you
24      have?
25                   MR. DAVIS: I just wanted to say I just have a few
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 157 of 275
                                                                          157




 1      more questions on this section, and it might be a good -- I'm
 2      not sure when the Court --
 3                  THE COURT: I was thinking of taking the lunch
 4      break from 1:00 to 2:00. How much -- how little do you have
 5      left?
 6                  MR. DAVIS: I have just two-thirds of one page, so
 7      five minutes, if that.
 8                  THE COURT: And then you're done?
 9                  MR. DAVIS: Well, I'm not done.
10                  THE COURT: Done with this section?
11                  MR. DAVIS: Done with this section, correct.
12                  THE COURT: We'll do that.
13                  MR. DAVIS: So continue?
14                  THE COURT: Yes, just for that two-thirds of a
15      page.
16                  MR. DAVIS: Thank you.
17      BY MR. DAVIS:
18      Q.    Finally showing you Plaintiffs' Exhibit 631, which is an
19      October -- October of 2019 address to International Aviation
20      Club in Washington, DC, and that should just be one exhibit,
21      one speech on that one, Mr. Hayes.
22      A.    Got it.
23      Q.    You've got it? And you spoke extensively about
24      international JVs in that speech, too, right?
25      A.    Well, I'd need to -- I'm not doubting you. I would just
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 158 of 275
                                                                          158




 1      need to read it.
 2      Q.    I'm going to the page ending in 079, second full
 3      paragraph.
 4      A.    Okay. Yep.
 5      Q.    You're talking about international JVs there?
 6      A.    Yes.
 7      Q.    And, again, we're back to fall of 2019, the year before
 8      the NEA is signed, right?
 9      A.    Yes.
10      Q.    In that second full paragraph, you said in this speech,
11      "My prediction is that JVs will continue to try and convince
12      government that they need to keep growing for the consumers'
13      own good with arguments like 'My competition is getting
14      bigger, so I need to get bigger too.' That logic is a bit
15      perverse when it comes to immunity from laws designed to
16      protect competition," right? That's what you said?
17      A.    Yes.
18      Q.    So you predicted that the international JVs would argue
19      that they're getting bigger actually benefits the consumer
20      because the other international JVs are also getting bigger,
21      right?
22      A.    Yes. That was part of the issue.
23      Q.    And what do you mean when you say that logic is perverse
24      there?
25      A.    Well, again, it's what I was saying earlier. All of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 159 of 275
                                                                          159




 1      these joint ventures were being approved by regulators with
 2      very few safeguards. And I think it was a missed
 3      opportunity. For an airline like JetBlue, which is
 4      recognized, I think, by many to lower fares and improve
 5      service, if we'd been given or if other airlines had been
 6      given more regulatory relief as these things were being
 7      formed, we'd have a very viable and more competitive
 8      industry. That was not done.
 9      Q.    A little further down the same page, you state,
10      "Competition, in our view" -- do you see that paragraph? You
11      said --
12      A.    Yes.
13      Q.    -- "Competition, in our view, is not merely two or three
14      immunized joint ventures charging identical high fares --
15      which is exactly in many cases what the definition of
16      competition has become -- and maintaining how competitive
17      things are." That's what you said, right?
18      A.    Yes.
19      Q.    You're -- you continue that, "Competition, which
20      regulators are charged with protecting, means not excluding
21      different and new business models from the marketplace,"
22      right?
23      A.    As I just said, this was about, as you approve these
24      joint ventures, create an opportunity for other airlines like
25      JetBlue to offer competition. That was not done by
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 160 of 275
                                                                          160




 1      regulators.
 2                   MR. DAVIS: All right. Your Honor, I'll stop here.
 3                   THE COURT: All right. So we'll take a break for
 4      an hour. We'll return in five after 2:00.
 5                   (Court in recess at 1:06 p.m.)
 6                   (The following reported by Rachel Lopez.)
 7                   (Court reconvened at 2:05 p.m.)
 8                   THE DEPUTY CLERK: The United States District Court
 9      for the District of Massachusetts is now in session, the
10      Honorable Leo T. Sorokin presiding.
11                   THE COURT: Please be seated.
12                   Go ahead. Sorry.
13                   THE WITNESS: My first time. I wasn't quite sure,
14      Your Honor.
15                   THE COURT: No problem.
16                   Ready, Mr. Davis. You can proceed.
17                   MR. DAVIS: Thank you, Your Honor.
18                   Good afternoon, Mr. Hayes.
19                   THE WITNESS: Good afternoon.
20      BY MR. DAVIS:
21      Q.    Sir, you talked a little bit in discussing the
22      international JVs about the safeguards that were not in
23      place; is that right?
24      A.    Yes.
25      Q.    And you're basically saying regulators are not doing an
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 161 of 275
                                                                          161




 1      adequate job with the three international JVs that the
 2      legacies have; is that right?
 3      A.    Well, it's those JVs, but also other applications that
 4      have been made over the years, for example, Delta's joint
 5      venture application with Aeromexico.
 6      Q.    And international JVs are not just regulated by United
 7      States authorities, right?
 8      A.    That is correct.
 9      Q.    And there are international authorities that may have
10      jurisdiction and may do real regulatory work for
11      international JVs, correct?
12      A.    Yes.
13      Q.    What are the -- what are examples of safeguards that, in
14      your view, are not in place now that should be?
15      A.    Well, three of the conditions that JetBlue has suggested
16      over the years are, first of all, these joint ventures should
17      be of a finite term, so that they can be reviewed. When
18      airlines enter into joint ventures they make a number of
19      representations for consumer benefit, so by making it a fixed
20      term rather than open ended, then a regulator can go back and
21      review that to make sure that those benefits have been
22      delivered, oversight of the joint venture, so it's clear that
23      someone is actually looking at it.
24                   Secondly, the removal of exclusivity provisions in
25      these joint ventures that would preclude members from working
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 162 of 275
                                                                          162




 1      with other airlines. We've had a number of airlines over the
 2      years that would have liked to have done more with JetBlue,
 3      they just couldn't because they were part of these joint
 4      ventures and they were prohibited from doing so.
 5                   And thirdly, when these joint ventures are flying
 6      into congested airports, whether they be slotted or just busy
 7      airports where it's hard to get gates and slots, those slots
 8      are divested so that new entrants, whether that be JetBlue or
 9      anybody else, can benefit from the joint venture by providing
10      some additional competition.
11      Q.    Of course, when slots are divested in those situations,
12      it makes sense to divest them to independent airlines. Do
13      you agree with that?
14      A.    Independent of those in the joint venture?
15      Q.    Yes.
16      A.    Yes, I believe they should be divested to airlines that
17      can provide real competition.
18      Q.    All right. So let's move on to -- I want to talk about
19      the NEA itself, a little bit. Again, that agreement, the NEA
20      was announced between JetBlue and American in July of 2020,
21      right?
22      A.    Yes.
23      Q.    And when did talks on that alliance between the two
24      companies begin, approximately?
25      A.    We had -- I would say approximately the late part of the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 163 of 275
                                                                          163




 1      year before, but then accelerated into 2020, with the onset
 2      of COVID.
 3      Q.    All right. And then culminated in the announcement of
 4      the NEA on July 16th of 2020, right?
 5      A.    Yes.
 6      Q.    And who led the negotiations that culminated in the NEA
 7      for JetBlue?
 8      A.    Our lead negotiator on the JetBlue side was Scott
 9      Laurence.
10      Q.    And who for American?
11      A.    Vasu Raja.
12      Q.    Is it fair to say that the two companies worked quite
13      intensively on that alliance in the winter and spring of 2020
14      and on into the summer?
15      A.    I would say it started fairly slowly. Initially, we were
16      talking about a slot lease at JFK and then obviously with the
17      onset of COVID and certainly from a JetBlue perspective,
18      really being concerned about our survival, we accelerated
19      those in order to try to see if there was something that
20      would work for us.
21      Q.    But certainly by, say, April and May of 2020, it was a
22      big project at both airlines, correct?
23      A.    It was certainly a big project to JetBlue and I assume it
24      was a big project to American.
25      Q.    All right. And as we've discussed, the NEA includes four
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 164 of 275
                                                                          164




 1      airports and the flights in and out of those four airports,
 2      right?
 3      A.    Yes.
 4      Q.    And NEA also includes an agreement to coordinate capacity
 5      at those airports, right?
 6      A.    Yes. On markets. There are some carve out markets that
 7      some of the those airports are not in the NEA, but on the
 8      rest, it includes an element of schedule coordination.
 9      Q.    The NEA likewise includes a revenue sharing agreement,
10      correct?
11      A.    It has what's called an MGIA, which is a revenue sharing
12      agreement that incentivizes growth.
13      Q.    The MGIA is a revenue sharing agreement?
14      A.    Well, revenue sharing agreements mean different things to
15      different people. Sometimes they can look very differently.
16      The unique thing about this, the MGIA, was it was a revenue
17      sharing agreement that directly incentivized airlines to
18      grow.
19      Q.    All right. Did you previously state that the NEA does
20      not have a revenue share agreement?
21      A.    Well, there are -- the point I was trying to make was
22      that the MGIA is different to how I understand more
23      traditional revenue sharing agreements were in that it
24      directly attributed to as an incentive around growth.
25      Q.    Do you recall testifying in June of '22, just a few
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 165 of 275
                                                                          165




 1      months ago?
 2      A.    Yes.
 3      Q.    And you did say then that the NEA does not have a revenue
 4      share agreement, correct?
 5      A.    Well, the MGIA was part of the agreement, the point that
 6      I was trying to make was it was different to other revenue
 7      sharing agreements in that it incentivizes growth, and in my
 8      view, that's a fairly unique feature.
 9      Q.    So at that time, the agreement was so different that you
10      actually stated under oath that the NEA did not have a
11      revenue share agreement, correct?
12      A.    Well, I would have to check the context of the question,
13      but it is different -- revenue sharing means different things
14      to different people sometimes.
15      Q.    All right. So just turning to page 106 of your
16      litigation deposition. Do you see that, Mr. Hayes?
17      A.    106?
18      Q.    Yes, 106.
19      A.    Stand by.
20                   Yes, I have it.
21      Q.    And at line 17, do you see the question asked you, "Is it
22      true that you would not characterize the NEA as having a
23      revenue share agreement?
24      A.    Yes.
25      Q.    And your answer was, "Yes, it does not have a revenue
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 166 of 275
                                                                          166




 1      share agreement, right?
 2      A.    Yes, because it's a revenue share that's very focused on
 3      growth.
 4                  MR. DAVIS: Your Honor, I'd move to admit that
 5      question and answer pair as a party admission.
 6                  THE COURT: Any objection?
 7                  MR. SCHWED: No. No objection, Your Honor.
 8                  THE COURT: Admitted. So page 106, line 17 to 21.
 9                  MR. SCHWED: As a party, we should move into
10      evidence.
11                  THE COURT: Yes, I'm asking whether you object to
12      its admissibility, not whether you agree with his
13      interpretation.
14                  MR. SCHWED: Thank you, Your Honor.
15                  THE COURT: I'm assuming you don't agree with his
16      interpretation.
17                  MR. SCHWED: Correct, Your Honor.
18                  (Plaintiff Exhibit No. Page 106, line 17 to 21
19                  admitted into evidence.)
20      BY MR. DAVIS:
21      Q.    So Mr. Hayes, your view is that there is a kind of
22      revenue share agreement, but a different kind?
23      A.    Yeah. No, I mean, there are many of these agreements all
24      over the world, they look very different -- they look very
25      differently. What is different about this agreement, in my
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 167 of 275
                                                                          167




 1      opinion, is like unlike some other joint ventures where
 2      revenue gets allocated by other formulas, this revenue
 3      formula incentivizes airlines to grow. If you are an airline
 4      in this partnership that is growing more slowly than another
 5      one, which is one of my big concern about these JV airlines,
 6      they are not incentivized to grow, then you are at a
 7      disadvantage to the other airline in the partnership. I
 8      think that's unique, and we did it because, one, it helps
 9      JetBlue stay true to who we are, and two, in my belief, it's
10      very pro-consumer.
11      Q.    All right. So we'll talk about that a little in a bit,
12      but would you agree that the NEA has what's called an
13      agreement to share incremental revenues?
14      A.    Yes.
15      Q.    Incremental revenues are different from just regular
16      revenues, right?
17      A.    Yes. The way the agreement works is that the revenues of
18      both companies in 2019 were taking as a base, and then the
19      incremental revenue is factored in together with the growth
20      that each airline has made in that interim period.
21      Q.    And do you regard the NEA as a joint venture, like the
22      international joint ventures we've just discussed?
23      A.    No. Again, joint ventures mean different things to
24      different people. When I think about international joint
25      ventures, it has three elements. It has schedule
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 168 of 275
                                                                          168




 1      coordination, which is in the NEA, on the markets that are
 2      not carved out. It includes pricing coordination, which is
 3      absolutely not in the NEA. And to me, that is usually, I
 4      think, the most important part of one of the international
 5      joint ventures. And then we have an incremental revenue or a
 6      revenue model that incentivizes growth, and that's very
 7      different to the profit sharing model that exists in many of
 8      these international joint ventures. So I view it very
 9      differently, but other people may refer to it as a joint
10      venture.
11      Q.    Do you agree that the NEA was modeled after
12      American Airlines international joint ventures?
13      A.    I don't know. I'm not familiar with the detail of those
14      joint ventures. At the beginning of the NEA, they sent us a
15      deck that outlined some features of some of their other joint
16      ventures, but then our team negotiated something that was,
17      you know, right for JetBlue.
18      Q.    Is it your understanding that American Airlines
19      international joint venture is a profit share?
20      A.    I don't know. I'm not privy to how their joint ventures
21      work.
22      Q.    But you agree that the American Airlines international
23      joint ventures has a capacity coordinating feature that's
24      important, right?
25      A.    The international joint venture.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 169 of 275
                                                                          169




 1      Q.    Yes.
 2      A.    Yes.
 3      Q.    And also has a revenue sharing agreement that's
 4      important, correct?
 5      A.    Their international joint ventures.
 6      Q.    Yes.
 7      A.    Again, I'm not sure if it's a revenue share or a profit
 8      share or some other form.
 9      Q.    All right. But your view is that the revenue -- the
10      revenue share arrangement that's in the NEA is materially
11      different from the arrangement in the American Airlines
12      international joint venture; is that right?
13      A.    Again, I'm not privy to what is in the American joint
14      ventures.
15      Q.    You really don't know that arrangement, right?
16      A.    Yes, that would be something between the parties. And it
17      may have evolved over the years, as well. There was so many
18      of these joint ventures out there, it is very hard to keep on
19      top of them a bit.
20      Q.    But you are convinced that your NEA is materially
21      different from whatever American is doing; is that right?
22      A.    Well, again, I don't know precisely what
23      American Airlines are doing. What I do know is what the NEA
24      has, which is some capacity coordination. It has no pricing
25      coordination, and it is an incremental revenue sharing model
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 170 of 275
                                                                          170




 1      based on growth.
 2      Q.    All right. So let's look at plaintiff Exhibit 717, which
 3      is in evidence. The subject is "revenue sharing."
 4      A.    717?
 5      Q.    Yes. Just a two-page e-mail.
 6      A.    Yes.
 7      Q.    Do you have that, Mr. Hayes?
 8      A.    I do.
 9      Q.    And this is an e-mail chain, February 3rd and 4th of
10      2020?
11      A.    Yes.
12      Q.    And this is fairly early in the NEA negotiations we've
13      been talking about?
14      A.    Yes. Extremely early.
15      Q.    And you can see that the bottom e-mail, which would be
16      the start of it, is Vasu Raja and American having sent Scott
17      Laurence a deck that, quote, "gives an overview of how we do
18      revenue sharing." Do you see that?
19      A.    Yes.
20      Q.    All right. And that makes its way to you, right?
21      A.    Yes.
22      Q.    And at the top, you make a reply. And it's just those
23      two lines at the top, right?
24      A.    Yes.
25      Q.    You say, "We aren't anywhere near as familiar at these
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 171 of 275
                                                                          171




 1      agreements as they are. Steve P may be helpful as he was
 2      running the BA/AA JV, which had similar arrangements."
 3                   Correct?
 4      A.    Yes.
 5      Q.    And by, "They" there, do you mean American Airlines?
 6      A.    Yes.
 7      Q.    And by "BA/AA JV," you mean British Airways/American
 8      Airlines joint ventures, correct?
 9      A.    Yes.
10      Q.    And you're saying that JetBlue didn't have prior
11      experience with revenue sharing arrangements, right?
12      A.    Yes, we didn't have any prior experience. All of our
13      airline partnerships were, you know, more traditional
14      codeshare interline type models. So we would have no one who
15      had worked on these types of agreements before.
16      Q.    And you're indicating Steve P. Is that Steve Priest?
17      A.    Yes, it is.
18      Q.    And Steve Priest is someone who had experience working on
19      the British Airways/American Airlines joint venture, right?
20      A.    Yes, he was really the only executive at a senior level
21      in our company, Steve Priest was our chief financial officer
22      at the time. And he had some background in some of these
23      agreements, and I felt it would be very useful to have him
24      review what was being talked about.
25      Q.    And you're saying that the international JV between BA
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 172 of 275
                                                                          172




 1      and AA had similar arrangements in terms of revenue sharing,
 2      right?
 3      A.    Well, again, at this point, we had made no -- we hadn't
 4      had any negotiations on this. It was very high level.
 5      American approached us with some form of, you know, revenue
 6      sharing model, and we were just getting familiar, and we were
 7      just getting smarter at this point.
 8      Q.    All right. So but you recognize from the beginning
 9      stages of the NEA that the revenue sharing agreement, you
10      would be using was derived, at least, from American's
11      international JV, right?
12      A.    No, I don't think you can draw that conclusion.
13      Q.    Vasu Raja is sending you a deck that is how they do
14      revenue share, right?
15      A.    Yes.
16      Q.    And is it your testimony that one ended up as the NEA is
17      materially different from that deck?
18      A.    No, what I'm saying is that we were getting smarter and
19      we were educating ourselves on some of these agreements, how
20      they looked like, we had no knowledge at that point whether
21      we would even enter into the agreement, let alone what it
22      would look like.
23      Q.    Mr. Hayes, you're well aware that the arrangement you
24      eventually struck was very similar to the deck that Vasu Raja
25      sent you on February 4th of 2020, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 173 of 275
                                                                          173




 1      A.    I only reviewed that deck when it was sent. After that,
 2      it was -- my team was having discussions and we reviewed
 3      those discussions directly with the team.
 4      Q.    So you don't know whether it was similar or not?
 5      A.    I don't -- in terms of how it evolved, I just focused on
 6      the agreement that we had with American. I'm not familiar
 7      with how the revenue or profit share models worked with other
 8      partners.
 9      Q.    All right. So you know the NEA feature is a section
10      about network growth and consultation, right?
11      A.    Which -- yes.
12      Q.    Right? And there, American and JetBlue agreed to
13      coordinate what are called NEA services, right?
14      A.    Yes.
15      Q.    And they further agreed to attempt to optimize their
16      respective network plans after consultation, right?
17      A.    Yes.
18      Q.    And that provision allows American and JetBlue to jointly
19      optimize capacity in the Northeast Alliance scope, right?
20      A.    Yes, and for JetBlue, this was important, because we were
21      trying to create a more compelling global alternative to
22      compete with Delta and United. And as part the NEA, American
23      had offered to make investments in certain local markets that
24      we just couldn't fly ourselves.
25      Q.    And optimizing capacity means the same thing as
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 174 of 275
                                                                          174




 1      coordinating capacity, right?
 2      A.    Oh, yes.
 3      Q.    So optimizing means coordinating.
 4      A.    Yes, I don't want to split hairs on the words.
 5      Q.    All right. And the same part of the NEA says that if
 6      roots are underperforming when measures against forecast, the
 7      parties will attempt to agree to a course of remedial action,
 8      correct?
 9      A.    I don't recall those specific detailed provisions in the
10      agreement.
11      Q.    All right. So let's just look briefly at Plaintiff
12      Exhibit 1-A at page 4. And Mr. Hayes, I don't know if that's
13      in your notebook or not, but 1-A is in evidence, Your Honor?
14                   THE COURT: I have them. I think it's in your
15      notebook, or it's in mine.
16                   THE WITNESS: This? 1-A.
17                   MR. DAVIS: Yes. It's the first, outstanding A,
18      it's just one.
19                   THE WITNESS: Okay.
20      BY MR. DAVIS:
21      Q.    All right. Do you have page 4?
22                   MR. DAVIS: Could we see it on the screen?
23      BY MR. DAVIS:
24      Q.    And do you see page 3 in the middle 3.1.2.3?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 175 of 275
                                                                          175




 1      Q.    And do you see there that it says, "If any roots within
 2      the NEA services are underperforming when measured against
 3      the expected performance forecast for such routes by the
 4      party operation such services, or as jointly agreed by the
 5      parties, the parties will endeavor in good faith to agree to
 6      a course of remedial action while each party will maintain
 7      its independent decision-making authority."
 8                   Did I read that correctly?
 9      A.    Yes.
10      Q.    So when NEA routes aren't making money, the parties get
11      together to choose a course of remedial action; is that
12      right?
13      A.    Yes. I think this clause just actually represents what
14      happens anyway. I mean, at JetBlue, if we have a market
15      that's underperforming, if it's unprofitable, we will try to
16      turn it around, we will try to make it profitable. And if
17      ultimately we can't, we will need to fly somewhere else.
18      Q.    Well, it happens anyway at JetBlue, but this is the first
19      time in history that it's happening with JetBlue and its
20      competitor, right?
21      A.    As part of the NEA, yes. We were working with American
22      and if we had a market that's underperforming, we would try
23      to fix it. No one wants to pull off a market that they've
24      started to serve.
25      Q.    So both parties are getting together to choose a course
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 176 of 275
                                                                          176




 1      of remedial action, right?
 2      A.     Yes. But I would represent that these are exactly what
 3      would happen anyway. Certainly at JetBlue, if it was not
 4      performing.
 5      Q.     But, again, Mr. Hayes, you say exactly what would happen
 6      anyway at an airline that's independent, right?
 7      A.     Yes.
 8      Q.     What's different here is this is two airlines pledging to
 9      do this together, agreed?
10      A.     Yes. To create a viable third competitor in the
11      northeast to compete with Delta and United.
12      Q.     Do you agree with -- that this agreement is an agreement
13      between two competitors, at least previous competitors, to
14      get together to choose remedial action when a route
15      underperforms?
16      A.     So in the markets, in the NEA, yes. But of course, we
17      still compete with American very aggressively outside of the
18      NEA.
19      Q.     All right. And remedial action under the provision could
20      include a joint decision by the parties to cancel an
21      unprofitable route, right?
22      A.     It could -- yes, it could.
23      Q.     All right. And this agreement extends now to two-thirds
24      of JetBlue's business, right?
25      A.     Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 177 of 275
                                                                          177




 1      Q.    Roughly?
 2      A.    Yes.
 3      Q.    So the largest global airline now has a say about
 4      two-thirds of your network, right?
 5      A.    No. Because ultimately JetBlue will make independent
 6      decisions as to what we fly and what we don't fly.
 7      Q.    But you're making an agreement here, right? You're
 8      agreeing to regularly review performance together, right?
 9      A.    Which we -- where he, we would -- yes, we would review it
10      together, just as JetBlue would review these markets
11      independently anyway.
12      Q.    All right. And you're agreeing that if the routes are
13      underperforming, together, you're going to look at ways to
14      make adjustments together, right?
15      A.    Yes. I mean, look, let's say we had a JetBlue market
16      that was underperforming that was in the NEA. We would work
17      as part of the process to try to improve it. As I say,
18      JetBlue does not want to pull off markets, and one of the
19      benefits of us being in the NEA, is we now have some tools
20      that American can bring to the partnership to allow us to
21      better compete with two airlines three to four times our
22      size.
23      Q.    So in general, can parties to a joint venture coordinate
24      capacity so as to reduce capacity, that is, if they have ATI,
25      at least.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 178 of 275
                                                                          178




 1      A.    I'm sorry. Can you say that question again?
 2      Q.    Can parties to a joint ventures, in general, with
 3      antitrust immunity, can they coordinate capacity so as to
 4      reduce capacity?
 5      A.    They can, which is why in the NEA, we changed -- we
 6      modeled it around an incentive that encourages growth. We
 7      have the MGIA, and we also have the additional slot
 8      divestitures that we have to make if we do not grow.
 9      Q.    And a joint -- sorry, are you finished?
10      A.    Yes.
11      Q.    And a joint ventures jointly reduced capacity, that would
12      give them more pricing power. Do you agree with that?
13      A.    If you did that without the growth incentive or without
14      the growth commitments in the NEA, that would be true, that
15      is not the case in the NEA.
16      Q.    Can parties to a joint venture coordinate capacity to
17      allocate markets between them so as not to compete in each
18      other's markets?
19      A.    Hypothetically, that could be true.
20      Q.    Well, specifically, does market allocation occur within
21      the NEA?
22      A.    Could you just clarify what you mean by market
23      allocation?
24      Q.    So since the Northeast Alliance implementation began,
25      American Airlines has exited its service to Boston-LaGuardia,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 179 of 275
                                                                          179




 1      right?
 2      A.    That is correct.
 3      Q.    That service previously overlapped with JetBlue's, right?
 4      A.    Yes.
 5      Q.    And Boston-LaGuardia is certainly within the NEA, right?
 6      A.    Yes, but I will represent to you, and I think most people
 7      in Boston and New York know this, that market is much more
 8      competitive with JetBlue flying 15 or 16 a day, next Delta,
 9      then JetBlue flying six flights, and American and Delta
10      competing with each other.
11      Q.    But American Airlines is no longer in the route at all,
12      right?
13      A.    Yes, but more -- JetBlue is in the route to an extent
14      we've never been, and that has had a very positive effect on
15      fares.
16      Q.    And many of your speeches you talk about fewer choices
17      that consumers have, you mean when there are fewer airlines
18      in a route, right?
19      A.    Well, the context of my speeches really were referring to
20      legacy airlines, and as I was saying earlier today, it's less
21      about how many airlines are flying, but who's flying it. And
22      if you look at the fares on the three shuttle markets today,
23      that fares that JetBlue is in, the two shuttle markets that
24      we're in, Boston-LaGuardia, DCA-Boston, the fares are lower
25      than the market that we don't compete in, which is Boston
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 180 of 275
                                                                          180




 1      to DCA -- LaGuardia to DCA. So again, I don't think it's how
 2      many airlines fly it, it's who's flying it.
 3      Q.    Was the exit of American Airlines from the Boston
 4      -LaGuardia route, was that an example of network optimization
 5      under the NEA?
 6      A.    Well, I certainly -- I think that we were -- by we
 7      wanted -- we wanted to be bigger in Boston-LaGuardia a long
 8      time. This was an opportunity to do it. So with the slots
 9      that became available from American by the NEA, in LaGuardia,
10      we able now to do this a lot.
11      Q.    All right. So do you agree that in that instance, at
12      least, within the NEA, the two parties agreed to allocate the
13      Boston-LaGuardia market to JetBlue, correct?
14      A.    American came off of that market and we grew in that
15      market. And there was discussion around that as part of that
16      optimization process.
17      Q.    Is that a yes?
18      A.    Yes.
19      Q.    Thank you. All right. Mr. Hayes, American Airlines also
20      plans to exit JFK-San Francisco under the Northeast Alliance,
21      correct?
22      A.    Say parts of that again?
23      Q.    Doesn't American Airlines plan to exit JFK-San Francisco
24      under the NEA?
25      A.    That I don't know.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 181 of 275
                                                                          181




 1      Q.    You're not aware of that?
 2      A.    There's been some discussions about that. But as of now,
 3      I don't believe that American planned to exit JFK-San
 4      Francisco, but that's just to my knowledge.
 5      Q.    So if that's being planned, you don't know about it?
 6      A.    I don't know if it's being planned.
 7      Q.    And understanding you don't know, if it were being
 8      planned, it would be an NEA route that would be part of the
 9      network optimization discussions between the two airlines,
10      correct?
11      A.    Well, yes, but I think we need to establish whether that
12      is planned or not, you know. It sounds quite hypothetical.
13      Q.    You don't know about it, correct?
14      A.    No, I do -- I'm aware of some discussions that have
15      happened about markets like JFK or San Francisco, but I don't
16      believe any decision by American has been taken to come out
17      of it.
18      Q.    All right. So back to capacity coordination. But
19      coordinating with American under the NEA, your two airlines
20      now control collectively about 46 percent of all flights out
21      of Boston, right?
22      A.    Our share is about 31 percent. I'm not sure what
23      American's share is.
24      Q.    Almost half collectively?
25      A.    Again, I'm not sure of what American's share is today.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 182 of 275
                                                                          182




 1      Q.    Would you agree that, as they optimize the networks in
 2      the NEA, JetBlue and American now function as a single
 3      airline?
 4      A.    In terms of optimizing capacity, yes. Not in terms of
 5      pricing or many other aspects of our business.
 6      Q.    And would you agree that, within the NEA, where the two
 7      airlines are coordinating capacity, JetBlue and American no
 8      longer compete with each other, correct?
 9      A.    In terms of the markets in the NEA that are not carved
10      out, we don't compete with each other directly.
11      Q.    You're now collaborating, right?
12      A.    Yes, we're collaborating because, again, for JetBlue, our
13      largest issue is how do we sustain ourselves in the
14      northeast, and compete against two much larger airlines in
15      the form of Delta and United.
16      Q.    Okay. Now, you said that the NEA incentivizes growth by
17      American and JetBlue, right?
18      A.    Yeah.
19      Q.    And that growth incentive comes from the so-called MGIA
20      that's part of the NEA, correct? Sorry about all the
21      acronyms.
22      A.    Yes, that's correct.
23      Q.    All right. And the revenue sharing provision in the NEA
24      called the MGIA is actually the Mutual Growth Incentive
25      Agreement, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 183 of 275
                                                                          183




 1      A.    Yes.
 2      Q.    And the purpose of that MGIA is to incentivize growth.
 3      That's it's purpose, right?
 4      A.    Yes.
 5      Q.    And under the MGIA, the parties share something called
 6      incremental revenues?
 7      A.    Yes.
 8      Q.    And incremental revenues can be positive, right?
 9      A.    Yes.
10      Q.    And incremental revenues also can be negative, correct?
11      A.    I think -- I think if you're referring to the transfer
12      payment.
13      Q.    Yes.
14      A.    A better way of phrasing it would be one party may have
15      more incremental revenue than another.
16      Q.    Well, one could have negative incremental revenue where
17      one has experienced lower unit -- unit growth, right?
18      A.    Yes. And certainly during COVID, that was an issue for
19      all airlines.
20      Q.    All right. And so that situation, where the rate of unit
21      pricing is reduced from a 2019 base, that generates negative
22      incremental revenue, right?
23      A.    Well, it could do.
24      Q.    Okay.
25      A.    But you could get to the same answer in the MGIA with a
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 184 of 275
                                                                          184




 1      different set of circumstances.
 2      Q.    Okay. And we've already discussed that capacity
 3      increases generally result in lower fares, right?
 4      A.    Yes, they can do.
 5      Q.    All right. And again, under the MGIA, a party that
 6      increases capacity at a lower unit revenue, again, lower than
 7      the 2019 base, generates negative incremental revenue, right?
 8      A.    Negative incremental unit revenue.
 9      Q.    Okay.
10      A.    But not incremental revenue in terms of dollars.
11      Q.    All right. And an NEA party growing capacity at a lower
12      unit revenue may then receive a transfer payment from its
13      partner airline, right?
14      A.    Again, that is one situation, but there are other
15      combination, as well, that would drive a transfer payment.
16      Q.    All right. But in that circumstance that I identified --
17                    THE COURT: Wait, are you saying -- is the question
18      that if you're -- if you have lower incremental revenue, then
19      you receive a payment?
20                    MR. DAVIS: That's the question.
21                    THE COURT: Is that right?
22                    THE WITNESS: Yes. Would it help if I just gave a
23      summary of how it works?
24                    THE COURT: Yes. Help me.
25                    THE WITNESS: So how the MGIA payment works at a
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 185 of 275
                                                                          185




 1      basic level, Your Honor, is we take the revenues both
 2      airlines had in 2019 as the base. Because in aviation terms,
 3      that's the last normal year we had.
 4                  THE COURT: Court terms, too.
 5                  THE WITNESS: And it looks at how much capacity
 6      each airline is adding to its 2019 base, and it looks to how
 7      much revenue that each party has added, and it effectively
 8      creates a unit revenue to say of the incremental capacity
 9      you've added and -- of all the capacity that you've added and
10      all the revenue generated what is effectively your unit --
11      incremental unit revenue and it compares those between the
12      two parties. And the parties with the higher incremental
13      unit revenue, which is the incremental revenue, the highest
14      unit revenue makes a transfer payment to the airline with the
15      lower incremental unit revenue.
16                  THE COURT: The unit revenue is a function --
17      explain that again.
18                  THE WITNESS: So the unit revenue is a function of
19      the revenue itself and how much you've grown in capacity. So
20      if you think of it --
21                  THE COURT: If the capacity is 10 percent.
22                  THE WITNESS: Yes. So let's say I had -- if I was
23      generating $100 -- bigger number, say I was generating
24      $10,000 on an aircraft, and I had that aircraft flew -- and
25      it had 100 seats, right? So that's $100 per seat. All the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 186 of 275
                                                                          186




 1      seats were full. And let's assume that airplane flew
 2      1,000 miles, that would be .1 cent of unit revenue. So
 3      that's how the calculation is done.
 4                  THE COURT: And if that were extra over 2019, you
 5      would have a .1 unit revenue.
 6                  THE WITNESS: In that case, yes. I was just giving
 7      one flight example.
 8                  THE COURT: Yes. And then if the other partner was
 9      exactly at base, so they would be at zero.
10                  THE WITNESS: Yes.
11                  THE COURT: So you have grown.
12                  THE WITNESS: Yes.
13                  THE COURT: And then you would make the payment to
14      the other people?
15                  THE WITNESS: Yes. So the airline that has the
16      highest unit -- that incremental revenue unit would make a
17      transfer payment to the one with the lower unit revenue
18      growth.
19                  THE COURT: Okay.
20      BY MR. DAVIS:
21      Q.    And you agree, Mr. Hayes, that incremental unit revenue
22      only happens when there is a change in unit revenue?
23      A.    Well, I mean, unit revenues change all the time.
24      Q.    Sure. But in the hypothetical, where unit revenue is
25      exactly the same as 2019?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 187 of 275
                                                                          187




 1      A.    Yes.
 2      Q.    It doesn't matter if you add a capacity or decrease
 3      capacity, there's no incremental revenue. Do we agree on
 4      that?
 5      A.    Well, if you decrease capacity, and your revenue hasn't
 6      changed, your unit revenue will go up.
 7      Q.    If you decrease capacity and your RESM --
 8      A.    RESM is different to the -- yeah, I mean, you're talking
 9      about incremental?
10      Q.    Yes, I'm talking about incremental revenue, right?
11      A.    In the context of MGIA or more broadly?
12      Q.    Yes, in the context of the -- we're talking about a
13      transfer payment, right?
14      A.    Yes.
15      Q.    In the situation where your RESM doesn't change?
16                   THE COURT: What is the RESM?
17                   MR. DAVIS: I'm sorry, Your Honor. That's revenue
18      per estimated seat mile; is that right?
19                   THE COURT: What is it?
20                   THE WITNESS: No.
21                   THE COURT: What is it?
22                   THE WITNESS: Well, I forget what the E stands for,
23      as well. So I think it's equivalent, maybe.
24                   MR. DAVIS: Equivalency mile, right.
25                   THE WITNESS: Yeah. So I don't want to appear to
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 188 of 275
                                                                          188




 1      be avoiding your asking the question, so forget RESM for a
 2      minute. RASM is revenue per available seat mile. That is
 3      what we use on a daily basis. And then RESM, which is the
 4      revenue per equivalency seat mile, is trying to get to the
 5      incremental unit revenue growth that's in the MGIA. So both
 6      parties say in 2019, this is what the world looked like,
 7      we've adjusted capacity since 2019, we've generated
 8      incremental revenue, we're both going to calculate what the
 9      unit -- incremental unit revenue growth is, and then in order
10      to -- because the party that's grown more quickly is going
11      to -- will tend to have the lower unit revenue. And so they
12      will get a transfer payment from the airline that is arguably
13      going less quickly, because they are going to have a higher
14      unit revenue --
15                  THE COURT: So why would the party growing less
16      quickly have lower incremental revenue?
17                  THE WITNESS: Because as a matter of general rule,
18      the more capacity that you're putting into the market, you
19      know, it generates more volume.
20                  THE COURT: And you might have a lower load
21      initially?
22                  THE WITNESS: Yeah, you're going to have a lower
23      load to -- you know, we started Boston-Heathrow flies last
24      week. Our load factor is quite low. In two or three months,
25      hopefully, it's going to be higher. It just takes time to
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 189 of 275
                                                                          189




 1      ramp up.
 2                  THE COURT: So the theory is that the way you
 3      incentivize growth is the lower -- the party with the lower
 4      incremental unit revenue is going to get the transfer
 5      payment, because the theory is that when you create more
 6      capacity by adding a route or by adding more planes on an
 7      existing route, initially your load factor is going to be
 8      lower, and you're going to be bearing costs and so therefore,
 9      your incremental revenue will be decreased and so that's why
10      the person with the lower rate receives the payment.
11                  THE WITNESS: Yes, what we're trying to do,
12      Your Honor, in every aspects of this agreement, is to create
13      the right incentives for the parties to grow because I am
14      more aware than anyone else in all my public comments over
15      the years, of the dangers to competition, if these joint
16      ventures get formed, our prices get fixed between the
17      airlines and there is not incentive to grow. This was very
18      important to JetBlue to make sure we stayed who we were.
19                  THE COURT: Go ahead.
20      BY MR. DAVIS:
21      Q.    So Mr. Hayes, can we agree at a high level that an NEA
22      party growing capacity, at a lower unit revenue, may then
23      receive a transfer payment from its partner airline. That's
24      kind of the point of the incentive we're talking about.
25      A.    Yes. But I think this is helpful to have the explanation
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 190 of 275
                                                                          190




 1      because this is a complicated agreement.
 2      Q.    So theoretically, at least, if one partner airline goes
 3      out and adds a bunch of capacity and new flying, and of
 4      course, usually the RASM associated with that flying is
 5      actually going to go down because you've increased capacity,
 6      right?
 7      A.    Yes.
 8      Q.    In that situation, the partner airline that didn't do
 9      that same aggressive capacity growth now actually owes money
10      under the MGIA, right?
11      A.    Yes, again, it was set up in a way that both parties
12      would actually then be incentivized, which would minimize the
13      need for a transfer payment.
14      Q.    So in that circumstance, the partner airline effectively
15      subsidizes the other airlines capacity growth at lower unit
16      revenue, via this transfer payment, do you agree with that?
17      A.    If you've got one airline that is not growing as quickly
18      as the other, then the airline that is growing less quickly,
19      you know, in effect, would be supporting some of the unit
20      revenue ramp up than the airline that was growing more
21      quickly.
22      Q.    And that that we're discussing right now is how the NEA
23      incentivizes growth; is that right?
24      A.    That is one of the ways that it incentivizes growth.
25      Q.    All right. But for the two decades before now, JetBlue
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 191 of 275
                                                                          191




 1      didn't receive a subsidy from another airline when it was
 2      growing capacity, right?
 3      A.    Well, again, I wouldn't describe it as a subsidy.
 4      You're --
 5      Q.    Right. A transfer payment?
 6      A.    Yeah. I mean, you're forming a business together.
 7      You're both making investments in that business. And it
 8      reflects the flat fact that the revenue may come in
 9      differently at different times.
10      Q.    And previously, JetBlue didn't -- previously before the
11      NEA, JetBlue didn't need a transfer payment to have the
12      incentive to grow, did it?
13      A.    True. But nor could we serve some of these markets that
14      we can now serve in the NEA, because we have no partner or
15      aircraft to serve them.
16      Q.    So now JetBlue does need a transfer payment to have the
17      incentive to grow. Is that your testimony?
18      A.    No, again, what the transfer payment does is really, in
19      effect, as airlines are growing, it is providing some revenue
20      relief for the airline that has maybe invested more in the
21      capacity growth in that year. It is not a subsidy. And
22      again, the choice for JetBlue was quite clearly not being
23      able to serve all of these markets that American is now
24      serving as part of our partnership. We weren't competitive
25      before with Delta and united, because we couldn't get
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 192 of 275
                                                                          192




 1      customers to many of these markets.
 2      Q.    Okay. And again, the transfer payment that we're talking
 3      about here, that transfer payment comes from your partner
 4      airline, right?
 5      A.    Yes. When there's a transfer payment, it's going to come
 6      from the other airline.
 7      Q.    So that's revenue for JetBlue, but a cost for your
 8      partner, right?
 9      A.    Well, it, again -- so the way we account for it is
10      usually as a revenue transfer. So the revenue -- and it's no
11      different, by the way, if you're selling through a business
12      travel agency and they're keeping a percentage. What you end
13      up remitting back is a lower revenue number. It doesn't
14      actually affect your cost line.
15      Q.    But overall the two carriers in the joint alliance are no
16      better off, right?
17      A.    Well, in terms of the -- in terms of the net -- the net,
18      yes. There's no net -- there's no one else contributing to
19      the transfer payment, if that's what's behind the question.
20      Q.    All right. But again, your coordinating capacity with
21      that same partner airline, right?
22      A.    In the NEA markets and in the markets that aren't carved
23      out, yes.
24      Q.    And you're both in business, obviously, to maximize
25      profit for your shareholders, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 193 of 275
                                                                          193




 1      A.    We need to make money. We've not made money for ten
 2      quarters.
 3      Q.    And your partner airline is not going to knowingly agree
 4      to a capacity plan that requires it to make a large transfer
 5      payment to JetBlue, right?
 6      A.    Sorry, could you rephrase that?
 7      Q.    Your partner airline that you're coordinating capacity
 8      with --
 9      A.    Right.
10      Q.    -- is not going to make a plan with JetBlue when that
11      partner airline sees that the result of this plan is going to
12      be a big transfer payment to JetBlue?
13      A.    Well, again, I think that's not the right way of looking
14      at it. The way I look at it is to say with this partnership,
15      all the revenues that JetBlue is generating, or the
16      incremental revenue that we are able to generate because of
17      this partnership, all the revenue that American is making,
18      that is big -- those are billions of dollars. And as part of
19      that, there is a transfer payment, which is a relatively
20      small part of the total. So I don't believe that the
21      transfer payment is material to how we certainly are making
22      decisions. It's just not -- it's not material enough.
23      Q.    It's not material to how you're making decisions, but
24      it's the incentive to grow in the NEA?
25      A.    As I said, it's one of the incentives to grow. Because
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 194 of 275
                                                                          194




 1      we also have a slot divestiture commitment at Kennedy that
 2      increases if we don't grow. And we've also made certain
 3      growth commitments to the DOT as part of our agreement there.
 4      Q.    But the incentive that's in the formula that you have
 5      touted repeatedly, the revenue sharing agreement with
 6      American Airlines, that incentive, is this transfer payment
 7      that we're talking about right now, right?
 8      A.    The transfer payment is not really an incentive. The
 9      transfer payment is really trying to balance out the relative
10      revenue growth and costs that both parties have had as
11      they've grown their business together.
12      Q.    But I thought the point of the growth incentive was that
13      you'd be more willing to do low unit revenue capacity growth
14      because you're going to get your partner airline to subsidize
15      part of it?
16      A.    Yes. I mean, as I said, that's one of the -- you know,
17      we wanted a number of measures in place to incentivize
18      growth. Whilst the transfer payment is there, in terms of
19      the overall materiality of the agreement, I would say that,
20      for example, if we don't meet our growth commitments and have
21      to divest lots of JFK, that would be a bigger concern for me.
22      Q.    So Mr. Hayes, does the transfer payment matter or not?
23      A.    The transfer payment is an important part of this
24      agreement. I'm just saying that it doesn't really -- it's
25      not that material in terms of how we think about how we grow
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 195 of 275
                                                                          195




 1      as JetBlue and where we grow.
 2      Q.    All right. But the partner airline we're talking about
 3      here, of course, is American Airlines, right?
 4      A.    Yes.
 5      Q.    And for the better part of two decades, American Airlines
 6      has been focused like a laser on restricting capacity growth
 7      to keep prices high, right?
 8      A.    I've made those comments, yes.
 9      Q.    But now the MGIA formula incentivizes American to throw
10      away its business plan. Is that the idea here?
11      A.    Well, that's a question you should probably put to
12      American Airlines, you know, what was of interest for me was
13      to make sure that this NEA did not change who we were. That
14      our model of growth was important. And we needed
15      American Airlines to grow in JFK. We needed
16      American Airlines to grow in Boston in order to help
17      customers who have flown JetBlue in the years reach new
18      destinations that we just didn't simply have the scale or
19      aircraft to meet. So entering into this agreement with
20      American and not having them grow would not have met the
21      needs of JetBlue or its customers.
22      Q.    All right. So we testified about the phrase "metal
23      neutrality," right?
24      A.    Yes.
25      Q.    What is metal neutrality in the context of a revenue
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 196 of 275
                                                                          196




 1      sharing agreement?
 2      A.    So again, metal neutrality can mean different things to
 3      different people. At one level what it is saying I would
 4      rather have a customer in the NEA flying on either JetBlue or
 5      American versus say flying on Delta or United.
 6      Q.    But you don't care as between JetBlue and American; is
 7      that right?
 8      A.    I care very much.
 9      Q.    But in a metal neutral agreement, you don't, right?
10      A.    Well, again, this is why I said it means different things
11      to different people. The second part of that question is, is
12      there a benefit within the NEA when a customer flies on
13      JetBlue over American. And the answer from JetBlue is very
14      much yes. Whilst there is revenue in the -- in the MGIA,
15      there's other revenue benefits such as our loyalty program,
16      our co-brand credit card program, our vacations business,
17      where we can sell additional revenue if that customer is
18      flying on JetBlue. So it's metal neutral in terms of the way
19      it competes with Delta and United, but I still want people on
20      JetBlue rather than American, when I can.
21      Q.    In a metal neutral agreement, Mr. Hayes, one partner
22      gains nothing from winning a customer away from the other.
23      Do you agree with that?
24      A.    Well, again, people use the phrase metal neutral in this
25      industry meaning different things. I think the definition
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 197 of 275
                                                                          197




 1      I'm most comfortable that says if I have a partnership with
 2      another airline, then I'd rather have them fly me or that
 3      partner versus another airline.
 4      Q.    So when the arrangement is metal neutral, you don't care
 5      if a customer goes to your website and decides to buy a
 6      ticket on your partner's metal, right?
 7      A.    Well, that's why I just said to you I do care and I would
 8      rather that they fly JetBlue, but if they're not going to fly
 9      JetBlue, then I want them to fly American in the NEA markets.
10      Q.    And in a metal neutral agreement, it makes more sense to
11      cooperate with your partner than to compete, right?
12      A.    Yes, because what we're trying to do here is bring our
13      customers a much more competitive global network than we've
14      been able to do before.
15      Q.    Is the NEA's revenue sharing provision designed to
16      establish metal neutrality in your mind?
17      A.    Well, I think what we were very careful about when we
18      entered into the NGIA from the JetBlue perspective was to
19      make sure that we only included the revenue elements that
20      were directly attributable to that flight. And also, we only
21      wanted to include costs that were directly attributable to
22      that ticket. And so that was our negotiating objective as we
23      went into the MGIA and I believe I was comfortable where it
24      ended up.
25      Q.    So Mr. Hayes, I'll repeat my question, is the NEA's
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 198 of 275
                                                                          198




 1      revenue sharing provision designed to establish metal
 2      neutrality?
 3      A.    Well, again, I'm not trying to avoid the question, but at
 4      one level, yes, because it's creating a joint partnership.
 5      However, JetBlue also benefits when customers fly on our
 6      metal, even within the NEA. And that sits outside of the NEA
 7      agreement.
 8                  THE COURT: Why is that?
 9                  THE WITNESS: Because, Your Honor, if they are
10      flying on us and they sign up into our loyalty program,
11      TrueBlue, or they become a Mosaic customer and they get the
12      JetBlue credit card, or they buy one of our vacations or
13      hotels, because they're on a JetBlue flight, all of those
14      revenues sit outside of the partnership with American and are
15      retained by JetBlue, and those are very substantial. I mean,
16      I'll keep the numbers high level, because they're kind of
17      quite confidential, but for most airlines, those revenue
18      streams themselves are more than the profit, operating profit
19      of the entire operating company. The loyalty programs are
20      very valuable.
21      Q.    Is the --
22                  THE COURT: I see. Just one more question.
23                  So when you talked about how it was important to
24      you about the cost structure?
25                  THE WITNESS: Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 199 of 275
                                                                          199




 1                  THE COURT: That you wanted to limit the revenue
 2      just to the flight.
 3                  THE WITNESS: Yes.
 4                  THE COURT: And the cost just to the flight.
 5                  THE WITNESS: Yes.
 6                  THE COURT: So the revenue side that you did not
 7      want included was the loyalty program, the vacation package,
 8      the other things like that, that you just referred to, right?
 9                  THE WITNESS: Yes.
10                  THE COURT: And what was the significance, why was
11      the structure and the cost structure the way you did matter
12      to you the way you're describing.
13                  THE WITNESS: Well, for us, you know, as I look at
14      some of these other joint ventures that can be more profit
15      share based, or at least that's the way I understand them to
16      work, this is a partnership between a legacy airline and a
17      low cost carrier. The last thing that we wanted was to
18      jeopardize our cost structure by now sharing some of these
19      costs with American, because if we started including lounge
20      costs and some of the other things, that would add pressure
21      to the JetBlue cost structure, Your Honor, which is -- and
22      quite frankly, one of the reasons that the legacy airlines
23      have to offer higher fares, is they have higher cost
24      structures. We have to protect ours, so we wanted to keep
25      all of those out.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 200 of 275
                                                                          200




 1                  THE COURT: What would those kinds of things be,
 2      besides lounges?
 3                  THE WITNESS: It can be lounges, it could be
 4      airport costs that you could share. I mean, airport costs
 5      can be very expensive and you know lounge -- we do not have
 6      lounges at JetBlue, because they're very expensive.
 7                  THE COURT: Go ahead.
 8      BY MR. DAVIS:
 9      Q.    Would you agree, Mr. Hayes, that the MGIA helps align
10      JetBlue and American's economic incentives within the NEA?
11      A.    Yes, in terms of competing with Delta and United. Yes.
12      Q.    Well, not just in competing with Delta and United. Would
13      you agree that it aligns economic incentives in the NEA?
14      A.    Again, I'll repeat what I said earlier. Yes, in terms of
15      I want people to fly in the NEA versus Delta and United. But
16      in the NEA, I would much rather have a customer on a JetBlue
17      airplane than an American airplane, which is why we kept some
18      of these other revenue benefits outside.
19      Q.    You have never before seen a revenue sharing agreement
20      and an alliance between domestic carriers who are also
21      coordinating capacity on overlap routes; is that right?
22      A.    I haven't seen it in the US and I haven't really studied
23      it to see if it exists elsewhere in the world.
24      Q.    Would you agree that such an agreement seems risky when
25      it comes to regulators?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 201 of 275
                                                                          201




 1      A.    Yes. I think we knew that this would face a lot of
 2      regulatory review. You know, JetBlue, it was definitely --
 3      we were sort of thinking outside the box, and we were trying
 4      to solve some long term structural challenges that we faced
 5      in order to grow.
 6      Q.    All right. Showing you now PX 807.
 7                   MR. DAVIS: Which is not in evidence, Your Honor,
 8      so please don't publish at this time.
 9                   THE COURT: All right. What number did you say?
10                   MR. DAVIS: 807.
11                   THE COURT: Okay.
12      BY MR. DAVIS:
13      Q.    Do you have that, Mr. Hayes?
14      A.    807.
15      Q.    Yes.
16      A.    Is it the one that's "Dear Robin Reese"?
17      Q.    It's an e-mail from April Carr at CMA --
18      A.    Yes, I have it.
19      Q.    And that's an e-mail from April Carr at the United
20      Kingdom Competition and Markets Authority to JetBlue,
21      attaching documents JetBlue had submitted to the CMA; is that
22      right?
23      A.    Yes.
24      Q.    And the attachments in plaintiff Exhibit 807 include,
25      among other things, slides from a June 2020 meeting of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 202 of 275
                                                                          202




 1      JetBlue's board of directors. Correct?
 2      A.    I'm sorry. What page are you on?
 3      Q.    It's one of the attachments, and it's the June 2020
 4      meeting of JetBlue's board of directors. It starts
 5      out, "Today we'll focus on five of the nine work streams,"
 6      and then the slide page ends in 947. Do you see that?
 7      A.    I'll get there in a second. I'm just --
 8      Q.    I'm sorry I'm going too fast, Mr. Hayes?
 9      A.    That's all right. I just know I better be looking at the
10      right page before you ask me questions.
11                  2-4 --
12      Q.    947, the first slide ends.
13                  THE COURT: I'm sorry, there are two Bates numbers
14      on some of these. 94.
15                  MR. DAVIS: There can be, Your Honor, I think.
16                  THE COURT: Oh, I see it. Okay. "Today we'll
17      focus on five of nine."
18                  THE WITNESS: How many pages is it into the deck,
19      that might be the easiest.
20                  THE COURT: Pretty far in.
21                  MR. DAVIS: Yeah, there are several attachments.
22                  THE COURT: Either one of you can help him find it,
23      if that will make it easier.
24                  Maybe one of you can go.
25                  THE WITNESS: I got it.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 203 of 275
                                                                          203




 1                   THE COURT: You got it.
 2                   THE WITNESS: It's right at the back. Okay. I'm
 3      going to mess up all of these pages. Okay. I have it.
 4      BY MR. DAVIS:
 5      Q.    And you see the first slide is "today we'll focus on five
 6      of the nine work streams" correct?
 7      A.    Yes.
 8      Q.    And is that a deck from a June 2020 meeting of JetBlue's
 9      board of directors?
10      A.    Yes.
11                   MR. DAVIS: Your Honor, I move to admit 807 in
12      evidence.
13                   MR. SCHWED: Can you just give me one second,
14      Your Honor?
15                   THE COURT: Sure.
16                   Are you admitting the whole thing or just this
17      page?
18                   MR. DAVIS: I'd be content to admit the -- this
19      deck. That's all I'll ask questions about, in any event.
20                   MR. SCHWED: I'm sorry, are you moving to admit the
21      whole deck, or just the specific portion.
22                   MR. DAVIS: The entire deck.
23                   MR. WALL: Just this deck, one of several -- the
24      document has several parts.
25                   MR. SCHWED: And there are two different sets of
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 204 of 275
                                                                          204




 1      Bates numbers. I'm having trouble finding which Bates number
 2      is the deck you're talking about, if I may.
 3                    MR. DAVIS: The first slide in question ends in
 4      947.
 5                    MR. SCHWED: We have no objection to that,
 6      Your Honor.
 7                    THE COURT: All right. Fine. So we're admitting
 8      as -- I'm admitting as plaintiffs' Exhibit 807 just the slide
 9      deck. That's what you offered?
10                    MR. DAVIS: The slide deck, again, beginning with
11      the, "Today we'll focus on five of the nine work streams."
12                    THE COURT: Beginning at Bates number, the last
13      three digits are 947.
14                    MR. DAVIS: Correct.
15                    THE COURT: That goes through to the end of 961.
16      That's the last page of the exhibit.
17                    MR. DAVIS: Yes, I think so.
18                    THE COURT: Okay. That is admitted.
19                    (Plaintiff Exhibit No. 807 admitted into evidence.)
20                    MR. DAVIS: Thank you, Your Honor.
21      BY MR. DAVIS:
22      Q.     Again, these are slides presented to JetBlue's board of
23      directors about the Northeast Alliance, right?
24      A.     Yes.
25      Q.     And could we publish, beginning at page 6, which ends in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 205 of 275
                                                                          205




 1      952 with the title "Connie poses various risks that should be
 2      considered."
 3                   Do we have that one, Mr. Hayes?
 4      A.    I do, yes.
 5      Q.    All right. I'm waiting for that to come up.
 6      A.    Yes, it's up.
 7      Q.    All right. And under the -- you see there's a "Risks"
 8      column on the left?
 9      A.    Yes.
10      Q.    And again, Connie is the code word for American Airlines
11      and the NEA that's being negotiated, right?
12      A.    Yes.
13      Q.    And under the risks column, the first risk is identified
14      as, "Connie utilized payment model to fund loss-making
15      capacity."
16                   Do you see that?
17      A.    Yes.
18      Q.    So that is a risk that American will use the MGIA to fund
19      loss-making flights in NEA airports, right?
20      A.    Yes.
21      Q.    That would have forced JetBlue to fund American's losses,
22      right?
23      A.    Yes.
24      Q.    And under potential alleviations over on the right, it
25      says, "Contract calls for concurrence capacity deployment,"
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 206 of 275
                                                                          206




 1      right?
 2      A.    Yes.
 3      Q.    That means network optimization, right?
 4      A.    Yes.
 5      Q.    All right. And the fifth risk down reads, "JetBlue may
 6      lose some kind of independence and may be co-opted by Connie
 7      manipulation."
 8                    Do you see that?
 9      A.    I do.
10      Q.    Do you agree that the NEA poses a risk that JetBlue will
11      lose its independence now that it's aligned with
12      American Airlines?
13      A.    So before we went into the NEA with American, we spent a
14      lot of time as a leadership team and board making sure we
15      understood the risks and making sure that, before we entered
16      into the agreement with American, that we had suitable
17      alleviations and mitigations for those risks. So whilst it
18      was absolutely a risk that we identified when you're an
19      airline CEO, you're in the risk business every day, we
20      wouldn't, and I wouldn't have certainly entered into the NEA
21      if I didn't feel we had adequate alleviations to mitigate
22      those risks.
23      Q.    So Mr. Hayes, your answer to my question is yes, correct,
24      you did agree that the NEA poses a risk that JetBlue is going
25      to lose its independence, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 207 of 275
                                                                          207




 1                  MR. SCHWED: Objection, Your Honor,
 2      mischaracterizes.
 3                  THE COURT: Overruled. You can answer.
 4                  THE WITNESS: Yeah, the reason I didn't answer the
 5      question in the way, perhaps, you had wanted me to was I felt
 6      you were alluding to it being a risk now. The distinction
 7      that I was trying to make was that that was something that we
 8      evaluated before we went into the NEA, and as a result of
 9      that evaluation, felt we had alleviated and mitigated that
10      risk. That isn't something that I've been concerned about
11      since we've been in the NEA.
12      BY MR. DAVIS:
13      Q.    Mr. Hayes, I don't want you to answer my question any one
14      way or the other, I just want you to answer the question.
15                  Is that clear?
16      A.    Very much and I believe I have.
17      Q.    Thank you.
18                  You also stated here that JetBlue could be co-opted
19      by American manipulation, right?
20      A.    I do, yes.
21      Q.    All right. Now, would you please flip ahead six pages to
22      the slide that says, "Project Connie: Spectrum of potential
23      antitrust risk."?
24      A.    Yes, I have it.
25      Q.    And there's a blue banner with an arrow to the right
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 208 of 275
                                                                          208




 1      that's hard to read. Right? Right in front of the plane, do
 2      you see that?
 3      A.    Yeah, I do.
 4      Q.    And it says, "Increasing antitrust risk" going to the
 5      right, right?
 6      A.    Yes.
 7      Q.    All right. And number one on the left, that number one
 8      is, "Reprotect and interline," right?
 9      A.    Yes.
10      Q.    And what's an interline in airline lingo?
11      A.    An interline is when you're selling a ticket on airline
12      A. So let's say you're going from Buffalo to JFK to
13      Frankfurt. If you flew the Buffalo-JFK leg on JetBlue and
14      you flew the JFK leg to Frankfurt on Lufthansa, you would get
15      the ticket that would say this flight is on JetBlue, this
16      flight is on Lufthansa, but you can through check yourself
17      and you can through check your bag. So it offers customers
18      that convenience.
19      Q.    Okay. And number two, moving on to the spectrum is
20      "codeshare" with a footnote one, right? You see the
21      footnotes down at the bottom?
22      A.    Yes.
23      Q.    And footnote one notes that a codeshare agreement is
24      where the parties operate independently setting their own
25      capacity, schedule, and pricing, and incentivize to sell
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 209 of 275
                                                                          209




 1      seats on operated flights. Do you see that?
 2      A.    I do.
 3      Q.    And the first bullet underneath codeshare notes as
 4      potential concern capacity reductions, especially when
 5      already overlapped on codeshare routes, right?
 6      A.    Um --
 7      Q.    I'm sorry, up at the top, back up at the top?
 8      A.    Okay. You're not on the footnote anymore.
 9      Q.    Yeah. Sorry.
10      A.    Okay.
11      Q.    Capacity reductions, especially when already overlap on
12      codesshare routes?
13      A.    Yes.
14      Q.    All right. And codeshares are done between airlines with
15      some frequency, right?
16      A.    That's correct, yes.
17      Q.    And what's a codeshare, just briefly.
18      A.    So going back to my Buffalo-Frankfurt example, and
19      someone going from Buffalo to JFK to Frankfurt, if now -- I
20      could be flying JetBlue from Buffalo to JFK and then
21      Lufthansa from JFK to Frankfurt, instead of that second
22      flight being on Lufthansa, it's on a flight operated by
23      Lufthansa, but it would have the JetBlue marketing, we call
24      it the marketing code. So the difference between interline
25      and codeshare is that if I'm a member of that airline's
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 210 of 275
                                                                          210




 1      frequent flyer program, like our program is TrueBlue, I can
 2      get miles on that Lufthansa segment.
 3      Q.    Okay.
 4      A.    It's a theoretical example, because we do not codeshare
 5      with Lufthansa.
 6      Q.    All right. Number three on the spectrum is codeshare
 7      plus in New York City, but no transatlantic, right?
 8      A.    Yes.
 9      Q.    TATL is a common abbreviation for transatlantic?
10      A.    It is, yes.
11      Q.    And with a footnote 2, under codeshare plus, right -- you
12      see down at the bottom again?
13      A.    Yes.
14      Q.    And it says that "plus includes at least RSA," which is
15      revenue sharing agreement, "capacity optimization, frequent
16      flyer plan, and some sales and marketing coordination,"
17      right?
18      A.    Yes.
19      Q.    And again, RSA there is the revenue sharing agreement,
20      right?
21      A.    Yes.
22      Q.    The first bullet under potential concerns for option 3
23      reads: "RSA and capacity optimization may reduce incentives
24      to compete and diminish JetBlue effect," right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 211 of 275
                                                                          211




 1      Q.    And same with bullets 2 and 4, joint marketing, frequent
 2      flyer plan, joint corporate customer dealing also may
 3      diminish incentive to compete, right?
 4      A.    Yes.
 5      Q.    And that's a moderate risk in -- as presented to the
 6      JetBlue board in June of 2020, right?
 7      A.    Yes.
 8      Q.    And finally, number 4, on the far right of the spectrum,
 9      reads: "Codeshare plus in New York City, including
10      transatlantic and/or Boston."
11                   Do you see that?
12      A.    Yes.
13      Q.    So in this slide, Boston and transatlantic are included
14      only on option number four, right?
15      A.    Yes.
16      Q.    And option number four is identified as having the
17      highest antitrust risk on this chart, right?
18      A.    Yes.
19      Q.    And the row that reads "risks," the first bullet for
20      option four says, "high risk due to extent of integration and
21      geographic scope," right?
22      A.    Yes.
23      Q.    And in the row for potential concerns, the first bullet
24      for option four says, "JetBlue much stronger in Boston
25      already," right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 212 of 275
                                                                          212




 1      A.    Yes.
 2      Q.    And the second bullet reads, "Partnership could change
 3      JetBlue's incentives for entry into pricing of
 4      transatlantic," right?
 5      A.    Yes.
 6      Q.    So a partnership with American Airlines could actually
 7      change your incentives for entry into and your pricing of the
 8      transatlantic flying you were hoping to launch, right?
 9      A.    It could do, which is why we kept London outside of the
10      agreement.
11      Q.    And the third bullet reads:
12                   "Since cooperation would involve around 65 percent
13      of the JetBlue network, increases likelihood DOJ
14      investigations network wide effects of partnership," right?
15      A.    Yes.
16      Q.    So number four on this chart, on the far right, is a high
17      risk option, right?
18      A.    It's -- yeah. We were laying out for our board, we were
19      educating for our board the various forms of partnership, and
20      the different levels of risk that went with each of those.
21      Q.    And number four is what JetBlue chose, right?
22      A.    Yes. I mean, we obviously did not include our London
23      flying, but in terms of scope, the four NEA airports, yes, we
24      ended up looking closer to option 4.
25      Q.    Well, you didn't have any London flying in June of '20,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 213 of 275
                                                                          213




 1      right?
 2      A.    No. But we started two months later, so we were all --
 3      already well on the way to we had announced it.
 4      Q.    And American had a whole lot of London flying that is
 5      included in the NEA, right?
 6      A.    Yes.
 7      Q.    All right. And now number 4 is the NEA, right,
 8      basically? Do you agree with that?
 9      A.    Yes. Close enough, yeah.
10      Q.    So do you agree that JetBlue has taken a pretty big risk
11      here?
12      A.    No, I don't believe we've taken a big risk, because part
13      of this board that was making sure that we had mitigations
14      for the risks before we entered into the agreement.
15      Q.    You chose the highest risk option on this chart, right?
16      A.    Well, we chose the -- I think it's important to recognize
17      what JetBlue was trying to accomplish. We were trying to
18      compete in New York against two airlines much larger than us
19      at the time, and we were trying to ensure that we had a long
20      term viable position in Boston that could be successful, as
21      Delta continued to grow and focus on growing here.
22                   So we felt, when we looked at the benefits for the
23      transaction for JetBlue, that providing we found ways of
24      mitigating the risks, it was the part that we felt was best
25      for us to take.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 214 of 275
                                                                          214




 1                    MR. DAVIS: All right. Your Honor, the next
 2      question that I want to ask about is about transfer payment
 3      for 2021 and I wanted to ask if I could have a brief word
 4      with counsel.
 5                    THE COURT: Sure.
 6                    MR. DAVIS: Thank you.
 7                    MR. SCHWED: Are we finished on this one?
 8                    MR. DAVIS: Yes. We're finished with that.
 9                    (Counsel confers.)
10                    MR. DAVIS: That's all, Your Honor.
11                    THE COURT: No more questions?
12                    MR. DAVIS: No, no.
13      BY MR. DAVIS:
14      Q.     Mr. Hayes, by the second half of 2021, it was becoming
15      clear that under the MGIA formula, JetBlue was going to owe a
16      lot of money in a transfer payment to American Airlines,
17      right?
18      A.     Yes.
19      Q.     More than $100 million?
20      A.     Yes.
21      Q.     And that's not what you had expected when you signed the
22      NEA?
23      A.     Yes.
24      Q.     And when did you first become aware in '21 that JetBlue
25      potentially faced 100 plus million transfer payment to
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 215 of 275
                                                                          215




 1      American under the MGIA?
 2      A.    Yeah, the context of that was that the -- two things had
 3      really significantly impacted us, really, because of COVID.
 4      First of all, the international long-haul markets which is
 5      what American had invested in and grown at JFK and Boston
 6      were still very slow to recover. There were still a lot of
 7      government travel restrictions including here in the US. And
 8      the second element was just the much slower recovery of
 9      business travel. Those were the two elements of partnership
10      that we were really looking for American to deliver on, and
11      those were the two things that were most impacted by COVID.
12      So that's what drove this kind of really exceptional one-off
13      flow.
14                   It's something that we were talking about as we
15      went into the middle of the year, to answer your question.
16      But I would say it never really -- it never was something
17      that I didn't feel that we would end up resolving.
18      Q.    So let's look at plaintiff Exhibit 770, about revenue
19      update that's in evidence, Your Honor.
20                   That's an e-mail chain, with the top e-mail dated
21      October 19, 2021. Do you see that, Mr. Hayes?
22      A.    Uh-huh. Yes.
23      Q.    And that's an e-mail chain between you and Scott
24      Laurence, again, dated October 19th, '21?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 216 of 275
                                                                          216




 1      Q.    And you've had a question to Mr. Laurence in response to
 2      a weekly revenue update, correct?
 3      A.    Yes.
 4      Q.    And you asked for the rationale behind the $20 million
 5      MGIA payment for the fourth quarter of '21?
 6      A.    Yes.
 7      Q.    And Mr. Laurence replies to you that American is pushing
 8      for a payment of 50 million and JetBlue is targeting a
 9      payment of 15 million, so 20 million seems appropriate,
10      right?
11      A.    Yes.
12      Q.    Now, that 20 million amount is a compromise amount to
13      settle a claim, correct?
14      A.    Yes, it is.
15      Q.    15 million and 50 million were actually considerably less
16      than the transfer payment actually due under the MGIA formula
17      for the full year of '21, right?
18      A.    Yes, I think everyone recognized that what drove that
19      transfer payment was sort of once in a generational issue due
20      to COVID and it was not normal. It was not the normal course
21      of business. And, you know, we ended up working on something
22      that was, I think, closer to something that we had originally
23      expected.
24      Q.    And so the actual MGIA revenue formula yielded transfer
25      payment obligation of more than $200 million. Is that
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 217 of 275
                                                                          217




 1      correct?
 2      A.    I can't remember the exact number, but it was -- it was
 3      well over $100 million.
 4      Q.    You don't remember the exact number?
 5      A.    I don't.
 6      Q.    You don't remember whether it was over 200 million?
 7      A.    No. Because as I say, it was never really something that
 8      was seriously discussed.
 9      Q.    Okay. And looking to your reply, you write in this
10      e-mail, "Thanks on the MGIA, my question is really the math
11      behind the forecast. I want to understand how we are
12      modeling this, given the numbers getting larger, which is
13      hopefully a good thing, the large difference between our
14      power modeling and AA's is probably worthy of analysis in
15      itself, as that is a wide spread." Right?
16      A.    Yes.
17      Q.    You're saying JetBlue and American are modeling different
18      forecasts for the quarterly transfer payment?
19      A.    Well, again, I think you have to remember the period we
20      were in. It was 2021; the industry was still largely
21      impacted by COVID. There were big changes every month -- or
22      I should say big changes on small basis every month. We were
23      all wondering when business travel was going to recover. Is
24      the CDC and the US government going to lift its international
25      restrictions? And so, you know, frankly, as we were working
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 218 of 275
                                                                          218




 1      through this and this was a new agreement, it was something
 2      that was subject to a lot of change and uncertainty. And in
 3      fact, if my memory serves me correctly, we actually agreed to
 4      delay starting the MGIA for a quarter or two, just to try to
 5      get some normality.
 6      Q.    But you still had an obligation of, you say, more than
 7      $100 million, right?
 8      A.    Well, again, what I'm going to -- we're in the middle of
 9      COVID. We had an obligation to Airbus to buy billions of
10      dollars of airplanes that Airbus deferred, because when
11      you're in these exceptional times, contracts don't always
12      foresee these things, and you have to react with the parties
13      in front of you.
14      Q.    So the growth incentive formula with the MGIA, in this
15      case, resulted in an obligation from JetBlue to make a
16      transfer payment of more than $100 million to
17      American Airlines, right?
18      A.    Yes. But again, that was something that was -- none of
19      my team ever had a concern that that was even close to
20      something that would end up turning out like it did.
21      Q.    But you're two businesses, right?
22      A.    Yes.
23      Q.    And you're maximizing profits for shareholders, right?
24      A.    Yes.
25      Q.    And you've negotiated an agreement?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 219 of 275
                                                                          219




 1      A.    Yes.
 2      Q.    One of whose purposes is to incentivize growth by means
 3      of this very transfer payment, right?
 4      A.    Yes. Again, I think you have to recognize the time that
 5      we were in with COVID. It was an exceptional time. And I
 6      would say if you look at most companies or organizations, all
 7      of them had to make some pretty big changes to what they had
 8      expected to happen.
 9      Q.    And for your whole history, you were competing against
10      American Airlines, right?
11      A.    Yes.
12      Q.    But by fall of '21, you weren't even worried about this.
13      Is that what you're saying?
14      A.    Worried about the --
15      Q.    You weren't worried that you were actually going to have
16      to pay any real money to American Airlines under the MGIA
17      formula?
18      A.    No, because I think the issues that had gone on with
19      COVID I think were well known, they were well publicized.
20      And so, you know, as -- I think both parties recognized it
21      was throwing up an exceptional one-off result.
22      Q.    How much did JetBlue actually pay American in transfer
23      payments for 2021 total?
24      A.    I believe it was 20 million.
25      Q.    20 million. You're not sure of the amount?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 220 of 275
                                                                          220




 1      A.    The sum was paid the following year. I just don't know
 2      how it broke up by quarters.
 3      Q.    But you agree that American gave you a substantial
 4      discount, correct?
 5      A.    No. I think that the way I look at it is COVID threw out
 6      some exceptional events, and the parties reached an
 7      understanding, as many parties do all the time, on
 8      differences when they arise.
 9      Q.    And American let you off the hook for more than
10      $100 million that you owed them under the terms of the NEA,
11      right?
12      A.    Well, again, this issue didn't even escalate to my desk
13      as an issue. It was resolved very -- it was resolved at a
14      much lower level in the organization, because everyone
15      recognized COVID threw off some exceptional results.
16      Q.    Did you feel beholden to American for saving JetBlue
17      millions of dollars for the debt that you owed them?
18      A.    Not at all.
19      Q.    Aren't you grateful that they forgave that debt?
20      A.    No.
21      Q.    Is it your understanding that American wants the NEA to
22      continue, so they're willing to write-off a debt of that
23      magnitude?
24      A.    Well, we wanted the NEA to continue, too.
25      Q.    You both wanted it to continue, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 221 of 275
                                                                          221




 1      A.    Yes.
 2      Q.    Okay. And the only instance that we have so far of a
 3      full year of the MGIA formula operating is 2021, right?
 4      A.    Yes.
 5      Q.    And in that instance, you just kind of brushed it into
 6      the waistband, right?
 7      A.    Well, I don't know. I mean, it was something that
 8      happened, and the parties reached a conclusion.
 9      Q.    Right.
10      A.    And again, I don't think we can -- I had much bigger
11      concerns than that, in terms of some of our contractual
12      commitments to Airbus and some other parties. COVID was a
13      devastating things for airlines.
14      Q.    Fair enough. Let's talk a little bit about aircraft
15      funding. Are you familiar with the concept of aircraft
16      funding?
17      A.    I am.
18      Q.    And what does aircraft funding mean?
19      A.    Well, it can mean how do you finance or pay for
20      airplanes, or it could mean do you have airplanes to fly a
21      particular market or a route.
22      Q.    And in the situation where you're making network plans
23      and you need to come up with airplanes to fly new routes or
24      additional routes, you have to fund with airplanes from other
25      places, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 222 of 275
                                                                          222




 1      A.    Not necessarily.
 2      Q.    But you may have to, correct?
 3      A.    You can buy new airplanes, you can lease airplanes. You
 4      can extend the time of airplanes, you can fly airplanes more
 5      hours per day, and you can fund airplanes like that.
 6                   For example, if JetBlue was to -- if we were to fly
 7      every airplane another 40 minutes a day, we would probably
 8      generate about 15, 16 incremental airplanes.
 9      Q.    Are you familiar with the idea of harvesting aircraft
10      from your network?
11      A.    Yes. We use the term "harvesting" or redeploying.
12      Q.    All right. And in the context of the NEA, you knew that
13      new NEA flying would not just materialize out of thin air,
14      right?
15      A.    You're referring to the extra slots that we picked up?
16      Q.    Well, new routes that you're try flying in the NEA.
17      A.    Yes, those -- yeah, that would be the airplanes.
18      Q.    The airplanes to fly those don't just appear. They have
19      to come from somewhere. That's what you just said, right?
20      A.    Right.
21      Q.    You have to make other arrangements to make that happen?
22      A.    Yes.
23      Q.    And obviously when you shift an airplane from one market
24      to start flying in a new market, that airplane is no longer
25      flying in the original market, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 223 of 275
                                                                          223




 1      A.     Yes.
 2      Q.     And whatever revenues that airplane was generating in the
 3      old market are no longer being earned, right?
 4      A.     Yes.
 5      Q.     Would you also agree that to accurately evaluate the NEA,
 6      you have to identify the effects that truly are caused by the
 7      NEA?
 8      A.     I'm sorry; could you clarify that question?
 9      Q.     That is, to accurately evaluate the effects of the NEA,
10      you have to identify the effects that truly are caused by the
11      NEA. We agree on that, right?
12      A.     I'm not sure what you --
13      Q.     That is, if you say something is a benefit of the NEA --
14      A.     Yes.
15      Q.     -- that benefit has to be something truly caused by the
16      NEA?
17      A.     Yes. Yes.
18      Q.     And that wouldn't have happened anyway, right?
19      A.     Right.
20      Q.     All right. And you'd have to exclude effects. When
21      you're evaluating the effects of the NEA, you have to exclude
22      effects that would have come about whether or not the
23      Northeast Alliance was formed, right?
24      A.     Yes.
25      Q.     All right. So let's look at plaintiff Exhibit 492, which
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 224 of 275
                                                                          224




 1      is in evidence, briefly.
 2                    THE COURT: Hold on one second.
 3                    Go ahead.
 4      BY MR. DAVIS:
 5      Q.    This is an e-mail from June 2, 2020, Mr. Hayes?
 6      A.    Yes.
 7      Q.    And this is an e-mail to you from Andrea Lusso in the
 8      month before the NEA was announced. Right?
 9      A.    Yes.
10      Q.    And Mr. Lusso is sending a network briefing about Project
11      Connie ahead of the clean team's briefing the next day,
12      right?
13      A.    Yes.
14      Q.    And you say you are going to spend the next couple of
15      hours on this?
16      A.    Yes.
17      Q.    And you note that your numbers are slightly different,
18      right?
19      A.    I'm not quite sure that -- I can't recall the context of
20      the e-mail.
21      Q.    All right. But you say "not enough to be a problem." Do
22      you see that? "My numbers are slightly different, but not
23      enough to be a problem"?
24      A.    Yeah, I'm not sure which numbers I was referring to.
25      Q.    Okay.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 225 of 275
                                                                          225




 1      A.    Yeah.
 2      Q.    But then you say, "So much is buried in assumptions,"
 3      right?
 4      A.    Yes.
 5      Q.    And then you write, "One clarifying question, which
 6      perhaps explains it, how do you reconcile the JFK slots that
 7      we had already secured from American Airlines" -- remember
 8      that?
 9      A.    Yes.
10      Q.    -- "with what is in here as the increase in JFK flying is
11      less than I'd expected, but perhaps you have it in the base
12      already," right?
13      A.    Yes.
14      Q.    And the JFK slots you had already secured from
15      American Airlines were slots that you reached agreement on in
16      January of 2020, right?
17      A.    Yes. I can't recall exactly what the status of those
18      slots were in January, but we had been talking to American
19      about a slot lease agreement in JFK.
20      Q.    And what do you mean by having it in the base already?
21      What does a base refer to?
22      A.    Well, so I'll answer this question with a bit of
23      trepidation, because I can't quite exactly remember what I
24      was saying, but to the best of my recollection, part of what
25      we were presenting was a significant increase in slots for
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 226 of 275
                                                                          226




 1      JFK, for JetBlue in New York. And I was just trying to
 2      understand how much of that was above and beyond what we may
 3      have already been talking to them about leasing.
 4      Q.    Okay. All right. Now, on June 18, 2020, JetBlue
 5      announced 30 new routes in Newark. Do you recall that?
 6      A.    Yes, I do.
 7      Q.    So JetBlue is announcing 30 new routes in Newark less
 8      than a month before the NEA was announced, right?
 9      A.    Yes. That was actually part of a project called "Project
10      Reach," which was actually about 100 new routes in total, of
11      which about 30 were at Newark.
12      Q.    And, of course, Newark is a NEA airport, right?
13      A.    It is.
14      Q.    And when JetBlue announced those new flights, American
15      executives were not happy with you, correct?
16      A.    I don't know. I heard they weren't happy; but, frankly,
17      I didn't care.
18      Q.    You didn't care what they thought?
19      A.    No.
20      Q.    American was unhappy with you because if you just waited
21      a few weeks, you could have claimed that the 30 new routes at
22      Newark were part of the NEA, right?
23      A.    Well, again, JetBlue is going to act independently, and
24      we're going to do what's right for JetBlue. We were five
25      months into COVID. The airline industry was clinging from
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 227 of 275
                                                                          227




 1      its fingertips. We were trying to generate cash on a daily
 2      basis.
 3                   We were losing millions of dollars a day at this
 4      time. And frankly, we needed to go now. And what we were
 5      trying to do is find routes that we felt could generate some
 6      incremental cash to try to just sustain us a little bit
 7      longer.
 8      Q.    And more than all of that, Mr. Hayes, a claim that those
 9      30 routes in June of 2020, were NEA routes would have been
10      false, right? You weren't going to do that.
11      A.    Well, the NEA didn't stop in June of 2020.
12      Q.    Exactly, right?
13      A.    Yes.
14      Q.    All right. Let's talk a little bit about cost. JetBlue
15      has a lower cost structure than legacy airlines, right?
16      A.    Yes.
17      Q.    And JetBlue's lower cost structure is an important part
18      of the NEA. Would you agree?
19      A.    Yes.
20      Q.    That is, American, with higher costs, has been
21      unsuccessful flying many of their routes out of LaGuardia, in
22      particular.
23      A.    Yes. I mean, the higher costs you have, the more
24      dependent you are on higher unit revenues to make money.
25      Q.    And that's why American used small airplanes are sat on
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 228 of 275
                                                                          228




 1      slots at LaGuardia, right?
 2      A.    Yes. I would say they were playing defense in LaGuardia.
 3      Q.    But because JetBlue, because of a lower cost structure,
 4      could fly many of those LaGuardia markets more profitably,
 5      right?
 6      A.    Yeah, a combination of our low cost structure and also
 7      our lower fares stimulating the market and creating more
 8      demand.
 9      Q.    Now, the NEA is the largest undertaking JetBlue has ever
10      committed to. Would you agree?
11      A.    Yes.
12      Q.    And fair to say that it requires quite an investment to
13      implement it?
14      A.    Yes.
15      Q.    And those NEA investments have increased JetBlue's cost,
16      right?
17      A.    Well, if we look at the nature of the cost increases, I
18      would argue that these are good costs, because what we have
19      said is that the implementation of the NEA would increase our
20      cost by between two to four points a year.
21                   Most of that is in the decision to keep extra
22      aircraft to fly the NEA routes. So we deferred the timing of
23      30 Embraer 190s, which came at a cost, but it came at a cost
24      of keeping those airplanes, because we had previously
25      announced their retirement.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 229 of 275
                                                                          229




 1                  And secondly, because we're bigger and the NEA
 2      makes JetBlue bigger in the Northeast, our airport costs go
 3      up in the Northeast. But, again, that's directly linked to
 4      growth. It's a cost that's directly attributable to growth.
 5                  Where there was an investment of several million
 6      dollars which we wouldn't have had otherwise is in the IT
 7      systems and some of the investments we were making to create
 8      a more seamless experience between JetBlue and American
 9      customers. So I would say the vast majority of those costs
10      are directly attributable to the growth presented by the NEA.
11      Q.    All right. So you agree that the NEA has caused
12      JetBlue's unit cost to increase between 2 to 4 percent per
13      year?
14      A.    Yes, because we've added more capacity.
15      Q.    Okay. And another acronym, CASM -- C-A-S-M -- that
16      refers to cost per available seat mile, right?
17      A.    It does.
18      Q.    So with the implementation of the NEA, did JetBlue see
19      high increases in CASM?
20      A.    Well, we have seen a lot of increases in CASM this year,
21      as other airlines have. The vast majority of that actually
22      is not relevant to the -- directly linked to the NEA
23      investments. It's linked to just the lower aircraft
24      utilization, so we have fewer hours per day on the airplanes.
25      We have our fixed costs spread over less capacity.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 230 of 275
                                                                          230




 1                  We've seen significant labor cost increases this
 2      year. And we are still catching up, paying additional fees
 3      from airplanes that they deferred during COVID and that we've
 4      been catching up. So all of that together has created
 5      significant pressure on costs, of which some of the NEA costs
 6      are a part of that.
 7      Q.    But, again, you agree that the NEA is increasing
 8      JetBlue's unit cost 2 to 4 percent per year, right?
 9      A.    The growth is increasing the cost. So if I kept the 190s
10      and flown them outside of the NEA instead of retiring them, I
11      would have had the same cost increase.
12      Q.    All right. And so in 2021, did JetBlue senior leadership
13      look at various options to reduce costs?
14      A.    At what time? Sorry.
15      Q.    In 2021.
16      A.    Actually, that process start indeed January 2020 -- in
17      February/March 2020, with the onset of COVID.
18      Q.    But in earnest, in 2021, late '21, you were looking at
19      some new options to reduce costs, right?
20      A.    No. I would say, actually, most of our focus on costs
21      was the year before.
22      Q.    All right. Were you also looking at options to raise
23      revenues?
24      A.    Yes. Again, that's an ongoing process, but as we stepped
25      out of COVID -- and to give you a context, our revenue, in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 231 of 275
                                                                          231




 1      2021, from memory, was about $6 billion, and we would have
 2      expected that to be over $9 billion, and that was directly
 3      attributed to COVID.
 4      Q.    All right. So I'm not going to ask you about specific
 5      revenue-raising option. Okay? So don't mention that. All
 6      right?
 7      A.    Okay.
 8      Q.    That's confidential, by agreement, with JetBlue.
 9      A.    Okay.
10      Q.    All right?
11                    Would you agree that certain revenue-raising
12      options that you considered in 2021, perhaps in '20, would
13      have been unprecedented in JetBlue history?
14      A.    Well, I will take the -- I'll take the other booking
15      example. I don't mind sharing that. So JetBlue doesn't
16      overbook. We did look at whether we should start overbooking
17      again -- again, more driven by COVID, than anything else --
18      but we decided not to.
19                    And what I would say is we've done a number of
20      things over the years, in terms of we started charging for
21      bags. We've charged for change fees. We took change fees
22      away again. And, you know, it's an ongoing process of
23      review.
24      Q.    And what's overbooking, Mr. Hayes?
25      A.    Overbooking is where you sell more seats on a flight than
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 232 of 275
                                                                          232




 1      you have seats available.
 2      Q.    All right. And is that something American Airlines does?
 3      A.    Yes. So most airlines used to do a lot of it. There was
 4      a well-publicized incident several years ago from one of our
 5      competitors where someone was dragged off an airplane. After
 6      that, airlines damped that down very significantly. I think
 7      a little bit still goes on, but we've never done it.
 8                   And the challenge is that on every -- even a
 9      JetBlue flight, if we've got 150 seats, there's always a few
10      people that don't show up. And so, in theory, you are
11      leaving money on the table by not overbooking; however, you
12      know, we've always been of the view, if a customer buys the
13      seat, they should have the right to that seat if they turn
14      up.
15      Q.    All right. So let's look at Plaintiffs' Exhibit 821.
16      And this is in evidence.
17      A.    Yes.
18                   THE COURT: Do you want this displayed?
19                   MR. DAVIS: Your Honor, I'll just ask the question.
20      I'd ask not to publish at this point.
21                   THE COURT: All right.
22      BY MR. DAVIS:
23      Q.    Do you see 821 in front of you, Mr. Hayes?
24                   THE COURT: In your book.
25                   THE WITNESS: Oh, in my book. Sorry.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 233 of 275
                                                                          233




 1                    821?
 2                    MR. DAVIS: Yes.
 3                    THE WITNESS: Yes, I've got it.
 4      BY MR. DAVIS:
 5      Q.    And you see the first bullet labeled "revenue" that
 6      Dave -- and that's Dave Clark -- is working some revenue
 7      options, right?
 8      A.    I'm sorry; I might be on the wrong one. What number did
 9      you say?
10      Q.    This is 821.
11      A.    Oh, yeah, sorry. I went to 841. Apologies.
12      Q.    Okay.
13      A.    Yes, I've got it. I have it.
14                    MR. DAVIS: And counsel will advise, if counsel
15      objects. I just want to ask the one sentence.
16                    MR. SCHWED: Yeah, we're actually okay with this
17      document, from a confidentiality point of view.
18                    MR. DAVIS: Okay. So we can publish the full
19      document.
20                    THE COURT: All right.
21      BY MR. DAVIS:
22      Q.    Do you see "Revenue," that first paragraph?
23      A.    Yes.
24      Q.    You see, "Dave is working some other revenue options --
25      e.g., overbooking, removal of bag guarantee, and other
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 234 of 275
                                                                          234




 1      ideas -- so we can see what they're worth" --
 2      A.    Yes.
 3      Q.    -- right?
 4      A.    Yes.
 5      Q.    "Dave is" --
 6                   MR. DAVIS: And can you blow up below that further,
 7      please, the line below?
 8      BY MR. DAVIS:
 9      Q.    -- "to close any gap we may have, while keeping our fares
10      low," right?
11      A.    Yes.
12      Q.    And then you say, "With the NEA, we have to look at
13      overbooking again," right? Right?
14      A.    Yes.
15      Q.    So JetBlue is evaluating whether to change a long-held
16      policy in order to offset NEA costs, right?
17      A.    Yes.
18      Q.    And you actually recommended that JetBlue change that
19      policy?
20      A.    No. I said we should look at it.
21      Q.    Okay. And ultimately, to be clear, that policy was not
22      adopted, right?
23      A.    Yeah. So I would say in my time with JetBlue, we've
24      looked at overbooking every three to four years to see if
25      it's worth it. With a largely leisure customer group basis,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 235 of 275
                                                                          235




 1      they tend to turn up.
 2                   One of the reasons we wanted to enter into the NEA
 3      was to improve our access to corporate customers. And, you
 4      know, we know people will take a booking on a
 5      Boston-LaGuardia at 4:00, 5:00, and 6:00, and there's only
 6      one of them. And so you end up flying a lot of empty seats
 7      if you don't overbook.
 8                   So what I was trying to express there was, as we
 9      were successfully are getting more access to corporate
10      travelers, we're going to see more no-shows, and we might
11      have to look at overbooking. But we've made absolutely no
12      decision at this point to do that.
13      Q.    Okay. JetBlue also adopted in February of '21 something
14      called "Fare Options 2.1," right?
15      A.    Yes.
16      Q.    And before, JetBlue had always allowed its passengers one
17      free carry-on bag, right?
18      A.    Yes.
19      Q.    And in Fare Options 2.1, it announced in February of '21,
20      you eliminated the free carry-on bag for Blue Basic
21      customers, right?
22      A.    Yes.
23      Q.    The only way for Blue Basic customers to have a carry-on
24      bag is now to purchase the higher priced Blue fare, right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 236 of 275
                                                                          236




 1      Q.    So JetBlue eliminated a free carry-on bag for the first
 2      time, the same month that it began to implement the NEA,
 3      right?
 4      A.    Yes. I mean, the timing was co-incidental. We had taken
 5      the decision to make those changes a long time before,
 6      because the IT development takes time. And it was -- we made
 7      some other changes, like removing change fees for our Blue
 8      fares as well.
 9      Q.    So fare options 2.1 has proved lucrative for JetBlue,
10      correct?
11      A.    Well, it's been helpful.
12                   I will point out that we are -- still have not made
13      a profit in either Q1 or Q2 this year. We've been
14      unprofitable for ten quarters. So I'm not sure I'd use the
15      word "lucrative," but it's been beneficial and helpful to
16      make sure we get through COVID.
17      Q.    Well, let's talk about it. So --
18                   MR. DAVIS: And, Your Honor, I probably have ten-
19      to 15-more minutes, and then I'm done with direct.
20                   THE COURT: All good. We're going to 4:30 today.
21      BY MR. DAVIS:
22      Q.    Showing you next PX438 -- 438.
23      A.    Yes.
24      Q.    And that's from your first-quarter earnings call,
25      April 26th of '22. That's this year. In evidence.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 237 of 275
                                                                          237




 1                   THE COURT: I'm sorry, what exhibit did you say?
 2                   MR. DAVIS: I'm sorry, Your Honor, it's PX438.
 3                   THE COURT: Ms. Belmont might need to interrupt for
 4      a moment. Apparently there's a problem with the Zoom. If
 5      she does, just to make an announcement for the people on the
 6      Zoom when they reconnect. But she'll do that if she needs
 7      to.
 8                   Go ahead. 438.
 9      BY MR. DAVIS:
10      Q.    Do you have it, Mr. Hayes?
11      A.    Yes.
12      Q.    Do you recognize this as the 2022 first-quarter earnings
13      call for JetBlue?
14      A.    Yes.
15      Q.    And in those earnings calls, you and --
16                   THE COURT: You can go ahead.
17                   THE WITNESS: That wasn't me.
18                   MR. DAVIS: I didn't know where that came from.
19      BY MR. DAVIS:
20      Q.    In an earnings call, you and other executives give
21      presentations for investors and take questions, right?
22      A.    That's right.
23      Q.    And turning to page 3, in the sixth paragraph, you
24      said -- and it begins, "To help." "To help restore our
25      operational reliability, we are reducing our capacity growth
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 238 of 275
                                                                          238




 1      even further as we plan more conservatively for the summer
 2      and make investments to derisk the operation." Right?
 3      A.    Yes.
 4      Q.    So JetBlue had already reduced capacity in the spring,
 5      right?
 6      A.    That's correct.
 7      Q.    And a lot of that had to do with pilot shortages?
 8      A.    Pilot training and pilot retention, more than pilot
 9      shortages.
10      Q.    Okay.
11      A.    But also some of the fragility in the external
12      environment, like air traffic control. So, for example, in
13      the first 20 days of April, because of the shortages in the
14      Jacksonville control center, we were in ground delay
15      programs, which are air traffic control delays, for 115
16      hours. And no one felt it more than our customers here in
17      Boston.
18      Q.    So you reduced capacity in the spring, right?
19      A.    Yes.
20      Q.    And now you're announcing additional capacity reductions
21      in the summer, right?
22      A.    Well, we -- yes. We made most of our -- what we did was
23      once we started to see the issue occur, the way we schedule
24      is a month at a time. So we dealt with the months that were
25      in front of us. And then as we got into the summer, we
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 239 of 275
                                                                          239




 1      continued to roll those capacity reductions through the rest
 2      of the year. So they weren't additional in that we cut it
 3      once and then we cut it again; it was more of a rolling cut
 4      as we continued to get through the year.
 5      Q.    So you had projected over 2019, and is it fair to say
 6      that because of COVID, 2019 is kind of used as a comparison
 7      year in airline planning a lot?
 8      A.    It is the last year that existed in airline planning
 9      terms.
10      Q.    So you had originally projected capacity growth over 29
11      at 11 to 15 percent for this period of 22; is that right?
12      A.    That's correct.
13      Q.    And you revised that projection from 11 to 15 percent
14      growth to 1 to 5 percent, right?
15      A.    That is correct.
16      Q.    So that's a reduction of about ten percentage points,
17      right?
18      A.    Yes.
19      Q.    And on pages 13 and 14, so a good bit further in this
20      earnings call, you're discussing the growth in New York. Do
21      you see that? At the very bottom of 13 and on to 14.
22      A.    Yes, I have it.
23      Q.    And you say, "In terms of the growth in New York, one of
24      the areas that we have been adjusting is Newark."
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 240 of 275
                                                                          240




 1      Q.    "And we have some of the capacity changes that we make
 2      have reduced our flying in and out of Newark," right?
 3      A.    Yes.
 4      Q.    "Obviously from the JFK and LaGuardia perspective, with
 5      just slotted airports, that is something that's much harder
 6      to do." Right?
 7      A.    Yes.
 8      Q.    So in making these capacity cuts you're announcing that
 9      JetBlue is planning to decrease capacity at Newark Airport,
10      right?
11      A.    Yes.
12      Q.    But JetBlue is not making adjustments at JFK or
13      LaGuardia, right?
14      A.    Yes. We couldn't make adjustments at JFK, LaGuardia, or
15      DCA because they were slotted airports.
16      Q.    So that's much harder to do, as you said, right?
17      A.    Well, if you do it, you lose the slot.
18      Q.    So that's one thing you're not going to do, right?
19      A.    We're not going to do that unless we get a waiver to do
20      it.
21      Q.    All right. And so you have to fly those NEA routes or
22      risk losing slots potentially to other airlines, right?
23      A.    Yeah. So in LaGuardia and JFK, which are NEA markets,
24      yes. And DCA obviously has the same constraint, which is a
25      nonNEA market.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 241 of 275
                                                                          241




 1      Q.    And some of those slots are from American Airlines,
 2      right?
 3      A.    Yes.
 4      Q.    So now you're covering American Airlines slots at JFK and
 5      LaGuardia, right?
 6      A.    Well, we're treating them like our own slots.
 7      Q.    Right and you're prioritizing covering those slots at the
 8      expense of other flying. Do you agree?
 9      A.    Yeah. And I think you will find that that's something
10      every airline has done in terms of protecting flights at
11      slotted airports. Again, JetBlue is not alone in making
12      these reductions as I think you're aware. Almost all US
13      airlines this year have reduced their capacity over what was
14      originally planned.
15      Q.    And so, in effect, now you're sitting on slots that used
16      to be American Airlines slots, right?
17      A.    Well, we're flying them. I mean, I think you're
18      co-mingling terms, because normally you use the word
19      "sitting" because I'm holding a slot, but I'm not flying it.
20      In this case, we're flying the slot. So I don't view that as
21      sitting.
22      Q.    But in Newark, where there aren't slots you're reducing?
23      A.    The issue at Newark was actually much bigger than slots.
24      Newark has been the most delayed airport in the country. We
25      were originally due to move into a new terminal in the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 242 of 275
                                                                          242




 1      summer. That terminal was delayed. It's still not opened.
 2      And the port authority was very appreciative of our agreement
 3      to delay, to reduce flying in Newark. And United Airlines
 4      also, as you've seen, has done the same thing. It is a very
 5      challenged airport at the moment.
 6      Q.    So now in 2022, JetBlue's projected overall capacity
 7      growth for the year is zero to three percent; is that right?
 8      A.    Yes. I mean, that's approximately right.
 9                   THE COURT: As compared to 2019.
10      BY MR. DAVIS:
11      Q.    Correct?
12      A.    Compared to 2019.
13      Q.    So we have the NEA, right?
14      A.    Yes.
15      Q.    And we're kind of coming out of COVID, right? And you're
16      now at zero to three percent capacity growth, right?
17      A.    Yes. Which is still one of the few airlines growing in
18      the US over 2019.
19      Q.    All right. In JetBlue's earnings call for the second
20      quarter of 2022, you also talked about record revenue growth
21      at the top end of our original guidance range, correct?
22      A.    Yes.
23      Q.    And you also refer to a record quarterly revenue result
24      for JetBlue, right?
25      A.    Which one are you -- I'm sorry, which --
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 243 of 275
                                                                          243




 1      Q.    Your second -- your first half of 2022, your earnings
 2      call for the second quarter of 2022. Do you remember the
 3      record revenue growth that you announced?
 4      A.    That's not in this transcript, though, right?
 5      Q.    Correct.
 6      A.    Okay. Yes, so we had a good revenue quarter. However,
 7      it was still unprofitable.
 8      Q.    So capacity is down, but revenue is record high, right?
 9      A.    Yes. Capacity was down on 2019. Our cost was
10      significantly up and revenues were up.
11      Q.    And JetBlue's capacity cuts with any -- in the NEA are
12      now made in coordination?
13                  THE COURT: I'm sorry, revenue up as compared to
14      2019.
15                  THE WITNESS: Yes, in terms of unit revenues were
16      up, Your Honor.
17                  THE COURT: Okay. Go ahead. Sorry.
18      BY MR. DAVIS:
19      Q.    And JetBlue's capacity cuts within the NEA are now made
20      in coordination with American Airlines, right?
21      A.    Well, not really. Not -- I mean, before anything,
22      JetBlue had about 1,000 flights a day. We effectively cut
23      10 percent. So we went down to 900 flights a day. If you
24      look at how many of those flight are in and out of slotted
25      airports, whether they are NEA or nonNEA that we can't
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 244 of 275
                                                                          244




 1      reduce, it's 550, so in effect, that 100 flight reduction
 2      that we did for operational reasons fell over the 450 flights
 3      that we have outside. So Boston was impacted, New York was
 4      impacted, Fort Lauderdale was impacted, Orlando was impacted.
 5      But it was not directly linked to the NEA, it was linked to
 6      which airports were slotted.
 7      Q.    Let's talk briefly about transatlantic. JetBlue has long
 8      held aspirations, as we said, to fly transatlantic, right?
 9      A.    Yes.
10      Q.    And in 2019 you announced plans to fly to London from
11      Boston and New York City?
12      A.    Yes.
13      Q.    But that plan depended on JetBlue's ability to obtain
14      so-called remedy slots at Heathrow in Boston -- I'm sorry, in
15      London, right?
16      A.    No.
17      Q.    It did not? But JetBlue had an opportunity to obtain
18      four slot pairs from the CMA?
19      A.    Yes. But you asked me if it depended on that plan, and
20      it didn't.
21      Q.    Fair enough. You were going to find some other way?
22      A.    Which we did.
23      Q.    Okay. But you had an opportunity in 2020 to win four
24      prime slot pairs through the CMA at the U K Competition and
25      Market Authority, right?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 245 of 275
                                                                          245




 1      A.    Well, that was an option, but I also think that we have
 2      to recognize that those slots potentially came with
 3      conditions. So we thought that those remedy slots were
 4      originally to bring competition from Dallas to London, from
 5      Philadelphia to London, so it was not as straightforward as
 6      just adding a flight between JFK and Heathrow.
 7      Q.    Isn't that sour grapes, Mr. Hayes? Didn't you have every
 8      intention of winning those slots in the first part of 2020?
 9      A.    Do you know what I've learned in this business, is you
10      don't take -- you don't want to count on anyone else and
11      you've got to take action into your own hands. So as we went
12      into London, I didn't want to depend on a regulator, that was
13      one path we had, certainly, but we had three other paths that
14      we were pursuing for Heathrow slots. Many people doubted
15      that we could get them and JetBlue is now the proud operator
16      of two Heathrow slots.
17      Q.    Actually, very few people doubted that JetBlue was going
18      to win the four slots as of early 2020. You had, by far, the
19      best application, right?
20      A.    Well, again, that's something that you would have to ask
21      the CMA.
22      Q.    Well, you knew -- you had been working on this for two
23      years and you knew you were very well positioned to win those
24      four slots, right?
25      A.    Again, we didn't know what conditions might come of those
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 246 of 275
                                                                          246




 1      slots. So, for example, would we have to put a flight from
 2      Dallas to JFK, and JFK to London? We had a number of
 3      pathways and we never had all our eggs in one basket, and
 4      we -- other pathways came through. So we did not need the
 5      remedy slots. And frankly, if those remedy slots had come
 6      with conditions, we may not have taken them anyway and
 7      pursued these other pathways.
 8      Q.    So you were in prime position to win the slots, but then
 9      you were denied them in late 2020, right?
10      A.    The CMA, yes, they awarded them to -- they awarded one
11      slot to United Airlines from Boston to Heathrow and then they
12      deferred the other slots.
13      Q.    And you certainly appealed that decision denying those
14      slots, right?
15      A.    Yes.
16      Q.    You made a whole other attempt that got turned down in
17      June of '21, right?
18      A.    Yes.
19      Q.    All right. So you're still trying, even though you have
20      other possibilities?
21      A.    We're never going to give up. But we have two slots at
22      Heathrow -- and by the way, as I've made all my public
23      comments about, it wasn't just about flying to Heathrow, we
24      sought a path to more than one London airport. We've also
25      been able to secure permanent slots at Gatwick.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 247 of 275
                                                                          247




 1      Q.    The reason JetBlue was ineligible for Heathrow remedy
 2      slots from the CMA was because JetBlue was no longer
 3      considered a new entrant due to its alliance with
 4      American Airlines, right?
 5      A.    That's the explanation the CMA gave us.
 6      Q.    In other words, now you're in partnership with
 7      American Airlines, so you're not really independent?
 8      A.    I disagree with that analysis, but that's the --
 9      Q.    But that was the reason they gave you, right?
10      A.    That's the reason that they gave us, yeah.
11      Q.    So without the NEA, JetBlue would have been a new
12      entrant, but the partnership meant that you no longer were a
13      new entrant, right?
14      A.    Again, that was their analysis.
15      Q.    And JetBlue leadership, including you, recognized, when
16      it formed the NEA, there was a significant risk that
17      membership in the NEA would disqualify you from receiving
18      those remedy slots, right?
19      A.    Yes. And -- yes, that's true.
20      Q.    But you went forward with the NEA, anyway, right?
21      A.    Because I had other pathways to Heathrow slots.
22      Q.    All right. And so JetBlue has begun its own London
23      service now from Boston and New York City?
24      A.    Yes.
25      Q.    And Boston starts when?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 248 of 275
                                                                          248




 1      A.    Boston-Heathrow started, actually, on the 20th of
 2      September.
 3      Q.    So Boston's just started in September of '22, right?
 4      A.    Yes.
 5      Q.    And you have two slots, you said, in Heathrow?
 6      A.    Yes.
 7      Q.    You could have won four slots from the CMA, right?
 8      A.    Well, again, I don't -- I don't know that, whether we had
 9      got all of those, and whether those slots would have come
10      with conditions of serving from Philadelphia and Dallas and
11      other markets that we had no interest in doing.
12      Q.    And those slots were at peak hours, correct?
13      A.    I'm not quite familiar with the timing, but the slots we
14      have today at Heathrow are peak slots.
15      Q.    But the four slots are gone, right?
16      A.    Well, we're going to -- they've been deferred. There
17      will be an application again in the future and we'll apply
18      again.
19      Q.    And your market share of transatlantic from Heathrow is
20      quite small, right?
21      A.    Yes.
22      Q.    Would you agree that the NEA really had a negative impact
23      on JetBlue's entry in the transatlantic flying?
24      A.    No.
25      Q.    Would you agree that impact was harmful?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 249 of 275
                                                                          249




 1      A.    I didn't agree there was any impact.
 2      Q.    I didn't say you did. I asked if you agree it was
 3      harmful?
 4      A.    The NEA.
 5      Q.    No. Would you agree that the -- the NEA has impacted
 6      your entry into transatlantic in a harmful way?
 7      A.    Not at all.
 8      Q.    All right. And now under the Northeast Alliance, JetBlue
 9      shares in positive incremental revenues from American's
10      transatlantic flying to London, right?
11      A.    Yes.
12      Q.    That's a pretty valuable stake to have, isn't it?
13      A.    Well, again, it depends on how it performs.
14      Q.    And there's an asymmetry in the NEA regarding
15      transatlantic, right? You've already talked about that.
16      A.    In terms of London's not in it, and the other routes are?
17      Q.    Yes. That is American's international flying out of New
18      York and Boston is within the scope of the NEA.
19      A.    Yeah. One of the attractions of the NEA for us is we do
20      not have the airplanes to get to most of Europe. The
21      airplanes we are flying to London are good for London.
22      They'll work to Paris. They'll work to Amsterdam. They'll
23      work to Dublin. But American brings us the rest of the
24      European network, so we can compete with Delta and United who
25      fly those markets with lot of width and depth.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 250 of 275
                                                                          250




 1      Q.    American's flying from London to New York City is, at
 2      least in normal times, a very profitable route, relatively
 3      speaking, right?
 4      A.    I would imagine so.
 5      Q.    It has been described as the most valuable route in the
 6      world, right?
 7      A.    British Airways did okay on it.
 8      Q.    And then there's a big high percentage of premium fares,
 9      right?
10      A.    There's a lot of premium fares, which is why we were so
11      keen to start flying it and bring them down.
12      Q.    And as you said American and its international JV
13      partners control a very high percentage of the traffic to
14      London, right?
15      A.    Well, you've got -- actually, it's BA/AA. It's Delta,
16      Virgin. I mean, they have a very large share between them.
17      Q.    And you've criticized that many, many times right?
18      A.    Yes.
19      Q.    But now you're profiting from it, right?
20      A.    Well, we have carved our own path to London and taking a
21      very sort of JetBlue maverick disruptor approach to do it
22      ourself and lower fares.
23      Q.    If JetBlue undercuts American's fares to London and
24      actually makes American's unit revenues lower, that would
25      negatively impact the revenues from American's flights that
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 251 of 275
                                                                          251




 1      you're now getting in the NEA, right?
 2      A.    I don't give any thought to that. We're doing what we
 3      want to do on London.
 4      Q.    In fact, if competition from JetBlue actually made
 5      American's flying less profitable transatlantic, JetBlue
 6      could end up owing a transfer payment to American to cover
 7      American's negative incremental revenue, right?
 8      A.    Well, you know what I would like to think, if we come on
 9      the market and lower fares and our competitors do, we
10      stimulate more demand, and everyone can make money at lower
11      fares.
12      Q.    You're making money without doing anything right now from
13      American's flying, right?
14      A.    We're not making any money at the moment. We've had ten
15      unprofitable quarters.
16      Q.    You will be, right?
17      A.    Well, I hope so. I hope this quarter is better.
18      Q.    All right. So let's just look at Plaintiff Exhibit 940.
19      This is in evidence. It's a "Connie Pre Board Meeting
20      Touchpoint." June 23rd of '20.
21      A.    90?
22      Q.    I'm sorry, Mr. Hayes, Plaintiff Exhibit 940.
23      A.    Oh, yeah, I have it.
24      Q.    You see it's the Connie Pre Board Meeting Touchpoint?
25      A.    Uh-huh.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 252 of 275
                                                                          252




 1      Q.    And this shows, "Frequently asked questions and answers
 2      for JetBlue board members about the upcoming announcement of
 3      the NEA," right?
 4      A.    Yes.
 5      Q.    And you say, on the second page at the top, the "Key
 6      points of the deal"?
 7      A.    Yes.
 8      Q.    It says, "Joint venture, including capacity
 9      coordination," right?
10      A.    Yes.
11      Q.    "Powerful sales force agnostic to metal," right?
12      A.    Oh, the last point, yes.
13      Q.    And that means metal neutral, right?
14      A.    Well, again, I think the context is important. One of
15      the benefits that we were getting out of this is access to
16      American Airlines global sales force. I think our sales team
17      is five or six people. The legacy airlines have dozens, if
18      not hundreds of people working in sales around the world. So
19      the benefit here was getting access to the American sales
20      team, so that they could sell, whether it was JetBlue or
21      American.
22      Q.    And then at the bottom of that same page, the last two
23      questions, do you see those?
24      A.    Yes.
25      Q.    And one question is, "Where are we pulling the flying
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 253 of 275
                                                                          253




 1      from to support this flying," right?
 2      A.    Yes.
 3      Q.    But that's not answered, right?
 4      A.    Yes. Not here.
 5      Q.    And the last question is -- or the next-to-last question,
 6      "Does this alter our transatlantic strategy," right?
 7      A.    Yes.
 8      Q.    But there's no answer given for that question, right?
 9      A.    Well, the answer is no. And the answer is to the second
10      question is we delayed the time of 30 Embraer 190s, and then
11      we converted 30 to 20 options to fund deliveries to fund the
12      flying of the NEA.
13      Q.    All right. Mr. Hayes, lastly, I want to ask you a little
14      bit about Spirit Airlines.
15      A.    Yes.
16      Q.    Earlier this year, JetBlue made an offer to buy Spirit
17      Airlines, correct?
18      A.    We did.
19      Q.    And on July 28th of this year, JetBlue announced a
20      proposed 3.8 billion acquisition of Spirit Airways, which is
21      the nation's largest ULCC, correct?
22      A.    Yes.
23      Q.    And as CEO, you were involved in JetBlue's negotiations
24      with Spirit on that deal?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 254 of 275
                                                                          254




 1      Q.    And before signing that agreement, JetBlue had attempted
 2      to acquire Spirit through a hostile tender offer, correct?
 3      A.    Well, I don't like to think of it as hostile, because
 4      they put themselves up for sale and we decided to make a bid.
 5      But I understand others would call it hostile.
 6      Q.    You made a bid that was rejected in April, correct?
 7      A.    Yes.
 8      Q.    And that was an unsolicited bid to buy Spirit for
 9      3.6 billion in cash, right?
10      A.    Yes.
11      Q.    And JetBlue attempted that offer after Spirit had already
12      agreed to merge with Frontier Airlines, correct?
13      A.    Yes.
14      Q.    When did you become aware that Frontier had agreed to
15      acquire Spirit?
16      A.    When the news was made public earlier in the year.
17      Q.    And that was in February of 2022?
18      A.    Yes.
19      Q.    As of May of '22, early May, Spirit's board of directors
20      determined that your initial offer was not a, quote,
21      "superior proposal to Frontier's," right?
22      A.    Yes.
23      Q.    And they actually wrote you a letter, right?
24      A.    They did.
25      Q.    And I want to bring up PX439, which is also not in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 255 of 275
                                                                          255




 1      evidence.
 2                  THE COURT: So don't publish it.
 3                  MR. DAVIS: So don't publish.
 4                  THE COURT: 439?
 5                  MR. DAVIS: 439. It should be in your book,
 6      Mr. Hayes.
 7                  THE WITNESS: Okay. Thank you. Give me a second.
 8                  THE COURT: I don't think I have 439. 438 and 459.
 9                  MR. DAVIS: It should be 439.
10                  THE WITNESS: Yeah, I don't have it, either.
11                  MR. DAVIS: Okay. Can we bring it up and not
12      publish? Is that possible?
13                  THE COURT: We can bring it up on the witness'
14      screen, my screen, and the lawyers' screens.
15                  MR. DAVIS: I'm sorry, Your Honor. Is there an
16      objection to publication?
17                  MR. SCHWED: I have no objection to publication.
18                  MR. DAVIS: All right. Your Honor, I move to --
19                  THE COURT: So we'll just publish the whole
20      document to everyone.
21                  MR. DAVIS: I move to admit 439.
22                  THE WITNESS: Yes. I think I released it publicly,
23      anyway.
24                  MR. SCHWED: I have no objection to the admission
25      of 439, as long as it's not for the truth of the matter
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 256 of 275
                                                                          256




 1      asserted, the fact that it was -- that these statements were
 2      made by Spirit, I have no objection to it.
 3                  THE COURT: I'll certainly admit it for that now.
 4      I don't know what it is. So we'll see. If you want it for
 5      more than that, you can tell me after I look at it.
 6                  MR. DAVIS: May I have just a moment, Your Honor?
 7                  THE COURT: Yes. I just don't know what it is.
 8                  MR. DAVIS: It's a citizen 8-K filed by Spirit, and
 9      it includes a letter to Mr. Hayes from Spirit.
10                  THE COURT: All you care about is the letter or the
11      whole 8-K in terms of the truth?
12                  MR. DAVIS: Really it's the letter. And I -- we
13      may be able to agree on this.
14                  THE COURT: Yeah, talk to each other. That's fine.
15                  MR. SCHWED: Again, Your Honor, we're not denying
16      the letter was written, the fact that the letter was written.
17      It can be admitted for those facts, but there's a lot of
18      assertions in there made by Spirit and certainly we do not
19      accept those for the truth of the matter asserted. And
20      Your Honor, I don't think they need them for the truth of the
21      matter asserted, given how irrelevant the whole Spirit
22      transaction is to begin with.
23                  MR. DAVIS: Your Honor, we'll agree to admit it for
24      the limited purpose of showing notice to Mr. Hayes and not
25      for the truth of the matter asserted.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 257 of 275
                                                                          257




 1                  THE COURT: Fine. So 439, the letter is admitted
 2      for the fact that it was said and not for the truth and the
 3      fact that Mr. Hayes received it and was on notice of whatever
 4      it said.
 5                  (Plaintiff Exhibit No. 439 admitted into evidence.)
 6                  MR. DAVIS: Thank you, and thank you, Counsel.
 7      BY MR. DAVIS:
 8      Q.    As of May '22, again, Spirit's board of directors
 9      determined that JetBlue's offer was illusory. Is that right?
10                  THE COURT: You can publish -- I don't think any of
11      us have it on the screen.
12                  MR. DAVIS: Can we publish 439?
13                  THE WITNESS: Could you expand it a little bit?
14      BY MR. DAVIS:
15      Q.    And Mr. Hayes, what is this document?
16      A.    This was a press release that Spirit issued. Thank you.
17      This was a press release that they issued basically saying
18      that they did not constitute our proposal as a superior
19      offer, and then they attached in the press release the letter
20      that they sent to me, which actually, I read from the press
21      release.
22      Q.    So this is a personal letter to you, Robin Hayes, that's
23      in an 8-K filing of the --
24      A.    I think the personal -- did.
25      Q.    Did the letter come in the mail, Mr. Hayes?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 258 of 275
                                                                          258




 1      A.    I don't know. Probably.
 2      Q.    So will you agree with me that Spirit board of directors
 3      found an unacceptable level of closing risk with a low
 4      probability of receiving antitrust clearance so long as the
 5      NEA remains?
 6      A.    That's what they said.
 7      Q.    All right. And the letter notified JetBlue that it's
 8      then proposal was rejected, right?
 9      A.    Yes.
10      Q.    And the rejection was definitely in part because of the
11      NEA, right?
12      A.    That's what they claimed.
13      Q.    All right. And in the letter to you, near the end, do
14      you see the sentence beginning, "We struggle"? This is on
15      the next page.
16                   MR. SCHWED: I think you need to call up the next
17      page.
18                   THE COURT: Yeah, you have to call up the next
19      page.
20      BY MR. DAVIS:
21      Q.    At the bottom of the second full paragraph, do you see
22      that?
23                   MR. SCHWED: It might be helpful if --
24                   THE COURT: Blow it up.
25                   MR. SCHWED: You expand this a little. At least
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 259 of 275
                                                                          259




 1      for me. I'm having trouble seeing it.
 2                   THE COURT: It's the last sentence in that full
 3      paragraph.
 4                   MR. DAVIS: It takes a little while to come up.
 5      Sorry, Your Honor.
 6                   THE COURT: That's all right.
 7      BY MR. DAVIS:
 8      Q.    And you see the sentence beginning, "As you know,"
 9      Mr. Hayes?
10      A.    Yes, I do.
11      Q.    And the next sentence is -- well, what Spirit says is,
12      "As you know, Spirit and many other airline and air travel
13      constituencies have publically opposed the NEA on grounds
14      that it is anticompetitive."
15                   Right?
16      A.    Yes that's what it says.
17      Q.    And then, "We struggle to understand how JetBlue can
18      believe DOJ or a court will be persuaded that JetBlue should
19      be allowed to form any competitive alliance that aligns its
20      interest with a legacy carrier, and then undertake an
21      acquisition that will eliminate the largest ULCC carrier."
22                   Right?
23      A.    That's what it says.
24      Q.    That's what Spirit told you back in May of 2022, right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 260 of 275
                                                                          260




 1      Q.    Now, the Frontier deal was ultimately -- that's enough on
 2      that exhibit. Now, the Frontier deal was ultimately rejected
 3      by the shareholders, right?
 4      A.    Yes.
 5      Q.    And before that deal was abandoned, JetBlue offered
 6      Spirit and its shareholders better terms on a number of
 7      occasions, right?
 8      A.    Yes.
 9      Q.    The signed JetBlue/Spirit deal that has now been agreed
10      upon includes a 4 million reverse break-up fee, correct?
11      A.    Yes.
12      Q.    And JetBlue agreed to prepay a portion of its 400 million
13      break-up fee directly to Spirit shareholders, right?
14      A.    Yes.
15      Q.    The prepayment included $2.50 per share in cash on
16      initial approval, right?
17      A.    Yes.
18      Q.    And it also included an ongoing fee of ten cents every
19      month while the merger is pending, starting in January of
20      '23, right?
21      A.    Yes.
22      Q.    JetBlue's agreement to pay this reverse break-up fee to
23      Spirit was done at least in part because the proposed merger
24      with Spirit presents antitrust risk, right?
25      A.    Well, yeah. It is -- yes, and also the time of getting
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 261 of 275
                                                                          261




 1      regulatory approval was something that shareholders certainly
 2      had views about and I would also remind you that Frontier
 3      also improved its offer to include a reverse break-up fee, as
 4      well.
 5      Q.    And you understood that your alliance with
 6      American Airlines was a significant factor in the antitrust
 7      risks presented by the JetBlue/Spirit combination, right?
 8      A.    That's what they said.
 9      Q.    Does competition from Spirit limit the prices that
10      JetBlue can charge?
11      A.    I mean, what we're trying to do with the Spirit merger is
12      to create a truly more national, low cost carrier to compete
13      with the big four legacy airlines.
14      Q.    So I asked you, does competition from Spirit limit the
15      prices that JetBlue can charge? What's the answer to that
16      question? Do you know?
17      A.    Well, again, we've always been very proud of our focus on
18      low fares and great service.
19      Q.    Are you going to answer the question, Mr. Hayes, or not?
20      A.    I'm going to re -- JetBlue has had the commitment of low
21      fares for over 20 years.
22      Q.    I'm asking you if competition from Spirit -- this is the
23      third time I've asked it.
24      A.    Yeah.
25      Q.    -- limit the prices that JetBlue can charge consumers?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 262 of 275
                                                                          262




 1      A.    I mean, again, a lot of things go into pricing decisions.
 2      I can't give you a yes or no answer to that. Sometimes we
 3      will -- we react to what Spirit's doing, sometimes they react
 4      to what they're doing, sometimes we won't react at all.
 5      Q.    So you're the CEO of JetBlue and you can't answer the
 6      question whether the largest ULCC in America limits the
 7      prices that JetBlue can charge consumers; is that right?
 8      A.    I did answer your question.
 9      Q.    You didn't answer it, sir, respectfully.
10      A.    I answered it in the way that I feel is true, in that
11      sometimes they will -- we will react to what they're doing,
12      sometimes they will react to what we're doing. There are
13      other airlines that also will change pricing, so I don't
14      think you can answer that just one very high level.
15      Q.    Does competition from Spirit influence JetBlue's capacity
16      decisions?
17      A.    Not directly, no.
18      Q.    Does competition from Spirit influence JetBlue's other
19      business decisions, any of them?
20      A.    Not directly, no.
21      Q.    If JetBlue buys Spirit, Spirit will no longer be a
22      competitive constraint on JetBlue or the NEA; is that right?
23      A.    I think a combined JetBlue/Spirit will be one of the most
24      powerful disruptive forces that this country has seen in
25      competition, by combining both low fares and good service.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 263 of 275
                                                                          263




 1      Q.    And when you combine, Spirit will no longer be a
 2      competitive constraint on JetBlue or the NEA, correct, if and
 3      when you combine?
 4      A.    We're getting ahead of things. Look, I think we want
 5      to -- the competitive issue in this country, we've spent a
 6      lot of time talking about it, are the four large airlines
 7      with 80 percent share. I think two small airlines coming
 8      together can have a profound and transformational effect in
 9      improving and not reducing competition.
10      Q.    But you've testified today that three of those four
11      airlines, the legacy airlines, don't actually compete with
12      each other, right?
13      A.    Yes. And that's what the issue is, we have four large
14      airlines with 80 percent.
15      Q.    Is Spirit a competitor of JetBlue today?
16      A.    We compete with Spirit in certain markets today.
17                  MR. DAVIS: If I may have just a moment,
18      Your Honor?
19                  THE COURT: Yes.
20                  (Counsel confers.)
21                  MR. DAVIS: Two more short areas. I'm sorry,
22      Your Honor.
23                  THE COURT: All right.
24      BY MR. DAVIS:
25      Q.    Mr. Hayes, let's look at plaintiff Exhibit 573 in
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 264 of 275
                                                                          264




 1      evidence.
 2      A.    Yeah, I have it.
 3      Q.    This is dated July 1, 2020?
 4      A.    Yes.
 5      Q.    And it is marked, "Latest." Do you see that?
 6      A.    Yes.
 7      Q.    And this is an e-mail from Scott Laurence?
 8      A.    Yes.
 9      Q.    And it's late in the NEA negotiations, right?
10      A.    Yes, towards the end.
11      Q.    And you're discussing the change of control, right?
12      A.    I know that's what it says, but my recollection, this was
13      something different.
14      Q.    Isn't the issue here that American Airlines wanted a
15      specific date for the change of control? Isn't that what
16      you're talking about here?
17      A.    There was a specific day, but I felt that was more in
18      terms of regulatory -- like a date that, you know, we would
19      sort of get going, as opposed to waiting to see if there was
20      a regulatory path.
21      Q.    All right. You see the highlighted portion, Mr. Hayes,
22      in front of you now?
23      A.    Yeah, I'm not disputing it's there, it's just --
24      Q.    All right. It says --
25                   THE COURT: "Changing control" here means when the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 265 of 275
                                                                          265




 1      NEA begins, or does it mean something else?
 2                   MR. DAVIS: Yes, my recollection of the discussion
 3      was we knew that there was a lot of work to do with both the
 4      DOT and the DOJ before we could start the NEA, and we were
 5      looking for a date where we would sort of start it. And I
 6      think American sort of preferred a fixed date, whereas we
 7      wanted to perhaps think about some regulatory fences or get
 8      to a certain regulatory point. But honestly, I don't have
 9      great recollection of what this one was about.
10      BY MR. DAVIS:
11      Q.    Okay. Well, I'll just ask you about what's on the page
12      here. You want to know American Airlines' rationale for
13      wanting a specific date, and you think it should be in 2021,
14      correct?
15      A.    Yes.
16      Q.    At some point in '21. And Mr. Laurence, who is, again,
17      the chief negotiator for JetBlue says that, "Steve was very
18      specific on needed a date, as we would have the ability to
19      game the approval with Justice by stalling."
20                   Right?
21      A.    Yes. Okay. I remember now.
22      Q.    And in other words, and is Steve at American Airlines?
23      A.    Yes, that was Steve Johnson at American Airlines.
24      Q.    So Steve doesn't trust JetBlue not to play games by
25      stalling, correct?
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 266 of 275
                                                                          266




 1      A.    Yes.
 2      Q.    And you responded, right?
 3      A.    Yes.
 4      Q.    And you wrote, "Then why don't you share back that I was
 5      personally horrified to learn that was the reason and if they
 6      don't trust us on this when we are willing to burn a decade
 7      of goodwill we have put into this to make the case for lower
 8      fares and more choice, then it means it's hard to see we are
 9      compatible partners."
10                   You wrote that, right?
11      A.    Yes, I did.
12      Q.    And then you wrote, "I suggest it's a call to Vasu and
13      not a text."
14      A.    Yes.
15      Q.    And you wrote that, too?
16      A.    Yes.
17      Q.    And Vasu was Vasu Raja at American Airlines?
18      A.    Yes, it is.
19      Q.    So you as CEO of JetBlue were willing to burn a decade of
20      goodwill to bring about the NEA; is that right, Mr. Hayes?
21      A.    Well, no, I think the point I'm trying to make was that
22      we knee people would be surprised, potentially, that we were
23      entering into this partnership with a legacy airline. In
24      fact, it would require a lot of explanation to different
25      stakeholders, our employees, our customers, regulators,
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 267 of 275
                                                                          267




 1      political contacts that we had. That would face a lot of
 2      questions as to why we were doing it. We were willing to go
 3      through that because of the upside for JetBlue's growth. And
 4      I was frustrated that American was trying to bounce us into a
 5      date when we weren't quite ready to make that date
 6      commitment.
 7      Q.    Let's look at plaintiff Exhibit 739.
 8                  MR. DAVIS: And Your Honor, we're using here a
 9      demonstrative for the actual exhibits, and the demonstrative
10      has certain redactions made at request of JetBlue counsel,
11      and I won't be asking questions, and would ask Mr. Hayes not
12      to make any answers based on the redacted portions.
13                  THE COURT: All right.
14                  MR. DAVIS: Is it redacted in here?
15                  MR. DAVIS: It's not redacted in the paper.
16                  THE WITNESS: But it will be on there.
17                  THE COURT: The first page under 739 says
18      "Plaintiffs' Demonstrative, 739-A."
19                  MR. DAVIS: Correct.
20                  THE COURT: That one has the redactions.
21                  MR. DAVIS: Your Honor, I move to use 739-A as a
22      demonstrative. And I further --
23                  THE COURT: Is that right?
24                  MR. SCHWED: No objection, Your Honor.
25                  MR. DAVIS: And I further move to admit 739, the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 268 of 275
                                                                          268




 1      underlying documents, but will not seek to publish them at
 2      this time.
 3                   MR. SCHWED: No objection, Your Honor.
 4                   THE COURT: Fine. Allowed.
 5                   (Plaintiff Exhibit No. 739-A admitted into
 6                   evidence.)
 7      BY MR. DAVIS:
 8      Q.    So looking at 739-A, these are text messages between you
 9      and Scott Laurence on April 7th of 2020; is that right,
10      Mr. Hayes?
11      A.    Yes.
12      Q.    And you can see, it may take you a minute to get
13      oriented, but the Bates number is on the left. And there's
14      one Bates number per text. Do you see that?
15      A.    Oh, you're on that screen. Yes. Okay. Yes.
16      Q.    Yes. So just looking at the summary that --
17                   THE COURT: Would you mind blowing it up on the
18      screen? I'm not sure who's controlling it.
19                   MR. DAVIS: Sorry.
20                   MR. SCHWED: He's asking if you can make it a
21      larger font. The paper copy --
22                   MR. DAVIS: Is that better, Mr. Hayes?
23                   THE WITNESS: Could you go one more?
24                   Okay. I can make that work.
25                   THE COURT: Try the question and see if it can work
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 269 of 275
                                                                          269




 1      for him.
 2                   MR. DAVIS: All right.
 3      BY MR. DAVIS:
 4      Q.    So again, AA and JetBlue are in in the midst of
 5      negotiating the NEA, right?
 6      A.    Yes.
 7      Q.    All right. And in the first text of plaintiff
 8      Exhibit 739, which is the one ending in 810, that's the very
 9      top one, that's you writing Robin Hayes to Scott Laurence,
10      right?
11      A.    Yes.
12      Q.    And you write about an alternative idea. "Which market
13      do we think a legacy could abandon we could build as our
14      seventh focus city?"
15                   Right?
16      A.    Yes.
17      Q.    That's you asking that question, right?
18      A.    That is.
19      Q.    And is that because by that time in negotiating the NEA
20      you and Scott Laurence have realized that a legacy airline
21      might just be willing to abandon markets to JetBlue if the
22      price is right?
23      A.    No. I think the context of that comment was, as we
24      came -- again, we're three months into COVID, our revenues
25      are probably 85 percent down our normal and we really had
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 270 of 275
                                                                          270




 1      three objectives coming into COVID. Take care of all of our
 2      crew members to make sure --
 3                   THE COURT: Well, wait, this is April 7th, 2020.
 4                   THE WITNESS: Yes, so three months into COVID.
 5                   THE COURT: Was COVID hitting you in January?
 6                   THE WITNESS: February. Well, two months into
 7      COVID, probably. So revenues were probably worse than
 8      85 percent. And so, you know, take care of our people, make
 9      sure that JetBlue could get through COVID financially, but
10      also look for opportunities for JetBlue to be the JetBlue
11      people know and love after COVID. So part of this
12      opportunity with American and I was questioning Scott, are
13      there other opportunities here that we should think about,
14      really, Boston, because after the financial crisis, airlines
15      walked away from it, legacy airlines, and it gave us an
16      opportunity to grow it.
17                   MR. DAVIS: All right. So you're talking to
18      Mr. Laurence about a legacy airline abandoning a market that
19      you could build, right?
20      A.    Yes.
21      Q.    And you're negotiating the NEA, right?
22      A.    Yes.
23      Q.    All right. And down on the page ending 817, you tell
24      Mr. Laurence, "Think big," with three exclamations, right?
25      A.    Yes.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 271 of 275
                                                                          271




 1      Q.    And you're talking about a possible three way codeshare
 2      at this point; is that right?
 3      A.    Yes, I would say we had a lot of ideas on the table back
 4      then. Again, we're two months into COVID and we're trying to
 5      throw as much on the table as possible to see what we think
 6      could work. So LAX was mentioned there, as well, because we
 7      felt it was an opportunity for us to get bigger in LAX,
 8      something that we always wanted to be.
 9      Q.    All right. And I'm not going to ask you about the other
10      airline.
11                   So this three way codeshare would be JetBlue,
12      American Airlines, and then a third airline, right?
13      A.    Well, either a three way codeshare or two bilateral -- or
14      a series of bilateral partnerships.
15      Q.    And then at number 831, further down, you write again,
16      correct?
17      A.    Yes.
18      Q.    And there you write, "Also, I think if it's AA and the
19      other airline, it feels more balanced and less that we are in
20      AA's pocket."
21                   Right?
22      A.    Yes. Yes.
23      Q.    That's what you wrote to Mr. Laurence on your text?
24      A.    Correct.
25      Q.    And Mr. Laurence replied, "Concur. It swats away the
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 272 of 275
                                                                          272




 1      black helicopters."
 2                   Right?
 3      A.    Yes.
 4      Q.    So you're saying that under the arrangement, you're
 5      thinking about a codeshare with American and another airline,
 6      that other airline would make it feel a little less like
 7      JetBlue was in American Airlines's pocket, right?
 8      A.    Yes, I mean, again, I was very conscious of doing the
 9      partnership with American, that it would lead to a lot of
10      speculation about what would happen next. The reference to
11      black helicopters are -- since I've joined JetBlue, there's
12      been rumors that we are being bought or merged with somebody
13      else. And I also felt that by having different partnerships
14      here announced, it would reduce some of the dependency on any
15      one partner.
16      Q.    You didn't want it to look like your company was in the
17      pocket of the biggest airline in the world now, right?
18      A.    I mean, it goes back to what we discussed earlier, a risk
19      that I had to evaluate and make sure that we mitigated was
20      the sense of avoiding being co-opted by American.
21      Q.    Mr. Hayes, under the Northeast Alliance, JetBlue got from
22      American Airlines millions of dollars worth of slots in New
23      York City and access to the most valuable airline loyalty
24      program in the world, right?
25      A.    Yes, we got slots and access to their frequent flyers.
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 273 of 275
                                                                          273




 1      Q.    And American Airlines, what they got, what they got was
 2      JetBlue in their pocket, right?
 3      A.    I don't agree with that, no. What they got was the
 4      ability to build a long-haul network out of JFK and to be
 5      successful in the northeast with a partner which is something
 6      that everyone knows in the industry is something that they've
 7      struggled to do for many years.
 8                  MR. DAVIS: No further questions. Thank you.
 9                  THE COURT: All right. We'll stop for the day.
10      You'll do your direct tomorrow, or your cross direct.
11                  MR. SCHWED: Yes.
12                  THE WITNESS: Thank you, Your Honor.
13                  THE COURT: Anything before we adjourn?
14                  MR. SCHWED: May I just confirm for, we had some
15      discussions -- he's now off cross?
16                  THE COURT: Correct.
17                  MR. SCHWED: Thank you.
18                  THE COURT: Yes.
19                  THE COURT: One -- two minor things. One is -- you
20      can sit down if you wish, Mr. Hayes, or you can stay. It
21      doesn't matter.
22                  THE WITNESS: I'll stay if that's okay.
23                  THE COURT: One is just there was an amicus -- a
24      motion to file an amicus brief. They said the defendants
25      would oppose. I don't know if you want to file an opposition
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 274 of 275
                                                                          274




 1      or not.
 2                  MR. WALL: We're not going to file anything on
 3      that, Your Honor.
 4                  THE COURT: Okay. Fine. I just didn't -- didn't
 5      want to evaluate it if you were going to file something.
 6                  MR. WALL: Neither do we.
 7                  THE COURT: Okay. All right. And the -- are there
 8      any of these sealing issues that I need to resolve for
 9      tomorrow morning?
10                  MR. SCHWED: There is nothing in my examination of
11      Mr. Hayes that will involve any disputed sealing issues.
12      There are a few things that are not contested.
13                  THE COURT: Okay. Fine.
14                  MS. RIGGS: And none from the plaintiffs' side,
15      either, Your Honor.
16                  THE COURT: Fine. Okay. All right. And then I'll
17      see you tomorrow morning. We're in recess. Thank you.
18                  (Court in recess at 4:34 p.m.)
19

20

21

22

23

24

25
     Case 1:21-cv-11558-LTS Document 297 Filed 11/01/22 Page 275 of 275
                                                                           275




 1

 2                            C E R T I F I C A T I O N
 3

 4                  I certify that the foregoing is a correct
 5      transcript of the record of proceedings in the above-entitled
 6      matter to the best of my skill and ability.
 7

 8

 9

10      /s/ Rachel M. Lopez                           September 27, 2022
11      /s/ Robert W. Paschal
12

13

14      _________________________                     _____________________
15      Rachel M. Lopez, CRR                          Date
16      Robert W. Paschal, RMR, CRR
17      Official Court Reporters
18

19

20

21

22

23

24

25
